Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 1 of 97. PageID #: 211883

                                                      Page 1                                                 Page 2
           IN THE UNITED STATES DISTRICT COURT                  1   APPEARANCES:
            FOR THE NORTHERN DISTRICT OF OHIO                   2
               EASTERN DIVISION                                     ROBBINS GELLER RUDMAN & DOWD, LLP
                  - - -                                         3   BY: DORY P ANTULLIS, ESQ
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          APPLIES TO ALL CASES : NO                                 Representing the Plaintiffs
                     : 1:17-MD-2804                             7
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                                                                    kaitlyn coverstone@kirkland com
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                 December 11, 2018                                  Finance and the Witness
                                                               13
                    - - -                                      14   MORGAN LEWIS & BOCKIUS, LLP
                                                                    BY: STEVEN A LUXTON, ESQ
                   Videotaped deposition of                    15   1111 Pennsylvania Avenue NW
          NANCY BARAN, taken pursuant to notice,                    Washington, D C 20004
          was held at the offices of Carella Byrne,            16   (202) 739-5452
          P C , 5 Becker Farm Road, Roseland, New                   steven luxton@morganlewis com
          Jersey, beginning at 9:02 a m , on the               17   Representing the Defendant, Teva
          above date, before Michelle L Gray, a                     Pharmaceuticals
          Registered Professional Reporter,                    18
          Certified Shorthand Reporter, Certified              19   ALLEGAERT, BERGER & VOGEL, LLP
                                                                    BY: CHRISTOPHER ALLEGAERT, ESQ
          Realtime Reporter, and Notary Public                 20   111 Broadway, 20th Floor
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             GOLKOW LITIGATION SERVICES                             callegaert@abv com
            877 370 3377 ph | 917 591 5672 fax                 22   Representing the Defendant, Rochester
                 deps@golkow com                                    Drug Co-Op
                                                               23
                                                               24


                                                      Page 3                                                 Page 4
      1   APPEARANCES: (Cont'd )                                1     TELEPHONIC APPEARANCES: (Cont'd.)
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     21   (213) 457-8135
                                                               19
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          AmerisourceBergen Drug Corporation                   22
     23                                                        23
     24                                                        24


                                                                                             1 (Pages 1 to 4)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 2 of 97. PageID #: 211884

                                              Page 5                                            Page 6
      1             - - -                               1           - - -
      2             INDEX                               2      E X H I B I T S (Cont'd.)
      3             - - -                               3           - - -
      4                                                 4
          Testimony of:                                 5   NO.       DESCRIPTION     PAGE
      5                  NANCY BARAN                    6   Allergan
      6       By Ms. Antullis   11                          Baran-5 E-mail Thread    153
      7                                                 7           2/8/12
      8                                                             Subject, Contact
                    - - -                               8           Actavis.com
      9                                                             ALLERGAN_MDL_00478433-35
                  EXHIBITS                              9
     10                                                     Allergan
                    - - -                              10   Baran-6 E-mail Thread        181
     11                                                             9/25/12
                                                       11           Subject, 2007 Letter
     12   NO.      DESCRIPTION         PAGE
                                                                    ALLERGAN_MDL_03525593-95
     13   Allergan                                     12
          Baran-1 Notice of Deposition 16
                                                            Allergan
     14                                                13   Baran-7 E-mail Thread      233
          Allergan                                                  9/16/11
     15   Baran-2 LinkedIn Profile of 36               14           Subject, Advantage
                  Nancy Baran                                       Logistics Orders
     16                                                15           ALLERGAN_MDL_03427457-60
          Allergan                                     16   Allergan
     17   Baran-3 E-mail Thread       71                    Baran-8 E-mail Thread      250
                  8/18/09                              17           10/3/12
     18           Subject, Suspicious                               Subject, SOM
                  Orders                               18           ALLERGAN_MDL_03380592-93
     19           ALLERGAN_MDL_02081243-45             19   Allergan
     20   Allergan                                          Baran-9 E-mail Thread      260
          Baran-4 Actavis Per4mas      117             20           2/11/09
     21           For Nancy Baran                                   Subject, OmniCare
                  2009-2012                            21           Finasteride
     22           ALLERGAN_MDL_SUPP_                                02128037-38
                  00001391-35                          22
     23                                                23
     24                                                24


                                              Page 7                                            Page 8
      1           - - -                                 1             - - -
      2      E X H I B I T S (Cont'd )                  2        E X H I B I T S (Cont'd.)
      3           - - -
      4                                                 3             - - -
      5   NO       DESCRIPTION         PAGE             4
      6   Allergan                                      5    NO.       DESCRIPTION           PAGE
          Baran-10 Effective Controls 261               6    Allergan
      7          Against Diversion of
                 Controlled Substances
                                                             Baran-15 E-mail Thread         357
      8          Meeting with Actavis                   7            3/3/14
                 Elizabeth, LLC                                      Subject, A Message from
      9          9/12/12                                8            Paul Bisaro and Bob
                 ALLERGAN_MDL_03302011-19                            Stewart
     10
          Allergan                                      9            Acquired_Actavis_02236096-99
     11   Baran-11 E-mail, 10/26/12 322                10    Allergan
                 Subject, SOM SOP and                        Baran-16 E-mail Thread         365
     12          Business Procedure                    11            10/30/12
                 ALLERGAN_MDL_03382709-19
     13                                                              Subject, New Business
          Allergan                                     12            Acquired_Actavis_00667914
     14   Baran-12 E-mail, 10/19/12 325                13    Allergan
                 Subject, Partnership                        Baran-17 E-mail Thread         374
     15          Meeting ABC                           14            2/10/12
                 ACTAVIS1136380-96
     16                                                              Subject, SOM Follow Up
          Allergan                                     15            From Cegedim
     17   Baran-13 E-mail Thread      339                            Acquired_Actavis_01370513-18
                 11/14/12                              16
     18          Subject, Suspicious
                 Order Letters Update
                                                       17
     19          ALLERGAN_MDL_01796473                 18
     20   Allergan                                     19
          Baran-14 E-mail Thread      352              20
     21          1/6/16                                21
                 Subject, SOMS
     22          ALLERGAN_MDL_02466960-64              22
     23                                                23
     24                                                24


                                                                               2 (Pages 5 to 8)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 3 of 97. PageID #: 211885

                                           Page 9                                         Page 10
      1            - - -                               1           THE VIDEOGRAPHER: We are
      2         DEPOSITION SUPPORT INDEX               2      now on the record. My name is
      3            - - -                               3      Henry Marte, videographer with
      4
                                                       4      Golkow Litigation Services.
      5    Direction to Witness Not to Answer
      6    PAGE LINE                                   5           Today's date is December 11,
           None.                                       6      2018. And the time is 9:02 a.m.
      7                                                7           This videotaped deposition
      8    Request for Production of Documents         8      is being held in Roseland, New
      9    PAGE LINE                                   9      Jersey, in the matter of National
           None.
     10
                                                      10      Prescription Opiate Litigation.
     11    Stipulations                               11           The deponent today is Nancy
     12    PAGE LINE                                  12      Baran. All appearances will be
           None.                                      13      noted on the stenographic record.
     13                                               14           Will the court reporter
     14    Questions Marked                           15      please administer the oath to the
     15    PAGE LINE
           None.
                                                      16      witness.
     16                                               17               - - -
     17                                               18           ... NANCY BARAN, having been
     18                                               19      first duly sworn, was examined and
     19                                               20      testified as follows:
     20                                               21           THE VIDEOGRAPHER: Counsel,
     21
     22                                               22      you may begin.
     23                                               23               - - -
     24                                               24             EXAMINATION

                                          Page 11                                         Page 12
      1                - - -                           1   some basic ground rules to help the
      2    BY MS. ANTULLIS:                            2   conversation go more smoothly and make
      3         Q. Good morning.                       3   sure we get a clean record.
      4         A. Good morning.                       4            I'm going to ask you a
      5         Q. Nice to meet you.                   5   series of questions. I ask that you
      6         A. You as well.                        6   allow me to finish the question before
      7         Q. My name is Dory Antullis,           7   you respond. If you don't understand a
      8    from Robbins, Geller, Rudman & Dowd, I'm    8   question, if I mumble or speak too
      9    here for the plaintiffs.                    9   quickly, something I'm guilty of, please
     10             Please state your full name       10   just ask me to rephrase the question or
     11    for the record.                            11   say it louder. If you don't understand
     12         A. Nancy Baran.                       12   what I mean, ask me for clarification.
     13         Q. Your address?                      13            From time to time your
     14                                               14   attorneys, Jenny or Steve, may object for
     15                                               15   the record. Unless they instruct you not
     16        Q. Are you currently employed?         16   to answer the question, you can still
     17        A. No, I'm not.                        17   answer the question to the best of your
     18        Q. So you have no business             18   knowledge and ability. We will take
     19    address; is that correct?                  19   breaks from time to time. And if you
     20        A. That's correct.                     20   need to take a break, at any time just
     21        Q. Okay. I'm just going to go          21   let me know. I only ask that you finish
     22    through. Have you been deposed before?     22   any questions that we have pending at
     23        A. No. This is the first time.         23   that time and then we'll go ahead and
     24        Q. I'm just going to go through        24   take a break if you need to.


                                                                      3 (Pages 9 to 12)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 4 of 97. PageID #: 211886

                                          Page 13                                           Page 14
      1         A. Sure.                                1   guarantees.
      2         Q. Are you taking any                   2            You'll see that I'm going to
      3    medication that would interfere with your    3   be looking some -- on my screen, I've got
      4    ability to testify fully and truthfully      4   some questions that I want to remember to
      5    today?                                       5   ask you. I'm also going to be fumbling
      6         A. No, I'm not.                         6   through documents. Bear with me.
      7         Q. Is there any other reason            7        A. Okay.
      8    that would interfere with your ability to    8        Q. So do you have any questions
      9    testify fully and truthfully today?          9   about what we've gone through so far?
     10         A. No.                                 10        A. No, not at this time.
     11         Q. So the court reporter is            11        Q. Okay.
     12    going to be taking down everything you      12            MS. MOBLEY-RITTER: Excuse
     13    say. When you answer questions and I        13        me. Can I get the appearances for
     14    just -- I'm guilty of it. When you          14        those on the phone?
     15    answer questions with yes or no, that       15            MS. LEVY: This is Jennifer
     16    makes it much easier for her to -- that     16        Levy from Kirkland & Ellis for the
     17    makes a cleaner record. So we ask that      17        Allergan defendants.
     18    you don't say or mm-hmm or unh-unh or       18            MS. COVERSTONE: This is
     19    yeah or nod your head, even though you      19        Kaitlyn Coverstone from Kirkland &
     20    are being videotaped --                     20        Ellis for the Allergan defendants.
     21         A. I will try that.                    21            MR. LUXTON: Steven Luxton
     22         Q. -- or try to enunciate a            22        from Morgan Lewis for the Teva
     23    response. I will do my best to keep my      23        defendants.
     24    umms on a minimum. And I make no            24            MR. LOVRIEN: Chris Lovrien

                                          Page 15                                           Page 16
      1        of Jones Day on behalf of Walmart.       1             (Document marked for
      2            MR. ALLEGAERT: Chris                 2        identification as Exhibit
      3        Allegaert of Allegaert Berger &          3        Baran-1.)
      4        Vogel for Rochester Drug Co-op.          4   BY MS. ANTULLIS:
      5            MR. JOHNSON: Joel Johnson            5        Q. Tab 1. Have you seen this
      6        of Williams & Connolly on behalf         6   document before?
      7        of Cardinal Health.                      7        A. Yes, this is -- no, I did
      8            MR. DEARMAN: Mark Dearman,           8   not.
      9        Robbins Geller, on behalf of the         9        Q. Okay.
     10        plaintiffs.                             10        A. This is not my invitation,
     11            MS. ANTULLIS: Who's on the          11   this isn't what I thought it was. I'm
     12        phone?                                  12   sorry.
     13            MS. MOBLEY-RITTER: This is          13             MR. ALLEGAERT: Could I ask
     14        Devon Mobley-Ritter of Covington        14        the witness to please keep her
     15        and Burling for McKesson.               15        voice up. It's hard to hear down
     16            MS. ANTULLIS: Is that               16        here.
     17        everybody?                              17             THE WITNESS: Certainly.
     18            MR. McCORMICK: Good                 18             MR. ALLEGAERT: Thank you.
     19        morning. This is Sean McCormick         19   BY MS. ANTULLIS:
     20        from Arnold & Porter for the Endo       20        Q. All right. So you haven't
     21        and Par defendants.                     21   had an opportunity to review this yet?
     22    BY MS. ANTULLIS:                            22        A. I have not seen this
     23        Q. I'm going to show you what           23   document, no.
     24    we're going to mark as Exhibit 1.           24        Q. Do you understand that


                                                                      4 (Pages 13 to 16)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 5 of 97. PageID #: 211887

                                          Page 17                                        Page 18
      1    you're here to testify in -- to give         1        Q. Someone from his firm. Do
      2    testimony in the case that's reflected in    2   you happen to remember who that was?
      3    the caption on that document?                3        A. Someone by the name of
      4         A. Yes. I understand the                4   Arcangelo.
      5    subject matter. Yes.                         5        Q. Did you have any
      6         Q. And do you understand that           6   conversations with Mr. Arcangelo
      7    you've been sworn in under oath as if you    7   regarding the deposition?
      8    were in a court of law?                      8        A. Yes, I did.
      9         A. Correct.                             9        Q. Do you remember how many
     10         Q. And what does that mean to          10   times you talked to him?
     11    you?                                        11        A. By phone, two to three
     12         A. To testify with -- to the           12   times.
     13    best of my knowledge and honestly and       13        Q. And do you remember how long
     14    accurately.                                 14   each of those conversations were?
     15         Q. And how -- if you -- how            15        A. One or two were very, very
     16    were you invited to attend this             16   brief. The third was a little bit more
     17    deposition?                                 17   in detail.
     18         A. I was contacted by Teva's           18        Q. Have you met with any other
     19    attorneys, notified that I was being        19   attorneys or any other people in your
     20    invited to a deposition. They notified      20   preparation for this deposition?
     21    me, I think it was by e-mail.               21        A. Yes, I have.
     22         Q. Would that have been Steve          22        Q. Okay. How many times?
     23    or someone else?                            23        A. One occasion.
     24         A. Someone from his firm.              24        Q. And was that person or on

                                          Page 19                                        Page 20
      1    the phone?                                   1   the record is Cella. He is from Morgan
      2          A. In person.                          2   Lewis. Steven, who's here today. And
      3          Q. And how many people were            3   then our two attorneys that are sitting
      4    there?                                       4   on my left on the Allergan side were
      5          A. Four.                               5   present as well.
      6          Q. And were those people               6        Q. Okay. Do any of the
      7    attorneys?                                   7   attorneys sitting next to you represent
      8          A. Yes, they were.                     8   you?
      9          Q. Was anyone not an attorney?         9        A. Yes, they do. Both.
     10          A. No.                                10        Q. Both being Jennifer --
     11          Q. How long did that meeting          11        A. Both firms.
     12    last?                                       12        Q. Okay. So that would be all
     13          A. A few hours.                       13   three attorneys sitting next to you?
     14          Q. A few hours?                       14        A. That's correct.
     15          A. Yeah. A better part of the         15        Q. When you prepared for the
     16    day. I would say maybe six hours. I         16   deposition, when you had the six-hour
     17    don't know. Yeah, it was about six          17   meeting, did you review any documents?
     18    hours.                                      18        A. Yes.
     19          Q. And do you remember who            19        Q. Do you remember what the
     20    those people were?                          20   context of those documents were?
     21          A. Yes. And if you don't mind,        21        A. There were -- there were
     22    I -- having just met them, I didn't want    22   different documents. Some of them were
     23    to mess any names up. So I brought with     23   just e-mails discussing the subject
     24    me a card. So Arcangelo's last name for     24   matter.


                                                                     5 (Pages 17 to 20)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 6 of 97. PageID #: 211888

                                          Page 21                                          Page 22
      1         Q. Okay. Do you remember how            1   wanted to make sure that there wasn't
      2    many documents approximately?                2   anything pertinent that I forgot. So I
      3         A. Not too many. I would say            3   did review a presentation that I had
      4    less -- less than 12, certainly.             4   prepared several years ago. It was like
      5         Q. Less than 12?                        5   a status report.
      6         A. Yeah.                                6        Q. Do you remember who that
      7         Q. Did any of those documents           7   presentation -- who you made that
      8    help you refresh your memory about your      8   presentation to?
      9    time at Actavis, Allergan and Teva?          9        A. It was a presentation that I
     10         A. It did. But to be honest            10   would have done leading the SOM project
     11    with you, in looking at them, it's almost   11   to our steering committee.
     12    like it was yesterday. They were very       12        Q. Okay. So it would have been
     13    familiar to me.                             13   a presentation you did during the course
     14         Q. Okay. Did you review any            14   of your employment --
     15    other documents outside of documents that   15        A. Yes.
     16    you kept in the ordinary course of          16        Q. -- with Actavis?
     17    business, such as news articles, journal    17        A. Yes.
     18    articles, court documents?                  18        Q. Okay. Have you reviewed a
     19         A. The only thing I reviewed is        19   copy of the complaint that's been filed
     20    a copy of a presentation I had done on      20   in this litigation?
     21    the subject matter just to refresh          21        A. No, I have not. Is that
     22    myself, because it's been seven years       22   what this is?
     23    since I managed this process. And on        23        Q. Yeah.
     24    the -- if I get into the details, I         24        A. No.

                                          Page 23                                          Page 24
      1         Q. Has anyone summarized the            1   don't remember outside of Arcangelo.
      2    allegations for you?                         2        Q. Okay. Do you remember about
      3         A. Yeah. And that was the               3   how long that one -- that phone call was?
      4    benefit of the meeting with the              4        A. I would say less than an
      5    attorneys. Telling me what I was here        5   hour. About an hour.
      6    for so I understood what this was all        6        Q. Okay. About an hour?
      7    about.                                       7        A. Yeah.
      8         Q. And that was the single              8        Q. Did you bring any documents
      9    six-hour meeting that you referred to        9   with you today --
     10    earlier with the four attorneys?            10        A. No, I didn't.
     11         A. Yes. And then the one phone         11        Q. -- to the deposition?
     12    discussion.                                 12        A. No. I brought my little
     13         Q. With Arcangelo?                     13   cheat sheet, business cards so I have --
     14         A. Yes.                                14        Q. To help you remember?
     15         Q. And that was the longer             15        A. -- the last names.
     16    phone conversation?                         16        Q. Understood. When you were
     17         A. And there was someone else          17   preparing for the deposition, did you
     18    on the phone. I apologize. I don't          18   review any of your own personal paper or
     19    remember. My focus was with Arcangelo,      19   electronic files?
     20    because I was dealing with him on           20        A. Just what I mentioned to you
     21    logistics and my availability. So I         21   earlier.
     22    don't recall who else was on the phone      22        Q. So you reviewed the
     23    call. I know who was in the in-person       23   presentation through your own personal
     24    meeting. The phone call, I apologize I      24   files?


                                                                     6 (Pages 21 to 24)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 7 of 97. PageID #: 211889

                                          Page 25                                           Page 26
      1         A. Yes.                                 1        A. I know. It's confusing.
      2         Q. Okay. And you have not               2        Q. But for right now I'm going
      3    brought that with you today; is that         3   to say, have you spoken with any current
      4    correct?                                     4   or former employees at Actavis?
      5         A. No.                                  5        A. I spoke with one employee.
      6         Q. Did you provide that                 6   It happened to just be through a job
      7    document to your attorneys?                  7   interview, and it just came up in
      8         A. I did not, but that was one          8   dialogue when we were talking about
      9    of the documents they had, and that was      9   scheduling and my availability. I said,
     10    what we looked -- one of the documents we   10   "Oh, I'm invited to my first deposition."
     11    looked at. It wasn't anything new to        11   Not even really knowing much about what
     12    them.                                       12   this was about.
     13         Q. So you looked at a copy of a        13            And that was a former
     14    presentation that you had in your own       14   employee of the company, but it's one I
     15    files that you then also saw from the       15   really never even worked with. I mean,
     16    attorneys during your meeting with them;    16   the type of employee you saw in the
     17    is that correct?                            17   hallway, you knew of him, he probably
     18         A. That's correct.                     18   knew of me. But we really never worked
     19         Q. Okay. Have you spoken with          19   together. So it just came up in the
     20    any current employees at Actavis,           20   context of a job interview when we were
     21    Allergan, Teva -- forgive me, I'm going     21   talking about scheduling, but we didn't
     22    to -- I will start using Actavis to refer   22   talk about it at any -- in any detail.
     23    to the entities that you worked for,        23        Q. Okay. So do you remember
     24    Actavis, Allergan and Teva.                 24   that person's name?

                                          Page 27                                           Page 28
      1         A. Yes.                                 1   currently in contact then with any -- any
      2         Q. And who was that?                    2   current or former employees, other than
      3         A. Dan Motto, M-O-T-T-O.                3   this one instance during a job interview;
      4         Q. Dan Motto?                           4   is that correct?
      5         A. Yes.                                 5        A. That's -- other than one
      6         Q. So am I understanding                6   employee that referred me to the
      7    correctly that you contacted Dan Motto to    7   position. If that's relevant.
      8    discuss a job interview that you are         8        Q. Who is the employee that
      9    going to attend?                             9   referred you to the position?
     10         A. No. I found a job                   10        A. Kathleen Carlson. She was
     11    opportunity, because I'm currently          11   in contracts. She had done some work for
     12    searching. I interviewed. And during        12   the company just on a consulting basis.
     13    the course of that five-hour interview      13   In the interim they needed some process
     14    with seven different people from the        14   help. And I believe they were seeking
     15    company, he was one of the meetings that    15   her for this role and she was not
     16    I met with. And because he happened to      16   interested and she said I know a great
     17    be a former employee.                       17   person that was outplaced as a result of
     18         Q. I see.                              18   the Teva acquisition, as a synergy. So
     19         A. And we were talking about my        19   she referred me. But that was the extent
     20    scheduling and availability, I just         20   of it. You know, she passed me on as a
     21    mentioned it. But he would be the only      21   candidate.
     22    former person linked to the company that    22        Q. Understood. Are you
     23    I would have even mentioned this to.        23   currently married?
     24         Q. Okay. So you are not                24        A. Yes.


                                                                      7 (Pages 25 to 28)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 8 of 97. PageID #: 211890

                                          Page 29                                           Page 30
      1         Q. Have you spoken about this           1   where I am.
      2    with your spouse, the deposition?            2        Q. Are you familiar with the
      3         A. Yes. Not in any -- any               3   defendants in this litigation?
      4    length. We never really make a habit of      4        A. To -- to its entirety, no, I
      5    talking about work, but he knows             5   am not. I know that Actavis and Allergan
      6    obviously where I am today and -- and why    6   are, because that's why I'm here today.
      7    I had to be, you know, out of the house.     7   Beyond that, I really do not know.
      8    So, yeah.                                    8        Q. So let me ask you then.
      9         Q. Have you spoken to anybody           9   Have you spoken with any current and
     10    else about the deposition?                  10   former -- current or former employees at
     11         A. No one else other than my           11   Purdue?
     12    kids who were tracking me and -- and        12        A. No. I don't even know if I
     13    wondering like, where I was going on my     13   know anyone at Purdue.
     14    phone. I very briefly had to say I am       14        Q. Have you spoken with any
     15    going to do some work for a former          15   current or former employees at Janssen?
     16    company that I was with. But they           16        A. That would be the same
     17    wouldn't really understand what a           17   answer. No, I don't believe I even know
     18    deposition is, so...                        18   anyone at Janssen.
     19             That would be the extent of        19        Q. Have you spoken to any
     20    it.                                         20   current -- I'm sorry, I have to do this.
     21         Q. I'm laughing because I do           21        A. That's okay.
     22    that to my mother all the time.             22        Q. Have you spoken with any
     23         A. Yeah. Yeah, they -- they            23   current or former employees at Endo?
     24    stalk me a little bit. So they know         24        A. No.

                                          Page 31                                           Page 32
      1        Q. Have you spoken with any              1         Q. Have you spoken with any
      2    current or former employees at Insys?        2   current or former employees of McKesson?
      3        A. No.                                   3         A. No.
      4        Q. Have you spoken with any              4         Q. Do you have a relationship
      5    current or former employees at               5   with any current or former employees at
      6    Mallinckrodt?                                6   any of these entities I just listed?
      7        A. No.                                   7         A. The only relationship I can
      8        Q. Have you spoken with any              8   think of would be my sister-in-law who
      9    former or current employees of               9   used to work for Walgreens. She managed
     10    AmerisourceBergen?                          10   a local retail location. She is not
     11        A. No.                                  11   currently with them. And to be honest I
     12        Q. Have you spoken with any             12   can't tell you the last time I even spoke
     13    current or former employees of Cardinal     13   with her. It's been a long time. Like
     14    Health?                                     14   more than a year.
     15        A. No.                                  15         Q. So is it safe to assume that
     16        Q. Have you spoken with any             16   you haven't spoken to her about the case
     17    current or former employees of Walgreens?   17   or the deposition?
     18        A. No.                                  18         A. That is correct.
     19        Q. Have you spoken with any             19         Q. Okay. Are you -- well,
     20    current or former employees of Walmart?     20   first of all, what company were you
     21        A. No.                                  21   interviewing with, if you don't mind
     22        Q. Have you spoken with any             22   sharing?
     23    current or former employees of Rite Aid?    23         A. Hikma Pharmaceuticals.
     24        A. No.                                  24         Q. Hikma?


                                                                      8 (Pages 29 to 32)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 9 of 97. PageID #: 211891

                                          Page 33                                          Page 34
      1         A. Hikma, H-I-K-M-A.                    1        Q. So what I am trying to get
      2         Q. Thank you. And what                  2   at, and you're hinting at it here, is
      3    position were you interviewing for at        3   what are your -- what would be your
      4    Hikma?                                       4   responsibilities in that position, what
      5         A. It was a confidential                5   are you looking to do?
      6    position because there is still a person     6        A. In that role, I would have
      7    in that role. So, I don't know, is this      7   similar responsibilities to what I built
      8    information going to be shared? I don't      8   my career around, which is managing the
      9    want to --                                   9   order to cas -- order to cash, excuse me,
     10             MS. LEVY: Do you really            10   and the customer relations team. In
     11         need that?                             11   addition to that, there was going to be
     12             MS. ANTULLIS: No --                12   some additional roles in terms of
     13             THE WITNESS: It was a very         13   cleaning up some of their -- how do I
     14         similar role to what I used to do,     14   describe it? This was new to me, this
     15         with some new and additional           15   was the new aspect of the role, so I just
     16         responsibilities which represented     16   want to make sure I state it clearly.
     17         career growth to me. I was able        17            Where they had, you know,
     18         to manage some of the contractual      18   contractual obligations to their customer
     19         aspects, some different things I       19   in terms of, you know, reviewing things
     20         haven't done yet, on top of what       20   like returns is a good example. I
     21         I've been doing my entire career.      21   typically didn't manage returns. So that
     22         So it -- it was an opportunity         22   would be a new element. And there was a
     23         that represented career growth.        23   couple other things in this role that
     24    BY MS. ANTULLIS:                            24   intrigued me because, A, I am very

                                          Page 35                                          Page 36
      1    actively interested in gaining employment    1         Baran-2.)
      2    again. I don't like sitting home being a     2   BY MS. ANTULLIS:
      3    stay-at-home mom.                            3         Q. So I will represent to you
      4             But, B, the career                  4   that Exhibit 2 is a printout of your
      5    opportunity was everything I'm good at,      5   LinkedIn profile that I was able to find
      6    and -- and some new things. So it was        6   online. I just want you to look through
      7    career growth. It's the best way to          7   it --
      8    describe it.                                 8         A. Okay.
      9         Q. I understand. Thank you.             9         Q. -- and tell me whether or
     10             Are you being -- are you           10   not you have any reason to believe that
     11    being reimbursed by anyone for your         11   this is not an accurate reflection of
     12    expenses in connection with this            12   your current LinkedIn profile.
     13    deposition?                                 13         A. Having scanned it, it looks
     14         A. No. While that would be             14   to be pretty accurate.
     15    nice, that's not the case.                  15         Q. So you believe that this is
     16         Q. Are you being paid by anyone        16   an -- an accurate reflection of your
     17    for your time in connection with your       17   profile?
     18    attendance at or preparation for this       18         A. Yeah. That -- the format
     19    deposition?                                 19   looks a little different, but, yes.
     20         A. No.                                 20         Q. Okay. And does the
     21         Q. So I believe I am going to          21   information contained therein reflect
     22    show you Exhibit Number 2.                  22   your -- your professional career
     23             (Document marked for               23   development through July 2018?
     24         identification as Exhibit              24         A. Yes, it would.


                                                                     9 (Pages 33 to 36)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 10 of 97. PageID #: 211892

                                          Page 37                                          Page 38
       1          Q. Okay. So I would like to go        1   graduate from Ramapo University?
       2    through this with you. Starting at the      2        A. Yes, I did.
       3    back, your education, it says that you      3        Q. And when was that?
       4    went to, forgive me if I -- if I            4        A. January 1990.
       5    pronounce this incorrectly, Ramapo          5        Q. January 1990?
       6    University; is that correct?                6        A. Yes.
       7          A. Ramapo, correct.                   7        Q. And did you -- what -- you
       8          Q. Ramapo University. What did        8   got a bachelor of science in business
       9    you study at Ramapo University?             9   administration?
      10          A. Business administration.          10        A. That's correct.
      11          Q. What does business                11        Q. Was there a major, an area
      12    administration entail?                     12   of concentration involved in -- in your
      13          A. Business management.              13   degree?
      14          Q. Okay.                             14        A. Management.
      15          A. I mean beyond that, it's --       15        Q. Management?
      16    it's -- I mean how do you describe         16        A. Yeah.
      17    business management, right? That's         17        Q. Were there other areas of
      18    funny, I've never been asked that          18   concentration available at the
      19    question. It's just general business on    19   university?
      20    how to be successful in the corporate      20        A. Oh, I'm sure there were
      21    world and -- and how to be well rounded    21   available, yeah.
      22    and -- and all the basic criteria that     22        Q. So then, you went to
      23    you take, you know, in college.            23   Cranfield University, Cranfield School of
      24          Q. When did you -- and did you       24   Management; is that correct?

                                          Page 39                                          Page 40
      1          A. Yes. That's a little                1   exact time. But it was definitely within
      2    deceiving. It's there to look -- make        2   the first couple of years.
      3    myself to look enticing to future job        3         Q. Okay. And did Actavis pay
      4    employers if we want to be honest.           4   for it?
      5    It's -- it's not a -- I didn't go there      5         A. Yes, they did.
      6    as a university as you might imagine.        6         Q. And did that -- they paid
      7    Actavis, actually, was very good at          7   for your travel?
      8    providing career development                 8         A. Yes.
      9    opportunities in terms of developing         9         Q. What did you study during
     10    their employees, and I was able to travel   10   that week?
     11    to England and spend a week and study in    11         A. You know, to be honest,
     12    a management program at Cranfield           12   it's -- it's a little bit of a blur. I
     13    University. So it's not that I was there    13   don't recall specifics but it was
     14    a semester or a year or longer. It was a    14   teaching you different things about group
     15    very brief period of time.                  15   dynamics and working well as a team.
     16          Q. Do you remember when you           16   Beyond that, I don't -- I don't recall.
     17    went?                                       17   I know it was a good opportunity. But I
     18          A. No, I do not.                      18   don't remember a recall a lot of the
     19          Q. Do you remember the                19   details. I'm sorry.
     20    approximate time frame? Was it -- let me    20         Q. No need to apologize. Do
     21    restate the question. Was it early in       21   you remember if you got a certificate of
     22    your time at Actavis?                       22   some kind?
     23          A. Yes. It was within the             23         A. Yes, I got a certificate.
     24    first four years. I don't remember the      24   I'm not really sure what the certificate


                                                                   10 (Pages 37 to 40)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 11 of 97. PageID #: 211893

                                          Page 41                                          Page 42
      1    said, you know, other than probably you      1   were at Actavis?
      2    completed this week session. But beyond      2        A. There was a conference that
      3    that, I don't recall. It was a paper         3   I recall. I'm not sure when. It was run
      4    certificate.                                 4   by an organization, ICSA. It was an
      5         Q. My apologies. Did you                5   International Customer Serve Association.
      6    receive other kinds of training while you    6            I also went to a DEA
      7    were at Actavis?                             7   compliance meeting somewhere in the
      8         A. Yes.                                 8   Maryland/Washington area. I don't recall
      9         Q. And were any of them                 9   where that was. Those are the two that I
     10    external trainings like the one that you    10   remember.
     11    attended at Cranfield University,           11        Q. And the DEA compliance
     12    external meaning external to --             12   meeting, was the DEA compliance meeting a
     13         A. Yeah, the only thing that           13   conference?
     14    I'm trying to recall for example American   14        A. Yes. It was a conference
     15    Management Association had all kinds of     15   run by what I would deem a vendor called
     16    seminars. I'm trying to -- I mean I know    16   Cegedim Compliance Solutions. And they
     17    I sent my team to some. I'm trying to       17   were really bringing the industry
     18    remember if I did any external. I went      18   together educating on the topic and you
     19    to conferences.                             19   know, regulations and all that.
     20              Whether I went to any             20        Q. Do you remember
     21    external training, to be honest with you,   21   approximately when that conference took
     22    I don't -- I don't recall.                  22   place?
     23         Q. Do you remember what kinds          23        A. No, I do not. I could
     24    of conferences you attended while you       24   estimate within a few years. But I don't

                                          Page 43                                          Page 44
      1    remember exactly when it was.                1        Q. Sure.
      2          Q. Could you estimate within a         2        A. Because I didn't think it
      3    few years?                                   3   was '92. I thought it was '90. Let's
      4          A. Yeah. So let's backtrack a          4   see. It's not on the last page. That's
      5    minute. I started with Actavis in            5   why. So it wasn't '92. I had a feeling
      6    January of -- what year are we in --         6   that was wrong.
      7    2008. I think we were acquired by Watson     7        Q. Okay.
      8    and became a combined company maybe          8        A. It was 1991. If I remember
      9    somewhere between four and five years        9   correctly, October 7th was my start day.
     10    after that. So maybe around 2012, the       10        Q. Wow.
     11    fall.                                       11        A. I don't know why I remember
     12             So it would have been              12   that. But I -- but I do.
     13    roughly, I'm going to guesstimate 2010 to   13        Q. It was October 7th?
     14    '12. But that's a guess, I'm sorry.         14        A. 1991.
     15          Q. Thank you. So next we're           15        Q. Right. That's what -- it
     16    going to go to your first job that you've   16   says 1991, 1992.
     17    listed on the LinkedIn profile.             17        A. Yes.
     18    Datascope Corp., international              18        Q. So as a domestic account
     19    coordinator; is that correct?               19   representative at Datascope, what were
     20          A. That's correct.                    20   your job duties?
     21          Q. It says that you started in        21        A. Just to step back a minute
     22    1992 and worked there for two years in      22   to clarify. When you mentioned that I
     23    Montvale, New Jersey. Is that correct?      23   worked at Datascope from 1991 to 92, it
     24          A. Give me one moment.                24   was much longer than that. All the


                                                                    11 (Pages 41 to 44)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 12 of 97. PageID #: 211894

                                          Page 45                                          Page 46
      1    positions above that are with the same       1        Q. And when you say customer
      2    company. So that time period was just        2   needs, how would you define those needs?
      3    one role within the company. I spent         3        A. Making sure if they placed
      4    13 years there.                              4   an order, that the orders were processed
      5         Q. Right. I am trying to                5   accurately, based on the terms and
      6    understand over time --                      6   conditions of the purchase order. I
      7         A. Perfect.                             7   guess that's the best way to describe it.
      8         Q. -- what your -- what your            8        Q. What kind of company is
      9    responsibilities were.                       9   Datascope?
     10         A. Okay.                               10        A. So Datascope is no longer in
     11         Q. But were your                       11   existence today. But Datascope was a
     12    responsibilities consistent across the      12   medical device manufacturer.
     13    13 years?                                   13        Q. Okay. And so did your job
     14         A. No. I had consistent                14   responsibilities change significantly
     15    increasing responsibilities over that       15   when you were promoted to international
     16    period. But now I'll go back and            16   coordinator?
     17    apologize. To answer your original          17        A. I wouldn't use the word
     18    question, as a domestic account             18   significantly. It just shifted from a
     19    representative, this was -- my first real   19   domestic to an international, roles doing
     20    job out of college I was doing data         20   very similar responsibilities. And the
     21    processing, order entry, customer           21   only difference, I would say, would be
     22    service, making sure the customers' needs   22   international was a little bit more
     23    were met, making sure orders were           23   complex, so...
     24    shipping properly and accurately.           24        Q. So it was more interesting?

                                          Page 47                                          Page 48
       1         A. Yes. Exactly.                       1   was made that they wanted more focused
       2         Q. All right. So then, it says         2   groups that would support the two
       3    in 1994 you transitioned to manager of      3   businesses independently. And also
       4    global customer service and sales           4   instead of in the corporate headquarter
       5    support, and that you were in that role     5   locations, to be in their physical
       6    for eight years; is that correct?           6   buildings in their units. So they split
       7         A. That's correct.                     7   the team.
       8         Q. Okay. The first sentence            8            The majority of the group,
       9    here, it says that you built the new        9   based on location, all wanted to go to
      10    customer service department from the       10   the patient monitoring division which was
      11    ground up and spearheaded all phases of    11   located in Paramus, New Jersey. Very few
      12    org management and customer service.       12   wanted to go to the cardiac division,
      13         A. That's correct.                    13   simply based on location, which was in
      14         Q. Can you tell me what               14   Fairfield, New Jersey, virtually in my
      15    building the customer service department   15   backdoor.
      16    from the ground up entailed?               16            It was a great opportunity
      17         A. Okay. So the company at the        17   for me. To describe it as you requested,
      18    time really had two business units. They   18   I was given a blank sheet of paper and
      19    had a cardiac assist division and they     19   said, "Here's your department, go build
      20    had a patient monitoring division which    20   it." I was responsible for making
      21    focused on different products.             21   decisions on staffing, hiring, training,
      22              At the time, prior to my         22   making sure the processes were supporting
      23    taking this role, the customer service     23   the business and the customers and so
      24    function was consolidated. A decision      24   forth.


                                                                    12 (Pages 45 to 48)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 13 of 97. PageID #: 211895

                                          Page 49                                          Page 50
       1         Q. Did you have a software             1   allow you to track sales?
       2    program or database that you used at        2        A. Sure, yes.
       3    Datascope to help you manage and keep       3        Q. Does the ERP system allow
       4    track of customer orders?                   4   you to track customer returns?
       5         A. Yes, we did. Yes. That's            5        A. Yes.
       6    an easy answer. I was just preparing for    6        Q. Okay.
       7    the next question you may have about        7        A. But --
       8    which one it was.                           8        Q. Sorry.
       9         Q. Well, did you -- did you            9        A. It does, but I don't recall
      10    implement the use of the software          10   if our returns were inhouse or
      11    program?                                   11   outsourced. I'm sorry. That was 15,
      12         A. It depended on when you            12   18 years ago. I'm going to have to say
      13    would ask that question. Initially in      13   on that question, probably, yeah.
      14    the early days, no, I did not. But later   14        Q. As part of your role as a
      15    on in my career there, yes, I took an      15   manager of global customer service and
      16    active role in implementing an ERP         16   sales support, did you have regular
      17    system.                                    17   meetings with company leadership?
      18         Q. That's part of -- you called       18        A. Yes.
      19    it an ERP system. What does ERP stand      19        Q. And what sorts of things did
      20    for?                                       20   you discuss at those meetings?
      21         A. Enterprise resource                21        A. You know, business needs,
      22    planning. It's where the order-to-cash     22   staffing. You know, whether it be
      23    activities take place.                     23   meeting with human resources on employee
      24         Q. Okay. Does the ERP system          24   performance on how, you know -- coaching

                                          Page 51                                          Page 52
      1    and developing, building the team and        1        A. That's correct.
      2    making sure they had the tools they need,    2        Q. Okay. So the -- in 2002, is
      3    working with the technical groups, IT, on    3   that when you brought a software
      4    making sure the teams had the right tools    4   system -- you -- you implemented a
      5    they need to be successful. It depended      5   software system into the company's
      6    on which area of the business you'd be       6   customer service department?
      7    talking with, but sure, when you're in a     7        A. That's correct.
      8    customer service role, it's normal course    8        Q. Okay. As part of -- as part
      9    of business to communicate with              9   of your role either as a project manager
     10    management, so I would say the answer to    10   or as the manager of global customer
     11    that would be yes.                          11   service, did you ever discuss things
     12         Q. Okay. Thank you. So you             12   like -- did you ever discuss market share
     13    stayed at Datascope through 2003; is that   13   with company leadership?
     14    correct? 2004, my apologies.                14        A. No. That would not have
     15         A. Let me just verify that for         15   been in my responsibilities, no.
     16    a moment. That's correct.                   16        Q. Were there sales targets set
     17         Q. And so it says that your            17   for -- were there sales -- sales targets
     18    final role there, your -- your final        18   set for sales personnel at the company?
     19    position was project manager ERP system     19        A. Oh, I'm sure, absolutely.
     20    implementation?                             20        Q. Okay. Were you aware of
     21         A. Yes.                                21   what those sales targets were?
     22         Q. Is that the implementation          22        A. No. It did not impact my
     23    that we were talking about a few minutes    23   role whatsoever.
     24    ago?                                        24        Q. Did you track revenue?


                                                                    13 (Pages 49 to 52)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 14 of 97. PageID #: 211896

                                          Page 53                                         Page 54
      1         A. I did not, no.                       1   prior company although it was a much
      2         Q. Okay. Let's go onto                  2   smaller business, different product
      3    Aircast. It says that you were a senior      3   lines. But essentially the same thing,
      4    manager for global customer service.         4   managing the order to cash process.
      5         A. Yes.                                 5        Q. Would you mind explaining to
      6         Q. 2005 to 2007. What were              6   me what the order to cash process is?
      7    your job duties at Aircast?                  7        A. Anything it takes to do
      8         A. So just to clarify on                8   business in terms of making sure your
      9    record. 2005 to 2007 makes it look as        9   customer master data is set up properly,
     10    though I was there for two years. I was     10   you know, you're going to ship -- you're
     11    not, but when you have a resum , you play   11   going to send invoices to the correct
     12    with the months a little bit. I was         12   address. You're going to ship to the
     13    there early in one year and -- and left     13   correct address. Making sure that when
     14    early in the other year. So I was not       14   you get a purchase order in, that you're
     15    there two years.                            15   following the terms and conditions as
     16             Now, to answer your                16   stated in that purchase order. In other
     17    question, which, I'm sorry, can you         17   words -- you know, a customer can't come
     18    repeat?                                     18   in and ask for all kinds of crazy things
     19         Q. I asked -- I asked, while           19   that you can't fulfill. And -- and then
     20    you were at Aircast what were your          20   accept that purchase order, right.
     21    general job duties.                         21            So processing it. Making
     22         A. Okay. Job duties. Aircast           22   sure that the pricing the company is
     23    was a medical device company as well.       23   stating is matching what the customer is
     24    And my job duties were very similar to my   24   expected. Dealing with any deviations or

                                          Page 55                                         Page 56
      1    exceptions. Working with the                 1        A. I was in a different line of
      2    distribution on the shipping process.        2   customer service. But that's not
      3    Dealing with anything that may result        3   reflected even on -- on my profile. I
      4    from that. Maybe something was shipped       4   was in retail. You said prior to -- oh,
      5    to an incorrect address. Anything that       5   I'm -- I'm sorry, I apologize. I
      6    would be included in that entire stretch,    6   misunderstood the question.
      7    that entire process. Up to the point --      7        Q. My question was probably
      8    point when the invoice is sent out.          8   unclear.
      9             Not including any type of           9        A. I'm with the wrong company.
     10    receivables or collection activity. That    10             So you said prior to
     11    was never in the scope of my                11   Actavis --
     12    responsibility.                             12        Q. Right.
     13         Q. Okay. So is it fair to say          13        A. -- I thought you were saying
     14    that prior to your employment at Actavis,   14   prior to Datascope. My apologies.
     15    you worked in customer service?             15        Q. So I apologize. Let me ask
     16         A. Prior to my employment with         16   it differently.
     17    Actavis or Aircast?                         17             From 1991, your first job at
     18         Q. Actavis.                            18   Datascope, through 2007 --
     19         A. So you're back to Actavis.          19        A. Yeah.
     20    So prior to Actavis?                        20        Q. -- were you working
     21         Q. Yes.                                21   primarily in a customer service role?
     22         A. I was -- I wouldn't say I           22        A. Yes. Sorry, I didn't
     23    was in customer service.                    23   understand your question originally.
     24         Q. Okay.                               24        Q. And from -- from 1991


                                                                   14 (Pages 53 to 56)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 15 of 97. PageID #: 211897

                                          Page 57                                          Page 58
      1    through 2007, were you working in            1        A. Sure. When you work in a
      2    distribution management?                     2   customer service environment, you have to
      3         A. Prior to -- what was the             3   partner with many cross-functional areas,
      4    year you were saying?                        4   including those two, but not limited to.
      5          Q. 1991, just prior to your            5             So if you -- distribution as
      6    employment with Actavis, so from your        6   an example. When orders are passed to
      7    first job in 1991 --                         7   distribution, if they have any questions
      8          A. Okay.                               8   on fulfillment, let's just say the system
      9         Q. -- your first job listed on          9   said there was inventory and it gets to
     10    your LinkedIn profile, from 1991, through   10   the distribution group and there isn't,
     11    2007, were you working in the supply        11   or -- anything that it takes to make them
     12    chain --                                    12   successful on fulfilling the obligations
     13          A. No, I wouldn't -- I would          13   of what we're asking of them, you know,
     14    never consider myself having worked in      14   working with them on different carrier
     15    supply chain and distribution.              15   selection perhaps, some customers had
     16          Q. Okay.                              16   different carrier requirements. So
     17         A. Partnered with them, but,           17   anything it would take for them to
     18    no, that was not my responsibility.         18   fulfill their obligation, we were -- we
     19          Q. Okay. Would you -- would           19   were there to support and we partnered
     20    you please describe -- you -- you said      20   together, because at the end of the day
     21    that you partnered with distribution        21   our goal was the same, so...
     22    management. Can you explain what that       22             The other -- the other group
     23    means, what the word "partnered" means in   23   was supply chain, to answer to that.
     24    that context?                               24   Supply chain is, you know, traditionally

                                          Page 59                                          Page 60
      1    responsible for, you know, building          1   start with, just by asking you -- let me
      2    inventory, whether it be building to         2   see how I want to phrase this.
      3    forecast or whatever mechanism the           3        A. I'll take a drink.
      4    company is using.                            4        Q. Take a drink.
      5             And, you know, sometimes if         5             What would you say your
      6    an order came in, we may have to check       6   career at Actavis -- what would you say
      7    inventory to see if it's something that      7   was the focus of your career at Actavis?
      8    we could fulfill or we may be on back        8        A. Let's see. The best way
      9    order. And we would partner with groups      9   to -- to describe that. So in a company
     10    like that so that we had the proper         10   you have many different cross-functional
     11    information to give our customers the       11   areas. And everybody has got their jobs
     12    answers they needed, you know, in terms     12   and their focus, right.
     13    of supply. And that's pretty common in      13             But to be a good partner, in
     14    whether it be medical devices, supply       14   this case, manufacturer, you always have
     15    chain, or many other industries, I'm        15   to keep the customer's needs in mind.
     16    sure.                                       16   And the customer means many different
     17         Q. Thank you.                          17   things.
     18         A. Yeah.                               18             The customer could be
     19         Q. So we're now going to talk          19   someone down the hall in another
     20    about your -- your time at                  20   department, was my customer.
     21    Actavis/Allergan/Teva.                      21             The customer could be our
     22         A. Mm-hmm.                             22   wholesalers, our distributors, our retail
     23         Q. We can go through the               23   chains. Or the customer, at the end of
     24    LinkedIn profile, but I would like to       24   the day, is the patient.


                                                                    15 (Pages 57 to 60)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 16 of 97. PageID #: 211898

                                          Page 61                                          Page 62
      1             If I were to describe my            1   manager, director, and executive
      2    career in -- in a nutshell, I would say      2   director. I don't think there was
      3    that I personally took ownership of          3   another step before director. I think
      4    making sure that the customer's voice was    4   there was five or so different titles
      5    heard and the customer's needs were met.     5   over the course of what amounted to nine
      6    And that we always did the right thing,      6   years.
      7    and we operated to the best of our           7        Q. So I notice in your -- in
      8    ability. I don't know. It's the only         8   your description under Actavis, director
      9    way I can describe them.                     9   of customer service, it says that you
     10             I'm very passionate about          10   were an associate director at some point.
     11    what I do. And, you know, I put a lot of    11   Does that help refresh your memory?
     12    myself into my role.                        12        A. Like I said, before director
     13         Q. He's got horrible                   13   I wasn't sure if there was another step,
     14    handwriting.                                14   but that's very likely. Because that was
     15             So you started -- is it            15   quite typical of the progression.
     16    correct to say that you started at          16        Q. So when you started at
     17    Actavis in 2008 as a director of customer   17   Actavis, what were your initial job
     18    service?                                    18   duties?
     19         A. No, that would not be               19        A. So when I started at
     20    correct. I started out at Actavis, I        20   Actavis, you know, we were a much smaller
     21    believe my first role was manager. And      21   company at the time. I had a fairly
     22    then I had several different progressions   22   small team, but big enough to manage our
     23    throughout my career. I think after         23   book of business. And I was responsible
     24    manager I went to team leader, senior       24   for, you know, very -- very much what I

                                          Page 63                                          Page 64
       1    described earlier. Managing the order       1   clarify, because it's different than what
       2    process, managing customer purchase         2   it was at a later point, basically
       3    orders, EDI transactions, shipments,        3   involved executing the operational piece
       4    anything, anything of that nature. And I    4   on the process that had been built and
       5    had a team that supported me.               5   the procedures that were outlined before
       6         Q. Did you have any involvement        6   I came in. I don't -- I can't take
       7    with the suspicious order monitoring        7   responsibility or ownership, or credit I
       8    program at that time?                       8   think is the better word for that. I
       9             Hold on. Let me -- let me          9   was -- I executed. That was my job.
      10    back up.                                   10        Q. And would you mind -- please
      11         A. Sure.                              11   explain the process through which you
      12         Q. Was there a suspicious order       12   would execute the suspicious order
      13    monitoring program at Actavis when you     13   monitoring program?
      14    started in 2008?                           14        A. Okay. So we -- we had a
      15         A. Yes.                               15   report that would be generated that would
      16         Q. Did you have any involvement       16   trigger to us anything of interest. It
      17    with the suspicious order monitoring       17   was never deemed that it was suspicious.
      18    program at Actavis in 2008?                18   It was just an order, you know,
      19         A. Yes.                               19   definitely worth looking at just to
      20         Q. What was your involvement          20   review and, you know, to do our due
      21    with the suspicious order monitoring       21   diligence to make sure that we could make
      22    program in 2008?                           22   sense of it before it was authorized for
      23         A. So specifically at that            23   shipment.
      24    time, my involvement -- and I want to      24            So it was our job to do due


                                                                    16 (Pages 61 to 64)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 17 of 97. PageID #: 211899

                                          Page 65                                          Page 66
      1    diligence, and we would have to work with    1            When you said, "It was our
      2    different groups to do that. So perhaps      2   job to verify that that was legitimate,"
      3    we had to, you know, work with contracts     3   who is "our"?
      4    to say, hey, how come a customer is          4        A. Okay. "Our," my team,
      5    ordering product X, and they never have      5   customer service. We would do the leg
      6    before, so it's coming up on the report,     6   work, and we didn't necessarily have all
      7    which was part of the design. It was a       7   the answers. But it was our job to make
      8    new -- new controlled drug, they never       8   sure that we got them. Does that make
      9    ordered before. That was an automatic        9   sense?
     10    flag.                                       10        Q. Thank you. You stated that
     11               And it would be our job to       11   there was a report that was generated.
     12    verify that that was legitimate, it was     12        A. Yes.
     13    something that was contracted, expected,    13        Q. Did you have -- what was the
     14    and then we would approve -- you know,      14   name of that report?
     15    the order would be released.                15        A. It was generated from QAD
     16         Q. By "our," do you mean the           16   which was our system at the time. It had
     17    customer service department?                17   some long fancy number like 75.3.7.9,
     18               MS. LEVY: Objection to           18   whatever. I don't know the exact number
     19         form. You can answer.                  19   in terms of the title, I can't be certain
     20    BY MS. ANTULLIS:                            20   of the exact title. But it was something
     21         Q. When you say -- I'll                21   along the lines of suspicious order
     22    rephrase it. When you say it was our job    22   monitoring report. And I may not be
     23    to -- I'll read it back. Did you say due    23   completely accurate on that. It's been a
     24    diligence?                                  24   while.

                                          Page 67                                          Page 68
      1         Q. What does QAD stand for?             1   be they would place it electronically
      2         A. I'm not sure what the                2   through EDI. But we did have a lot of
      3    acronym stands for. QAD is another ERP       3   customers that also placed orders
      4    system. It's what we used in the earlier     4   manually.
      5    years at Actavis.                            5            Manually could mean one of
      6         Q. So what -- how would a --            6   two things. Manual meaning just a
      7    how would a report be triggered?             7   hardcopy purchase order. I mean, it
      8         A. Reports were triggered               8   wasn't too common at that time that they
      9    automatically out of the system. They        9   would use mail. But fax was very common,
     10    didn't have -- it didn't rely on a person   10   and e-mail not so much. But fax was very
     11    to hit a button and print it. They were     11   common. And then -- and then EDI. So it
     12    generated automatically several times       12   was a combination of the two.
     13    throughout the day.                         13        Q. And then how would that
     14         Q. So what would you do when           14   information make it into your QAD system?
     15    you received a purchase order or, what      15        A. If -- one of two ways,
     16    would you -- who -- first of all, explain   16   either electronic or manual. So if it
     17    to me the process.                          17   was a manual purchase, it would be
     18             When -- when a customer            18   manually entered. If it was electronic
     19    places an order, who takes the order        19   it would be uploaded automatically within
     20    down? Or how does the customer place an     20   the system.
     21    order?                                      21        Q. And then who did the manual
     22         A. Okay. The customer can              22   entering?
     23    place an order in a number of different     23        A. My team.
     24    ways. One of the more common ways would     24        Q. And who did the electronic


                                                                    17 (Pages 65 to 68)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 18 of 97. PageID #: 211900

                                           Page 69                                          Page 70
       1    uploading?                                   1   the QAD system.
       2         A. The system.                          2            Was it automatically
       3         Q. The system automatically.            3   generated when the purchase order
       4             Okay. So you had the orders         4   information was entered into the system?
       5    that are entered into the QAD system; is     5         A. Yes. It would have to be
       6    that correct?                                6   afterwards. So that's why it was several
       7         A. Yeah.                                7   times throughout the day. Each report
       8         Q. And then what -- what                8   would capture the orders that came prior
       9    criteria would be used to automatically      9   to it.
      10    generate a suspicious order report or the   10         Q. Okay. And what -- what
      11    long form report?                           11   flagged in the system that caused it to
      12         A. I'm sorry. Can you clarify          12   enter a particular order onto this
      13    the question?                               13   report?
      14         Q. So you said that the                14         A. So it's been quite some
      15    reports, whose name you're not sure, but    15   time. And I don't feel that I can speak
      16    I'm going to say --                         16   completely accurate to the logic behind
      17         A. It's a number.                      17   the report. But I can speak to some.
      18         Q. -- suspicious order report          18   There were different criteria. So maybe
      19    with a number. You said that it was         19   a customer was a first-time purchaser.
      20    automatically generated from the QAD        20            You know, sometimes it was a
      21    system --                                   21   new drug, you know, a new product launch.
      22         A. Correct.                            22   Those would automatically be flagged as
      23         Q. -- when information --              23   new. Maybe it was a new size, or perhaps
      24    when -- it was automatically generated in   24   the purchase quantities, you know,

                                           Page 71                                          Page 72
      1    exceeded whatever the threshold that was      1   Controlled Substance Act prior to this
      2    set -- and I apologize, I don't recall        2   deposition?
      3    what that was -- based on historical          3         A. No. But I'm familiar with
      4    purchases.                                    4   it. Yeah.
      5         Q. I'm going to show you a               5         Q. I'll give you a minute to
      6    document that I will enter as Exhibit 3.      6   read it.
      7             (Document marked for                 7         A. Thank you. I'm almost
      8         identification as Exhibit                8   there. Bear with me. I'm sorry.
      9         Baran-3.)                                9         Q. Do you recall -- do you
     10             MS. ANTULLIS: It's Tab              10   recall this e-mail chain?
     11         Number 9.                               11         A. I honestly don't recall it.
     12    BY MS. ANTULLIS:                             12   But it looks very accurate as something
     13         Q. In the meantime, can I ask           13   that would have happened.
     14    you, did you review any -- did you review    14         Q. Do you have any reason to
     15    any criteria in preparation for this         15   believe that this was not you, Nancy
     16    deposition?                                  16   Baran?
     17         A. This criteria, no.                   17         A. No.
     18         Q. That we are discussing.              18         Q. Is this something that you
     19         A. No.                                  19   would have sent in the ordinary course of
     20         Q. Did you review -- are you            20   your business?
     21    familiar with the Controlled Substance       21         A. Yes, very possible.
     22    Act?                                         22         Q. Does the explanation on the
     23         A. Yes.                                 23   first page where you list a bullet point,
     24         Q. Did you review the                   24   and it says, "An order appears in the


                                                                     18 (Pages 69 to 72)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 19 of 97. PageID #: 211901

                                           Page 73                                          Page 74
       1    suspicious order report if it meets the      1   know. I don't know if I can answer that
       2    following criteria," six bullet points.      2   question.
       3         A. Six bullet points.                   3        Q. So you don't know what you
       4         Q. Does that refresh your               4   meant when you said the 25 percent
       5    recollection as to what criteria             5   threshold will increase to 40 percent for
       6    triggered a suspicious order report in       6   abuse-type drugs?
       7    2009?                                        7        A. I don't recall. And if I
       8         A. Does that refresh?                   8   tried to give you an answer, I would be
       9         Q. Right. You got --                    9   making one up.
      10         A. Yeah.                               10        Q. All right.
      11         Q. Right.                              11            MS. LEVY: Don't -- don't
      12         A. Yes. Yes.                           12        guess or speculate. She wants --
      13         Q. Okay. So let's go through           13        she wants you to answer what you
      14    this for a minute. I'd like to              14        know.
      15    understand Bullet Point Number 2. You       15            THE WITNESS: Yeah, I don't
      16    say, "The 25 percent threshold will         16        know.
      17    increase to 40 percent for abuse-type       17   BY MS. ANTULLIS:
      18    drugs."                                     18        Q. Pull -- pulling back then.
      19             What does that mean?               19   It says -- it says that, you know, if the
      20         A. So based on what I'm reading        20   amount ordered by the customer is
      21    here, I'm clearly detailing, I guess,       21   25 percent over the customer's rolling
      22    part of what the program was doing. But     22   average, and it refers below for what
      23    having not built it, I don't know if I      23   that means, that that would trigger a
      24    can speak to that at this point. I don't    24   suspicious order, right?

                                           Page 75                                          Page 76
       1              Is that correct, is that           1   improvements you were thinking of when
       2    what it says?                                2   you wrote that?
       3         A. That's what it says.                 3        A. Oh, absolutely.
       4         Q. Okay. And then again it              4        Q. Okay. Would you share with
       5    says that the report is printed several      5   me what improvements you thought the
       6    times a day, which you testified to          6   system needed?
       7    earlier.                                     7        A. Sure. Automation. I mean I
       8              When it says, and if you           8   was -- remember, I was the team that had
       9    were -- do you recall whether that           9   to execute on the operational piece, and
      10    25 percent was a -- a threshold that was    10   it was very manual and very
      11    applied against purchases that came in      11   time-consuming, and, you know, we were --
      12    daily?                                      12   it was -- it was burdensome. I mean it
      13         A. I apologize, but I don't            13   achieved our objective, but it was very
      14    have any recollection of that, the          14   manual. That's the -- the simplest way
      15    criteria behind it.                         15   to describe it. Painful.
      16         Q. Higher up in the e-mail, you        16             We got to our destination,
      17    say, "John, the quick answer to the first   17   but it -- we took, you know, a very
      18    part of your question is that we do have    18   manual route to get there. I don't know
      19    a process in place to govern the ordering   19   how to explain it any other way.
      20    of controlled drugs. The longer question    20        Q. What was -- I'm trying to
      21    is that I believe our process is not        21   understand what -- what was manual.
      22    current and that there are significant      22             When you say manual, do you
      23    room for improvement."                      23   mean that the review of the order report
      24              Do you remember what              24   and determination of suspicious orders


                                                                     19 (Pages 73 to 76)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 20 of 97. PageID #: 211902

                                           Page 77                                          Page 78
       1    was a manual process?                        1        A. Exhibit 3 -- oh, the whole
       2         A. Yes. Well, that as well. I           2   exhibit?
       3    mean it took someone to look at the          3        Q. In the bullet point list.
       4    report, stop on -- on every order,           4        A. Oh.
       5    question, meet, have discussions, you        5        Q. In your explanation to
       6    know, document really, and -- and all        6   John --
       7    those steps.                                 7        A. Okay.
       8              It was -- you know, the            8        Q. -- it goes through the first
       9    system gave its judgment and its opinion,    9   and then goes to the middle of the second
      10    and, like, based on the criteria that       10   page.
      11    were set, but then the rest of the          11        A. Yes.
      12    process was manual.                         12        Q. Do you believe that to be an
      13         Q. Okay. And again, the                13   accurate representation of what the
      14    criteria that were set by the system, do    14   system -- the criteria of the system was
      15    you recall what those are?                  15   based on at the time you sent the e-mail?
      16         A. That's where I'm -- I'm very        16        A. To the points that I recall,
      17    grey. It's been so many years. I -- I       17   yes. In terms of the criteria and the
      18    really don't feel that I could speak        18   percentages and all that, if -- if I put
      19    accurately to the criteria that the         19   it there, it came from somewhere. But I
      20    report was looking at.                      20   wouldn't have recalled that if you asked
      21         Q. Do you have any reason to           21   me.
      22    believe that -- that the explanation that   22             You know, you can see one of
      23    you've given in Exhibit 3 in this e-mail    23   his questions was about making sure we're
      24    is inaccurate?                              24   shipping to licensed customers. I mean,

                                           Page 79                                          Page 80
      1    we had a lockdown process. Nothing went       1   terms of manual.
      2    anywhere if the customers weren't             2            The orders would be placed
      3    properly licensed. Things were locked up      3   on -- on hold, that was manual. And then
      4    very tight, and there was -- there was no     4   once we did our due diligence, if -- if
      5    gaps. Customers had to have the proper        5   we were satisfied with what we were
      6    licensing. They couldn't be expired. So       6   releasing, the order of release would be
      7    that was one of his questions that I see      7   manual. Yeah, so, any of the -- the
      8    that he asked in here.                        8   keystrokes and the steps that you needed
      9         Q. Right. You -- you said that           9   to do to put the order on and off hold
     10    the process was manual, and I asked you      10   were manual.
     11    whether it was manual with regard to         11        Q. And when you say we placed
     12    review of the -- the suspicious order        12   the order on hold, who is "we"?
     13    reports. You indicated that that was --      13        A. We, when I say -- when I
     14    I believe your phrasing was something        14   refer to "we," I meant my team.
     15    along the lines of yes, that was one         15        Q. Okay. And my team is the
     16    thing.                                       16   customer service department --
     17             Was there something else            17        A. Right.
     18    about the process that was manual in         18        Q. -- or the customer service
     19    2009?                                        19   team?
     20         A. Yes.                                 20        A. That's correct. No -- no
     21         Q. Okay. What else was manual           21   other team -- all of our order holds as
     22    about the process in 2009?                   22   an example, if we have a -- maybe a
     23         A. So let me take myself back           23   customer gets put on a credit hold,
     24    and think of some of the highlights in       24   someone in customer service does not have


                                                                     20 (Pages 77 to 80)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 21 of 97. PageID #: 211903

                                          Page 81                                          Page 82
      1    security access to release a credit hold,    1        A. But it's -- it's all one
      2    much like the same, no other groups had      2   company.
      3    access to those holds.                       3        Q. Do you remember when you --
      4         Q. Understood. So you can put           4   when you began your employment at -- at
      5    that exhibit aside for -- for now, we may    5   Actavis in 2008, which company hired you?
      6    come back to it later.                       6        A. When I began my employment
      7         A. Okay.                                7   with Actavis, which company hired me?
      8         Q. But I want to return to              8   Actavis.
      9    Exhibit 2.                                   9        Q. Okay. Is that -- do you
     10         A. Oh.                                 10   remember which Actavis? Can you be more
     11         Q. And just discuss. So you've         11   specific? Actavis Inc.?
     12    listed three different, one, two, three.    12        A. I don't know the -- the
     13    You've listed your -- your time at          13   legal entity name, Actavis Inc., LLC, I
     14    Actavis, Allergan, and Teva as three        14   don't know.
     15    different entries. It says Actavis 2008     15        Q. Okay.
     16    to 2013, Allergan 2008 to 2017, and Teva    16        A. So, you know.
     17    2008 to 2017; is that correct?              17        Q. So at some point during your
     18         A. It's probably a little              18   employment at Actavis, Watson came in and
     19    confusing the way it reads. I had a         19   acquired the company.
     20    resum writer take my resum , and -- and     20        A. Correct.
     21    they did my LinkedIn profile. And I         21        Q. Is that correct?
     22    guess this is the way they thought it       22        A. Yes.
     23    should appear.                              23        Q. Did your job duties change
     24         Q. Understood.                         24   at that point?

                                          Page 83                                          Page 84
      1         A. Yes. The -- the role not so          1   any interruption to the customer, they
      2    much but the -- the magnitude did. I         2   never felt the difference, and we did
      3    mean the volume obviously. So to explain     3   just that.
      4    that, Watson had its customer service        4             But your original question,
      5    group headquartered in California,           5   did my role change, not really. It's the
      6    Irvine, California. And the decision was     6   same job.
      7    made that they wanted to have customer       7        Q. So in -- under your listing
      8    service in a corporate location, which       8   for Teva Pharmaceuticals, it says, if you
      9    the decision was Parsippany, New Jersey.     9   look on Page 3 of 5, the third bullet
     10             So I was given the                 10   point, it says, "Acquired knowledge of
     11    opportunity to build the new combined       11   DEA" --
     12    team. And when I say build, we had to       12        A. I should correct that.
     13    build it virtually from the ground up.      13   Yeah, I'm sorry, go ahead. I didn't mean
     14    Actavis was a much smaller company at the   14   to interrupt.
     15    time and the customer service group for     15             I just realized, I said -- I
     16    Watson, I'm just going to take a guess,     16   said my role didn't really change. In
     17    maybe they had 15, 20 employees. I          17   some aspects it grew. In some aspects it
     18    don't -- I don't remember the number        18   did change.
     19    exactly. Very seasoned. I mean their        19             Suspicious order monitoring
     20    average years of service were probably      20   was an area that -- that did change
     21    like 20 years, so a very seasoned team.     21   because Watson had its own function. It
     22    So it was my job to build a team in         22   had a, you know, a larger compliance
     23    Parsippany, New Jersey, to ensure that we   23   group and people focused on suspicious
     24    didn't skip a beat, that there was never    24   order monitoring outside of the customer


                                                                    21 (Pages 81 to 84)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 22 of 97. PageID #: 211904

                                          Page 85                                          Page 86
      1    service group. So our role, although we      1   written under your Teva entry. And what
      2    were still involved, we were still part      2   I would like to know is if the bullet
      3    of any questioning or investigation they     3   point I'll allowed -- I'm about to read
      4    had to do, we were a support mechanism,      4   is specific to Teva or if this applied to
      5    but we were not the lead. So there were      5   your job while you were at Actavis.
      6    other -- a couple other areas such as        6             It says, "Acquired knowledge
      7    customer master data, for example. You       7   of DEA and FDA regulations and building
      8    know, in a smaller company like the          8   new processes and procedures to ensure
      9    original Actavis, that was all part of my    9   full compliance and improve suspicious
     10    team. Now that we're part of this bigger    10   order monitoring initiatives."
     11    company, there was a group for that. So     11             Did you acquire that
     12    there were certain things that were         12   knowledge while you were at Actavis when
     13    pulled out. So I just wanted to clarify.    13   it was Actavis?
     14    Because I think I originally said my role   14        A. Correct, yes.
     15    was the same. It was the same, but, you     15        Q. Okay. Prior to your time at
     16    know, in some respects different.           16   Actavis, had you ever worked with DEA
     17         Q. You anticipated one of my           17   regulations?
     18    later questions.                            18        A. No, I had not.
     19         A. Okay.                               19        Q. Were you familiar with the
     20         Q. I appreciate that. Thank            20   Controlled Substances Act prior to
     21    you. That's very helpful information to     21   your -- your time at Actavis?
     22    know.                                       22        A. Not at all.
     23             So this is -- I'm -- I'm           23        Q. Okay. How did you learn
     24    asking about a description that you have    24   about the Controlled Substances Act?

                                          Page 87                                          Page 88
      1          A. I threw myself into it. And         1   have. So it depends on how you define
      2    I educated myself using people around me,    2   training.
      3    whether it be our attorneys helping me       3        Q. So did Actavis ever provide
      4    understand the regulations, our              4   a course on the Controlled Substance Act
      5    compliance officer. Going to a DEA           5   with course materials and a presentation,
      6    conference. Things as simple as reading      6   speaker?
      7    articles online. I mean, I threw myself      7        A. Not that I recall.
      8    into it and educated myself, yeah.           8         Q. Okay. I want to finish this
      9          Q. Did Actavis ever offer you          9   document, and then we'll take a break if
     10    any training regarding the Controlled       10   that's all right.
     11    Substance Act?                              11             Who asked you -- did anybody
     12          A. The conference that I went         12   ask you when you joined Actavis to learn
     13    to would be a good example of that.         13   about the Controlled Substance Act?
     14          Q. Did Actavis ever offer any         14        A. Not immediately upon joining
     15    internal training regarding the             15   Actavis. That was not my original
     16    requirements in the Controlled Substance    16   charge. But yes, my boss at the time,
     17    Act?                                        17   you know, asked me. He knew what he was
     18          A. I don't know. It depends on        18   getting with me. And I was proven at
     19    how you define training. If training is     19   that point. And he wanted someone on the
     20    sitting and meeting with a colleague and    20   project that was going to take it and run
     21    reading it and understanding it and         21   with it and make sure that we were doing
     22    having dialogue, to me that's training,     22   all the things that we needed to do. So
     23    because I'm learning. But it's not like,    23   I was assigned the task by my boss.
     24    okay, let's sign up for this course we      24         Q. And who was your boss?


                                                                    22 (Pages 85 to 88)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 23 of 97. PageID #: 211905

                                          Page 89                                          Page 90
      1         A. Michael Perfetto.                    1        A. -- approximately.
      2         Q. And when you say assigned            2        Q. If you look at Exhibit 3
      3    the project, what do you mean by the         3   again very quickly. Do you have it in
      4    project?                                     4   front of you?
      5         A. Just basically looking at            5        A. Exhibit 3?
      6    our process in terms of the regulation.      6        Q. I believe so, yes. It's an
      7    Finding ways to automate it. I mean,         7   e-mail. It's dated in August of 2009.
      8    everything we did, and everything I do,      8        A. Okay.
      9    quite frankly, is always finding ways to     9        Q. Did you have any role with
     10    be better, and that was really the          10   the suspicious order monitoring program
     11    objective of this. You know, making sure    11   in 2009 beyond the application of policy
     12    that we could enhance the systems that we   12   that we discussed previously?
     13    already had.                                13        A. If application of policy in
     14         Q. When did Michael Perfetto           14   your definition is a way to reflect
     15    assign you that project?                    15   operational execution, then yes. Beyond
     16         A. So I could give you an              16   that I didn't have any -- any role, yeah.
     17    approximate time period. I can't tell       17        Q. And were you aware in 2009
     18    you exactly when. But, you know, in         18   of the requirements of the Controlled
     19    driving here I was actually thinking        19   Substance Act?
     20    about that. I said, I hope they don't       20        A. Yes, but at a very high
     21    ask me dates because -- but I'm going to    21   level. I knew -- in other words, I'm the
     22    say that it was perhaps the late spring     22   type when I'm doing something, I like to
     23    of 2011 --                                  23   know why I'm doing it. You know, what's
     24         Q. Okay.                               24   this for? So I was aware, you know, of

                                          Page 91                                          Page 92
      1    it and the importance. But I wouldn't        1   product, as I mentioned earlier, if
      2    have considered myself an expert, I mean,    2   something was a new product. First-time
      3    at that -- at that time. Certainly aware     3   buyer, there was a flag that was a
      4    of it.                                       4   first-time buyer. Well, there would be
      5          Q. You said that your team was         5   certain steps that would have to be taken
      6    responsible for reviewing the suspicious     6   to validate that.
      7    order monitoring reports that were           7            Everything had, you know,
      8    generated by the QAD system, correct?        8   steps that had to be followed. It was
      9          A. Yes.                                9   pretty, pretty logical.
     10          Q. What criteria did you use to       10         Q. Were those guidelines
     11    review those reports to determine whether   11   written?
     12    the order could be released or was in       12         A. I don't recall. I don't
     13    fact a suspicious order?                    13   recall.
     14          A. So we had a very specific          14         Q. Do you know, do you remember
     15    set of criteria and guidelines that we      15   who -- who explained -- did anybody
     16    looked at. But I would be speaking out      16   explain the guidelines to you?
     17    of turn trying to sit and recite what       17         A. I hear buzzing.
     18    those were. Obviously because you can't     18            Yes. Who that would have
     19    give a team a report, and say, here,        19   been, I mean, that is more than seven
     20    figure this out.                            20   years ago. I don't recall that, sorry.
     21              So we had guidelines. I           21         Q. Do you recall how you first
     22    don't recall the specifics. I recall a      22   became acquainted with the guidelines?
     23    couple of examples, if that helps.          23         A. The very first day that I --
     24              You know, sometimes, the new      24   you know, in taking responsibility for my


                                                                    23 (Pages 89 to 92)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 24 of 97. PageID #: 211906

                                          Page 93                                          Page 94
      1    team, and one of the, you know,              1   this was happening before Nancy Baran
      2    responsibilities was managing this report    2   showed up.
      3    that comes out several times a day.          3        Q. So I want to go to the
      4    That's the first I ever knew of it.          4   project that you referenced that you said
      5    Until that, I wouldn't have even --          5   Michael Perfetto assigned you a
      6    excuse me -- known a regulation or what a    6   project --
      7    C.F.R. even was, you know. My first          7        A. Yes.
      8    exposure.                                    8        Q. -- in or about 2011.
      9         Q. Do you know who at Actavis           9        A. Correct.
     10    might -- might know whether there were      10        Q. What did he ask you to do at
     11    written guidelines in 2008 when you         11   that time?
     12    started?                                    12        A. It was essentially to, you
     13         A. The guidelines that we              13   know, look at our systems, our processes,
     14    operated by?                                14   our reports, our operational guidelines
     15         Q. Yes.                                15   and everything in terms of how it's, you
     16         A. The best person for that            16   know -- not really how it's measuring up
     17    probably should be me to be honest with     17   to the regulation, because there was no
     18    you. But it's just a matter of my           18   concern about compliance. It was more
     19    remembering and recalling that.             19   about how do we take it to the next step.
     20         Q. Did you write the guidelines        20   How do we do even -- even more than we're
     21    or did you write the guidelines?            21   doing today? And we did that. We did
     22         A. No.                                 22   take it to the next step.
     23         Q. In 2008?                            23        Q. Okay. I'm aware that people
     24         A. No. Because this was --             24   are getting fidgety and want to take a

                                          Page 95                                          Page 96
      1    break. So I'm going to go ahead and let      1        Q. So before we -- before we go
      2    that happen.                                 2   too far, I don't want to forget. The
      3         A. Okay.                                3   presentation that you looked at to
      4         Q. We'll come back to this very         4   refresh your recollection prior to coming
      5    quickly. But I think let's go off the        5   to this deposition, you said that it was
      6    record for now.                              6   the same as a -- as a document that your
      7             THE VIDEOGRAPHER: The time          7   counsel showed you during your six-hour
      8         is 10:22 a m. Off the record.           8   preparation session for the deposition;
      9             (Short break.)                      9   is that correct?
     10             THE VIDEOGRAPHER: We are           10        A. Yes.
     11         back on the record. The time is        11             MS. ANTULLIS: Okay. So,
     12         10:38 a m.                             12        Counsel, can -- will you agree to
     13             MR. LUXTON: Steve Luxton on        13        provide the Bates number of that
     14         behalf of the Teva defendants.         14        document, so that we know what it
     15         Can we stipulate, Counsel, as to       15        is that she was reviewing to
     16         the Teva defendants and the            16        refresh her recollection?
     17         Allergan defendants, since we both     17             MS. LEVY: We'll discuss
     18         also represent the witness, that       18        that on a break and we'll let you
     19         an objection for one of those          19        know.
     20         defendants is an objection for all     20             MS. ANTULLIS: Okay.
     21         of the defendants?                     21   BY MS. ANTULLIS:
     22             MS. ANTULLIS: Yes.                 22        Q. Let's go back to document --
     23             MR. LUXTON: Thank you.             23   Document 2, I believe. Exhibit 2.
     24    BY MS. ANTULLIS:                            24             So, so very quickly, at some


                                                                    24 (Pages 93 to 96)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 25 of 97. PageID #: 211907

                                          Page 97                                          Page 98
      1    point Watson transitioned, Teva acquired     1   was when the deal closed. I forget.
      2    the company.                                 2              Once that happened, my role
      3         A. Correct.                             3   quickly shifted to be one of
      4         Q. And -- and bought the                4   transitioning, because Teva had someone
      5    generics wing; is that correct?              5   in my role. And clearly, you know, they
      6         A. Yes. That's correct.                 6   didn't need two people. Unfortunate for
      7         Q. So did your position                 7   me, it's a company I would have certainly
      8    transfer then to Teva?                       8   retired with. But you never take it
      9             What -- what position did           9   personal. It's just the industry we're
     10    you have at Teva?                           10   in, and it's constantly consolidating.
     11         A. So there was a transition           11   So to answer your question, I did lose my
     12    period. So, just to clarify. From the       12   role, but I was there and -- and spent a
     13    time the deal was announced, to the time    13   lot of time and energy to make sure I
     14    the transaction was actually closed, for    14   transitioned things properly. My team is
     15    a variety of reasons of which I'm not       15   still intact today, and I wanted to leave
     16    sure I even know, took much longer than     16   it in -- in good order.
     17    thought, so I don't know, there was maybe   17         Q. Did you have any role with
     18    a year period in between that. So my        18   the suspicious order monitoring processes
     19    role, during that year, was to continue     19   and procedures at Teva?
     20    managing my team, doing the day-to-day      20         A. No, I did not.
     21    business, and once we were at a point and   21         Q. And when did you leave Teva?
     22    a juncture where we were allowed to share   22              MS. ANTULLIS: I never say
     23    information, there was a certain time,      23   it correctly. I'm sorry.
     24    and I don't know what that was. Maybe it    24              MR. LUXTON: That's all

                                          Page 99                                         Page 100
       1         right.                                 1   case?
       2             THE WITNESS: The beginning         2            Do you know who the
       3         of January 2017.                       3   plaintiffs are?
       4    BY MS. ANTULLIS:                            4         A. I don't know who the
       5         Q. Okay. And what was the term         5   plaintiffs are.
       6    that you used, off -- "offboarding"?        6         Q. So in 2000, February of 2018
       7         A. I was a synergy. Is that            7   you went to, I'm going to mispronounce
       8    what you mean?                              8   it, but Daiichi Sankyo?
       9         Q. No, it -- essentially you           9         A. Yes.
      10    were laid off; is that correct?            10         Q. Okay. And it says that you
      11         A. Correct.                           11   were strategy leadership and program
      12         Q. Is that the correct                12   management, a contractor for six months.
      13    terminology?                               13   What did that position -- what job duties
      14         A. Yes.                               14   did that position entail?
      15         Q. Okay.                              15         A. So this job was completely
      16         A. Involuntary.                       16   out of the scope of anything I had done
      17         Q. Involuntary.                       17   my other 25 years of my career. I don't
      18         A. Yeah.                              18   know if it was that they really needed
      19         Q. All right. And do you bear         19   help or it was more of a favor from a
      20    any ill will towards any of the            20   former colleague that -- that knew I was
      21    defendants in the case?                    21   sitting home and like anxious to get
      22         A. No.                                22   back.
      23         Q. Do you bill -- bear any ill        23            They had -- their company
      24    will to any of the plaintiffs in the       24   was shifting their focus from an -- to an


                                                                    25 (Pages 97 to 100)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 26 of 97. PageID #: 211908

                                         Page 101                                         Page 102
      1    oncology company. And as part of that        1   worked in the field of medical devices or
      2    they had a lot of things that were going     2   pharmaceuticals?
      3    on. They were restructuring their sales      3         A. Approximately 50 in percent
      4    force. So their HR team was extremely        4   each.
      5    overburdened, highly stressed.               5         Q. 50 percent in each. Okay.
      6             The person that hired me            6             I'm going to go through a
      7    happened to be my career coach that          7   list of questions that I don't want -- I
      8    Actavis had hired for me years prior. So     8   want to remember not to ask you -- I
      9    once again she knew what she was getting     9   don't want to forget to ask you.
     10    with me, she just needed a body to come     10         A. Okay.
     11    in and help manage their extra workload.    11         Q. So during what period of
     12    I was only really going to be there for     12   your career did you work with opioids?
     13    two months. I ended up staying for six      13         A. Certainly not in medical
     14    months. So, but it's totally outside of     14   devices. That would not have happened
     15    the scope of anything else that I've ever   15   until my -- my employment with Actavis.
     16    done.                                       16         Q. Okay. So you worked with
     17         Q. Is it a medical device              17   opioids through your career at Actavis,
     18    company?                                    18   Allergan, Teva and then not again after
     19         A. They are pharmaceuticals.           19   that; is that correct?
     20         Q. They're a pharmaceutical            20         A. That's -- well, I don't even
     21    company?                                    21   know, to be honest with you, Daiichi's
     22         A. Yeah.                               22   product -- product mix, because that
     23         Q. So then is it fair to say           23   didn't come into play in my role. I
     24    that for approximately 24 years you         24   don't know if they have opioids or not.

                                         Page 103                                         Page 104
       1    I'm sorry. So let's leave that as           1   that if it did have a nondisparagement
       2    possibly with Daiichi. But I don't know     2   provision if that would prevent you from
       3    what their product mix is.                  3   testifying honestly today?
       4          Q. That's fine.                       4        A. Could you repeat that
       5               When you left Teva did you       5   question?
       6    sign a nondisparaging agreement?            6        Q. Do you understand that if
       7          A. Like a separation agreement,       7   your separation agreement had a
       8    if -- if that's what it's called. Is        8   nondisparagement clause, that it wouldn't
       9    that non -- yeah, I signed an agreement.    9   prevent you from testifying today?
      10          Q. It could have a --                10             MS. LEVY: Object to form.
      11          A. I'm not sure of the title.        11        You can answer.
      12          Q. -- nondisparagement clause        12             THE WITNESS: I -- I guess I
      13    or it could be a nondisparagement          13        don't understand it, because I
      14    agreement.                                 14        don't even understand any of the
      15               Did your -- did you sign a      15        terminology. So, I'm -- I'm not
      16    separation agreement?                      16        sure.
      17          A. A separation agreement. I         17   BY MS. ANTULLIS:
      18    don't know what the title was.             18        Q. Is there anything about your
      19          Q. Do you know if the                19   separation with Teva that prevents you
      20    separation agreement had a                 20   from testifying honestly and fully today?
      21    nondisparagement provision?                21        A. Oh. Well, put that way,
      22          A. I don't know what that is,        22   that's -- thank you. No.
      23    so I'm not sure.                           23        Q. Okay. Have you ever been a
      24          Q. Okay. Do you understand           24   member of any pharmaceutical compliance


                                                                26 (Pages 101 to 104)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 27 of 97. PageID #: 211909

                                        Page 105                                          Page 106
      1    organizations?                               1   wasn't -- well, they would have had to
      2         A. No, I have not.                      2   pay for me to go, so, sure. Through
      3         Q. Have you ever been a member          3   expense reports or something. I'm sure
      4    of any industry trade groups or industry     4   they would.
      5    working groups?                              5        Q. Did your boss have to
      6         A. Not a formal member, no.             6   approve your attendance at these
      7    And I've read articles from groups like      7   conferences?
      8    HDMA and all that, I -- but I wouldn't       8        A. Sure. That would be a
      9    say that I was a member, no.                 9   normal course of business. You wouldn't
     10         Q. Have you ever attended any          10   just sign up for these and travel without
     11    industry conferences with HDMA or --        11   discussion and approval, yes.
     12         A. I attended a few industry           12        Q. So how would the approval
     13    conferences. I wouldn't say that I was a    13   go? Would you -- would you -- would it
     14    very active participant. But I did go       14   be casual through an e-mail?
     15    to, I believe it was an HDMA conference     15        A. I mean it -- it really
     16    and NCA -- NCDAS, I think it's called. A    16   wasn't like that. It was more of a --
     17    couple, you know, trade shows. That         17   you were kind of sign -- signed up along
     18    really wasn't very significant in my        18   with the rest of the group. It was so
     19    role.                                       19   few times. If I had to -- to guess on a
     20         Q. Do you know if Allergan             20   number, I may have been to a conference
     21    has -- Actavis has a record of the          21   or a trade show, I don't know, four
     22    conferences and trade shows you would       22   times.
     23    have attended during your employment?       23        Q. Okay.
     24         A. I doubt it, because it              24        A. Approximately.

                                        Page 107                                          Page 108
      1         Q. Do you remember generally            1   distributor or pharmacy?
      2    when those trade shows happened? Were        2        A. I don't believe so. I think
      3    they at the beginning of your career,        3   it was sponsored by this vendor. I think
      4    middle of your career, scattered             4   they were sponsoring themselves.
      5    throughout?                                  5        Q. And were representatives
      6         A. Before Watson, and I believe         6   from other -- other pharmaceutical
      7    I was at one with -- after Watson            7   manufacturers and distributors present at
      8    acquired us.                                 8   the conference?
      9         Q. Okay.                                9        A. Yes.
     10         A. Yeah.                               10        Q. Do you remember which
     11         Q. Have you attended any               11   entities were represented?
     12    conferences related to compliance issues?   12        A. I -- there were, I don't
     13         A. Yes.                                13   know, I feel like there were a hundred or
     14         Q. Do you remember -- do you           14   two. But I kind of went, listened,
     15    recall what conferences you attended that   15   learned, did my own thing. Went out to
     16    related to compliance issues?               16   dinner, went home. You know, I -- I
     17         A. That was the                        17   didn't really engage with any of them. I
     18    Cegedim-Buzzeo-DEA compliance conference.   18   would say the only one person I recall
     19         Q. Okay.                               19   meeting and spending any time discussing
     20         A. It was either in Baltimore          20   with, was someone from UPS supply chain
     21    or Washington D.C., I don't recall.         21   that was there and they supported us as
     22         Q. Do you know if the training         22   well. So that would be the -- the only
     23    that you received at that conference was    23   person I can attest to being there.
     24    sponsored by any opioid manufacturer,       24        Q. So you say the UPS Supply


                                                                27 (Pages 105 to 108)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 28 of 97. PageID #: 211910

                                         Page 109                                         Page 110
      1    Chain supported you?                         1         Q. Did those two independent
      2         A. Mm-hmm.                              2   processes work together in a synergistic
      3         Q. What was the nature of their         3   fashion?
      4    relationship with Actavis?                   4         A. No. They were completely
      5         A. So UPS Supply Chain, so I'm          5   independent.
      6    speaking pre -- pre-Watson. UPS Supply       6         Q. Okay. So -- so let's just
      7    Chain was a third party distribution.        7   walk me through this.
      8         Q. Okay. And did they handle            8             Say a distributor places an
      9    both branded and generic drugs?              9   order for a controlled substance. Who
     10         A. That's correct.                     10   fills that order?
     11         Q. And did they handle any             11         A. Well, the word "fills," to
     12    aspect of your suspicious order             12   me, I would define that as -- when I hear
     13    monitoring program at any point during      13   fill, it means supply and ship, right?
     14    your time at Actavis?                       14   So --
     15         A. I want to be careful how I          15         Q. Who provides the drugs?
     16    answer that, based on the way you phrased   16         A. Okay. Provides the drugs to
     17    the question. You had asked me if they      17   me sounds the same.
     18    handled any part of our suspicious order    18         Q. Who manufactures the drug?
     19    monitoring. So to answer it that way, I     19         A. Manufactures would be
     20    would say no.                               20   Actavis.
     21            They did what was their own         21         Q. Okay. And when the -- when
     22    suspicious order monitoring process. We     22   the distributor places an order, do they
     23    had two independent processes that went     23   place the order with Actavis directly?
     24    over on top of one another.                 24         A. That's correct.

                                         Page 111                                         Page 112
      1         Q. So do they place an order            1        Q. To -- as you say to your
      2    with UPS?                                    2   process?
      3         A. No, they don't. The --               3        A. And it went through our
      4         Q. Okay. So --                          4   process like it -- like anything else
      5         A. There is only one exception          5   normally would.
      6    to that.                                     6        Q. So does that apply to both
      7         Q. Okay. What's the exception?          7   branded and generic pharmaceuticals?
      8         A. Because of the logistical            8        A. The process -- first of all,
      9    piece, they never placed the order with      9   we weren't really a very big branded
     10    UPS. But the 222 forms were, because the    10   company, I think, in terms of our
     11    hard copies needed to be in their           11   products. But the answer would be yes.
     12    possession as the distribution arm, the     12        Q. Okay. And so, when you say
     13    hard copies were sent there, and what       13   "do our process," what does "our process"
     14    they would do is they would send us a       14   entail?
     15    photocopy so that we could do our process   15        A. Our process is everything
     16    on the other end, but the original          16   that we spoke of earlier. So we would
     17    documents had to be within their hands.     17   take that order from start to finish.
     18             So, you know, I don't like         18   You know, even outside of suspicious
     19    to describe it as they placed the order     19   orders, we would validate all the normal
     20    with UPS, but they mailed the 222           20   things that you would with an order. Is
     21    document to UPS, if that makes sense.       21   this customer valid? Is it someone that
     22         Q. And UPS would transmit that         22   has open credit terms? You know, where
     23    document to you?                            23   are we shipping? What are we shipping?
     24         A. Yes.                                24   Are the prices matching? Everything,


                                                                28 (Pages 109 to 112)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 29 of 97. PageID #: 211911

                                        Page 113                                          Page 114
      1    including -- up to including the SOM         1   the other order validation checks that it
      2    process.                                     2   had to go through, all of those would
      3         Q. So that order would be               3   take place upfront. And UPS wouldn't
      4    passed through the SOM process -- the        4   have visibility or any access to the
      5    SOMs process?                                5   order unless it passed those criteria.
      6         A. Yes.                                 6   Then it would go to UPS.
      7         Q. At what point does UPS get           7        Q. And you said that UPS had a
      8    notification of the order?                   8   SOMs program as well.
      9         A. So if an order advances from         9        A. Correct. Mm-hmm.
     10    our, Actavis's, system, then UPS will       10        Q. So would UPS then run that
     11    gain access to it. If it were on hold --    11   order through its own program?
     12         Q. At that point -- let me             12        A. Yeah. So 100 percent of the
     13    [just -- at that point in time, has it      13   same orders that we were evaluating on
     14    already -- has the order already gone       14   our end would then transmit through UPS
     15    through your SOM system?                    15   and then they would run through their
     16         A. It would have to before UPS         16   mathematical algorithms and their
     17    would ever get their hands on it.           17   calculations.
     18         Q. Okay.                               18        Q. And were there algorithms
     19         A. Yeah.                               19   and calculations different than used at
     20         Q. So then I'm sorry.                  20   Actavis?
     21    Continue. So then after the order has       21        A. Yes. They were proprietary
     22    gone through the SOM system and you are     22   and they were definitely different than
     23    transmitting it to UPS.                     23   Actavis's.
     24         A. The SOM system, and any of          24        Q. And did the UPS system ever

                                        Page 115                                          Page 116
      1    generate any -- we'll call them orders of    1   decision, UPS would do the same thing.
      2    interest?                                    2            Now, they would have to come
      3         A. Yes.                                 3   back to us for that justification. And
      4         Q. Okay. Would you mind --              4   they would push on us, just like we would
      5    please explain what an order of interest     5   push on our own internal teams. You
      6    is.                                          6   know, nothing went by without a good
      7         A. Yeah. So, I always like to           7   explanation. And they would hold the
      8    use that term, we use the term OI, orders    8   order just like we would.
      9    of interest, as something that's being       9        Q. Do you recall if the UPS
     10    evaluated. When we refer to something as    10   SOMs system ever placed orders on -- ever
     11    a suspicious order, that means it was       11   pended any orders that -- did the UPS
     12    deemed suspicious. So an order of           12   system ever pend any orders that came
     13    interest, UPS could, much like an order     13   from Actavis?
     14    would pend on our system because it was     14        A. Oh, absolutely.
     15    an order of interest, the same thing        15        Q. Okay. Did the Actavis
     16    could happen at UPS. And they had their     16   system -- do you recall if the Actavis
     17    set of processes that they would run        17   system also pended those same orders?
     18    through.                                    18        A. That's a great question.
     19             And much like my team,             19   Because our -- because our two systems
     20    customer service, would have to do their    20   were not running on the exact set of
     21    due diligence and review purchases,         21   criteria and formulas behind the scenes,
     22    sales, you know, understand, you know,      22   you would have to imagine, and it was
     23    market conditions or whatever might be      23   true, that we would have orders pend that
     24    driving that to make an informed            24   they didn't and just the same. Sometimes


                                                                29 (Pages 113 to 116)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 30 of 97. PageID #: 211912

                                         Page 117                                         Page 118
      1    they would have an order pend that we        1    Per4ma is?
      2    didn't. And on many occasions we would       2         A. So every company, I have to
      3    both have the same order pend.               3    imagine, in one way, shape or form, sets
      4              So it was not a mirror of          4    out to manage the performance of their
      5    one another.                                 5    employees. So you start out with a
      6         Q. Okay. We'll probably come            6    certain, you know, expectations of your
      7    back to that later. UPS, we'll come back     7    employees and maybe you refer to them as
      8    to that later.                               8    goals and objectives. You know, what are
      9         A. Good.                                9    you looking to accomplish in a given
     10         Q. I'd like to move on to Tab          10    year. And how did you achieve and what
     11    58 which, I believe, is Exhibit Number 4.   11    were the results as compared to that.
     12              (Document marked for              12    You know --
     13         identification as Exhibit              13         Q. So was this an annual
     14         Baran-4)                               14    review --
     15    BY MS. ANTULLIS:                            15         A. It was an annual --
     16         Q. I will only be asking you           16         Q. -- that you -- that you did
     17    questions about particular points in        17    of yourself?
     18    here. I'll represent to you that this       18         A. Yeah, so you would evaluate
     19    was part of your personnel file that was    19    yourself, and then your manager would
     20    produced to us in this case last week.      20    evaluate you on top of that.
     21         A. Okay.                               21         Q. Do you recall if you did
     22         Q. This particular document            22    similar self-evaluations when -- after
     23    contains what are called Actavis Per4ma.    23    the Watson acquisitions?
     24    Would you mind explaining to me what a      24         A. Yes. I'm pretty sure I

                                         Page 119                                         Page 120
      1    should have had one most, if not all,        1   worked very hard throughout the year.
      2    years.                                       2   And you want your performance review to
      3         Q. Do you know what they would          3   accurately reflect that, so I typically
      4    have been called at that time?               4   put a lot of time into it, which is why
      5         A. There was always different           5   this probably feels pretty heavy.
      6    terminology. Pro4mas, Per4mas. I don't       6        Q. This is also several years.
      7    recall the name now.                         7        A. Oh, it is. Okay.
      8         Q. Do you recall completing             8        Q. So let's first turn to --
      9    one, something similar while you were --     9   and at the bottom -- I'm sorry, I haven't
     10    after the -- after the Teva acquisition?    10   been reading Bates numbers. At the
     11         A. I don't -- after the Teva           11   bottom it is ALLERGAN_MDL_SUPP_00001425.
     12    acquisition? Based on the time they         12   So it's towards the back of the document.
     13    happened, I don't know. I don't think       13        A. Would you repeat the last
     14    so.                                         14   digits.
     15         Q. Other than your last year           15        Q. 1425.
     16    then at Teva, do you recall completing      16        A. 25. Okay.
     17    one of these every year for your            17        Q. Do you recognize this
     18    employment at Actavis?                      18   document?
     19         A. Every year as far as I'm            19        A. Certainly recognize the look
     20    aware, because it's not like we had a       20   of it, yes.
     21    choice. It was one of those chores, you     21        Q. On the following page, 1426,
     22    know, you had to do it. Very tedious and    22   on the bottom right-hand corner, there's
     23    time consuming. And I'd put a lot of        23   a signature there.
     24    effort into mine because let's face it, I   24        A. Yeah.



                                                                 30 (Pages 117 to 120)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 31 of 97. PageID #: 211913

                                        Page 121                                         Page 122
       1          Q. Is that your signature?           1   referring to, based on my recollection, I
       2          A. Yes, it is.                       2   believe what the issue was at the time
       3          Q. If we go to 1431. So in the       3   was over-the-counter products, which were
       4    block in the middle on that page, there    4   not controlled drugs, were somehow
       5    is a title. It says, "Efficiency." And     5   polluting the report and just making it
       6    then there are comments that follow.       6   busy and more to sift through. So it
       7               Who -- who wrote the text       7   didn't impact the end result. But it
       8    that starts with "consistently             8   was -- it was clutter and it just made
       9    identifying opportunities"? Was that       9   our job more difficult. So -- from what
      10    you?                                      10   I recall, we -- we worked with IT to have
      11          A. If you don't mind, can I         11   that removed. And they were not even
      12    take a minute to read?                    12   related to controlled drugs.
      13          Q. Yeah. Read that paragraph.       13        Q. So when you -- let's go back
      14          A. Okay. So I'm with you now.       14   to this, this report, the suspicious
      15          Q. So my question to you is         15   order report that you talked about, that
      16    just regarding the second sentence. It    16   we discussed earlier. Was that a report
      17    says you reviewed a DEA suspicious        17   that spanned all drug classes?
      18    activity. And this was in the year 2008   18        A. The way the report was
      19    Per4ma, correct?                          19   designed was, the intent was for
      20          A. Correct.                         20   controlled drugs only.
      21          Q. What did you do to report --     21        Q. So was that then just a
      22    to improve the reporting of DEA           22   hiccup in the system?
      23    suspicious activity in -- in 2008?        23        A. From what I recall --
      24          A. Okay. So, what this is           24             MR. LUXTON: Objection to

                                        Page 123                                         Page 124
       1        form.                                  1        microphone up just a -- a few more
       2             THE WITNESS: Can I answer?        2        inches up?
       3        Okay. Can I answer? Okay. I            3            THE WITNESS: Sure.
       4        don't get that whole process, so       4            THE VIDEOGRAPHER: Thank
       5        tell me when I --                      5        you.
       6             MS. LEVY: You can -- you          6            THE WITNESS: From what I
       7        can answer every question unless       7        recall --
       8        we instruct you not to answer.         8            MS. LEVY: Hold on. Let her
       9        But just because the woman to your     9        rephrase the question for you.
      10        right is typing down all of the       10            THE WITNESS: Yeah.
      11        things that are being said --         11   BY MS. ANTULLIS:
      12             THE WITNESS: Okay.               12        Q. So you -- you stated that
      13             MS. LEVY: -- you just have       13   over-the-counter products were displaying
      14        to wait for us to say the             14   on the suspicious order reports that you
      15        objection, pause for a minute, and    15   were getting throughout the day --
      16        then give your answer.                16   throughout the day at that point in time,
      17             THE WITNESS: Very good.          17   correct?
      18        Thank you.                            18        A. From what I recall, I
      19             MS. LEVY: So you may             19   believe that was the case. I believe
      20        answer.                               20   that was something that needed to be
      21             THE WITNESS: And I forgot        21   removed. It was an error in what was
      22        what the question was, so...          22   coming through, based on the product
      23             THE VIDEOGRAPHER: Can            23   classification.
      24        you -- can you raise your             24        Q. Okay. So the system was


                                                               31 (Pages 121 to 124)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 32 of 97. PageID #: 211914

                                         Page 125                                          Page 126
      1    then designed to, is it -- the system was     1   "Develop customer service team."
      2    then designed to capture controlled           2             Read the first full
      3    substances only, correct?                     3   paragraph.
      4         A. Yes. Based on all product             4         A. Okay. Okay. So I read the
      5    types, had a product classification, and      5   first paragraph.
      6    that drove what was included on the           6         Q. Okay. So it says, the
      7    report.                                       7   second sentence starts, "Additionally
      8         Q. All right. So now, we're              8   Nancy has engaged the group with cross
      9    going to go to -- we're going to go to        9   training with other departments."
     10    document -- the section of the document      10             Do you see that?
     11    starting at ALLERGAN_MDL_1420, which is a    11         A. Yes.
     12    few pages in front of where we were.         12         Q. And it says, "It includes
     13             So, do you recognize this?          13   several departments including but not
     14         A. So far. The format looks             14   limited to sales and marketing, medical
     15    familiar, yeah.                              15   affairs, regulatory compliance,"
     16         Q. On the bottom of Page 1421           16   parentheses says "recall, SOP and finance
     17    there's a signature there. It says Nancy     17   covering AR credit and collections,
     18    Baran?                                       18   deductions" --
     19         A. Yeah.                                19             MR. DEARMAN: Slow it down a
     20         Q. Is that your signature?              20        little bit.
     21         A. Yes, it is.                          21             MS. ANTULLIS: I told you I
     22         Q. Okay. So look at                     22         speak too fast.
     23    Objective 2, the box on 1421. There's a      23   BY MS. ANTULLIS:
     24    large box here. And it says Objective 2,     24         Q. -- "deductions, returns,

                                         Page 127                                          Page 128
       1    chargebacks, rebates and Medicaid."          1        A. Yes.
       2             Is that correct?                    2        Q. -- can you explain from a --
       3         A. That's correct.                      3   from a -- actually strike that.
       4         Q. So are these all separate            4            Did any of the cross
       5    departments within Actavis?                  5   training include suspicious order
       6         A. They are all separate                6   monitoring training?
       7    departments.                                 7        A. So this is really pertaining
       8         Q. Okay. So there is a medical          8   to something completely outside of
       9    affairs department?                          9   suspicious order monitoring. This was
      10         A. I mean some of them may be          10   really an intention to take a group that
      11    combined. Like chargebacks, rebates,        11   is tasked with making sure we're meeting
      12    they -- they may fall in -- in one group,   12   customer needs, following corporate
      13    but they are different processes, so...     13   guidelines and objectives and policies
      14         Q. So what group would                 14   and procedures, and putting all that
      15    chargebacks and rebates -- chargebacks      15   together and making sure both interests
      16    and rebates fall into?                      16   are properly met. And it's very
      17         A. I don't recall the exact            17   difficult to do that when you're dealing
      18    structure at that time. It was under        18   with multiple cross-functional areas when
      19    finance somewhere.                          19   you don't really have an appreciation for
      20         Q. Okay. And then you -- so it         20   what they do.
      21    says then that you, you engaged a group     21            So the only intent of this
      22    in cross training, correct?                 22   program, and the word cross training, I
      23         A. Mm-hmm.                             23   don't want you to be confused or misled.
      24         Q. So --                               24   You know, when you hear training, you


                                                                 32 (Pages 125 to 128)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 33 of 97. PageID #: 211915

                                         Page 129                                          Page 130
      1    think I'm going to be trained so I can do     1   meet and greet. Sit and talk and -- and
      2    a job and I can be an expert. That's not      2   chat. Yeah.
      3    what this was.                                3         Q. So, can you please explain
      4             Look at it more as creating          4   what a chargeback is?
      5    an awareness, you know, what do some of       5         A. So that's not my area of
      6    these teams do. What are their main           6   expertise, but I'll -- and I've never
      7    objectives. What's their purpose. What        7   managed chargebacks.
      8    are some of their challenges. And the         8         Q. Well, can you --
      9    reason for that is so that we could           9         A. But I can --
     10    understand one another better, so that we    10         Q. -- to the best of your
     11    could operate more as a collective team.     11   understanding --
     12             You know, you need support          12         A. To the best of my
     13    on a return. There's information I may       13   understanding, what I can explain to you,
     14    have that can help you. It just made for     14   because that's something that is very far
     15    better working relationships and             15   removed from -- from my knowledge. But a
     16    partnership across teams. But it -- it       16   chargeback, you know, I believe we sell
     17    wasn't cross training like we never sat      17   to wholesalers at like a WAC price, and
     18    down and said show me how to process a       18   then if customers buy through them at a
     19    chargeback. It was really more of an         19   contracted price that I think we've
     20    awareness.                                   20   agreed upon, I think there's chargebacks
     21         Q. Are there any written                21   that are processed. That's -- that's as
     22    materials that were produced as part of      22   much as I can tell you because that never
     23    this?                                        23   fell in the scope of -- of what I
     24         A. No. It was really just like          24   managed, so...

                                         Page 131                                          Page 132
       1         Q. Okay. Can you tell me,               1   within Actavis?
       2    did -- did the various departments at        2        A. For any teams that touched
       3    Actavis ever receive suspicious order        3   the process, which would not be every
       4    monitoring training that you were aware      4   area of the company.
       5    of?                                          5        Q. Okay. So what teams would
       6         A. The various departments. So          6   touch the process?
       7    when we say various departments,             7        A. You know, teams that we
       8    that's -- there's -- there's many            8   relied on for support in terms of I --
       9    departments.                                 9   you know, IT was aware of, you know, what
      10         Q. What's -- let me -- let me          10   we were doing.
      11    rephrase the question.                      11            I mean, and the training was
      12         A. And I don't think I'd be in         12   at different -- deeper dive with -- with
      13    a position to speak to what training they   13   some areas than others, but --
      14    had.                                        14        Q. Did you ever organize the
      15              MS. LEVY: Let her finish          15   training with the sales and marketing
      16         before you --                          16   department?
      17              MS. ANTULLIS: Sorry.              17        A. No. No. There was no
      18    BY MS. ANTULLIS:                            18   training for them. They just had to give
      19         Q. I'm -- I'm just going to            19   us answers when we demanded them.
      20    rephrase the question for you, because      20        Q. Okay. And by -- so I'm
      21    that was -- that was broad and              21   using -- by sales and marketing in this
      22    open-ended.                                 22   context, are you -- are you understanding
      23              Did you ever organize a           23   me to mean the -- the salespeople
      24    suspicious order monitoring training        24   themselves, the sales, the people who


                                                                 33 (Pages 129 to 132)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 34 of 97. PageID #: 211916

                                         Page 133                                         Page 134
      1    handle the -- the selling and marketing      1        Q. Sales. So did you ever
      2    of the drug directly?                        2   organize suspicious order monitoring
      3         A. When you say sales, that's           3   program for the sales team?
      4    what I think of, yeah.                       4        A. I did not.
      5         Q. The customer service                 5        Q. A training program?
      6    department at Actavis, did it fall under     6        A. Yeah, I did not. But I
      7    a larger umbrella group?                     7   can't say for sure what they would
      8         A. Yes, it did.                         8   have -- if anything. You know, I can't
      9         Q. And what was the name of             9   say that. I did not, no.
     10    that group?                                 10        Q. And -- and the marketing,
     11         A. Sales and marketing.                11   the people who did, you know, marketing,
     12         Q. Okay. So within the sales           12   what department did they fall under?
     13    and marketing organization, the customer    13        A. They fell -- they were in
     14    service department was a -- its own         14   their own separate umbrella under sales
     15    subentity, correct?                         15   and marketing blanket, yeah.
     16         A. That's correct.                     16        Q. Did you ever design or give
     17         Q. The salespeople, did the            17   a suspicious order monitoring training to
     18    salespeople fall into a separate entity,    18   people in the marketing, the
     19    a separate subgroup under the same          19   sales/marketing section -- group?
     20    umbrella?                                   20        A. I don't like to refer to it
     21         A. Yes.                                21   as training necessarily. But they were
     22         Q. And what was the name of            22   actively engaged. They were part of the
     23    that?                                       23   project team in terms of guidance and,
     24         A. Sales.                              24   you know, they played an active role at

                                         Page 135                                         Page 136
      1    reviewing and evaluating data, customer      1         Q. Do you know if -- do you
      2    data.                                        2   know if anyone ever instructed them, ever
      3         Q. So who -- were the -- to             3   transmitted to them any -- do you know
      4    your knowledge, were the sales or            4   if -- do you remember the guidance that
      5    marketing groups aware of -- made aware      5   you told me about earlier that you
      6    of the requirements of the Actavis           6   followed when you were evaluating a
      7    suspicious order monitoring program?         7   suspicious order? Do you know if that
      8             MR. LUXTON: Objection to            8   guidance was ever transmitted to anybody
      9         form.                                   9   in the sales and marketing department's
     10    BY MS. ANTULLIS:                            10   teams?
     11         Q. You can answer.                     11         A. The guidance -- can you
     12         A. Okay. Thank you. I mean,            12   define guidance, what do you mean? Which
     13    they certainly were aware of I because if   13   part of our conversation?
     14    something went on hold, they were           14         Q. I'm referring to the
     15    impacted because their order wasn't         15   guidance, that you -- you called it
     16    shipping and they had to partner with us    16   guidance earlier. You said when the
     17    to get us the information we needed.        17   reports were generated from the QAD
     18    They were aware of it. You know, not to     18   system, in evaluating the reports to
     19    the extent of, you know, what steps did     19   determine whether an order was suspicious
     20    we take on every order, not at that level   20   or not --
     21    of detail. But they were certainly aware    21         A. Yeah.
     22    of what the, you know, regulation was,      22         Q. -- you had guidance. You
     23    and what our obligation was as a            23   had received some sort of guidance as to
     24    manufacturer.                               24   what criteria would be used to


                                                                34 (Pages 133 to 136)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 35 of 97. PageID #: 211917

                                         Page 137                                        Page 138
      1    determine --                                 1   customer --
      2         A. Oh, okay. Thank you.                 2           MR. LUXTON: Wait for the
      3         Q. To determine whether that            3        question.
      4    order was suspicious or not.                 4   BY MS. ANTULLIS:
      5             So I'm asking if you know           5        Q. So would -- were the
      6    whether that guidance was ever               6   requirement -- were the criteria that you
      7    transmitted to anybody in the sales or       7   used to evaluate a suspicious order a
      8    marketing department?                        8   suspicious order contained -- were they
      9         A. I am not aware that it ever          9   kept away from the sales and marketing
     10    would have been. And I don't know why it    10   departments?
     11    would have been, if that ever did take      11        A. To the best of my knowledge,
     12    place. But I'm not aware of it, no.         12   yes. Yeah.
     13         Q. Who -- did you ever                 13        Q. And was that a deliberate
     14    interact --                                 14   choice?
     15         A. It's kind of like giving            15        A. Yeah. I mean, I don't -- I
     16    your secrets. You know, you don't want      16   don't know why they would need it.
     17    to show too many cards. So I don't          17        Q. Okay. Did you ever interact
     18    believe we would have told them what our    18   with people in the sales and marketing
     19    system is looking for. From a sales         19   groups?
     20    standpoint, they don't need to know. I      20        A. Yes, I did.
     21    don't know.                                 21        Q. Okay. Do you remember some
     22         Q. Okay. You used -- you used          22   of the people that you interacted with,
     23    the words "secrets." So I'm just --         23   their names?
     24         A. Well, it's just like a              24        A. Yes. Because it was very

                                         Page 139                                        Page 140
      1    limited. If I remember correctly, we         1   detect a suspicious order?
      2    only had five salespeople. So I could        2        A. Rachelle was instrumental
      3    try to remember some names if you'd like.    3   and very active in what the regulation
      4         Q. Yes. Who were some of the            4   requirements were, what our processes
      5    name of the salespeople?                     5   were, and she was an instrumental part in
      6         A. Michael Dorsey. Thad Demos.          6   helping us bring us to the next level.
      7    Lisa Pehlke, Steve Cohen, and Michael        7   And, you know, we can talk about that
      8    Berryman. I think that covers everybody.     8   when the time is right, in terms of all
      9         Q. Did you ever work with a             9   of our efforts that we did.
     10    woman named Rachelle Galant?                10        Q. Would Rachelle have trained
     11         A. Yes. Rachelle.                      11   the people -- was Rachelle a supervisor
     12         Q. Rachelle. I'm sorry?                12   in the marketing department?
     13         A. Very closely.                       13        A. I would not categorize her
     14         Q. What department or team did         14   as such.
     15    Rachelle Galant work for?                   15        Q. What was her -- what was her
     16         A. Rachelle is in marketing.           16   job title?
     17         Q. Okay. And when you say              17        A. I don't recall her exact --
     18    marketing, are you referring to the         18   it could be product manager, but I
     19    marketing group or are you referring to     19   don't -- I don't recall her exact title.
     20    the sales and marketing umbrella?           20        Q. Did she manage any
     21         A. She was in marketing.               21   employees?
     22         Q. Marketing group. Okay.              22        A. I can't say with certainty.
     23    That's all I have on that right now. Was    23   Maybe not initially, but she may have had
     24    Rachelle Galant ever trained in how to      24   like a junior marketing analyst report to


                                                                35 (Pages 137 to 140)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 36 of 97. PageID #: 211918

                                          Page 141                                         Page 142
      1    her at some period.                           1   launch another initiative called
      2         Q. Was Rachelle Galant ever              2   ValueTrak. And it was a reporting
      3    tasked with writing a standard operating      3   mechanism that we would -- we would pay
      4    procedure for suspicious order                4   for to help slice and dice our data, the
      5    monitoring?                                   5   best way to describe it. And it's been
      6         A. Not for suspicious order              6   so long. I forget the codes. But let's
      7    monitoring. Well, no, I take that back.       7   just say EDI transaction on an 0867. I
      8             Yes, she partnered on the            8   don't remember the numbers. But data in,
      9    indirect side. We had two parts of our        9   data out. And looking at those indirect
     10    process. And she was heavily involved in     10   sales at the wholesaler level.
     11    helping draft and write these indirect       11            So because she was working
     12    policies and procedures.                     12   on that project, she was definitely the
     13         Q. Do you know about when that          13   right person to help us on the initiative
     14    happened, when she wrote those               14   of the suspicious order side. But her
     15    procedures?                                  15   initiative was really in the second part
     16         A. Somewhere later in 2011.             16   of our project, which was the indirect
     17         Q. Do you know -- do you                17   piece, versus the direct sales to our
     18    happen --                                    18   wholesalers and distributors.
     19         A. Early 2012.                          19        Q. Do you -- why was Rachelle
     20         Q. -- to know why -- sorry.             20   Galant looking at sales to wholesaler
     21             Do you happen to know why           21   customers, as part of her job function,
     22    Rachelle Galant was given that task?         22   if you know?
     23         A. So Rachelle was instrumental         23        A. As part of her job function,
     24    from a marketing standpoint in helping       24   I almost feel like we want to ask her

                                          Page 143                                         Page 144
       1    that in terms of the marketing role. But     1   percentage a percentage of?
       2    if I can -- how would I describe -- I        2        A. Well, our bonus had -- which
       3    would have to defer her job description      3   I don't believe is uncommon -- was really
       4    in answering that, to her. Because I         4   two components of it. It was based on
       5    think I would probably just mess it up.      5   individual performance and company
       6          Q. So let's move on. Back to           6   performance.
       7    Exhibit -- what was it? Four. Yep.           7            So let's just say the
       8    Exhibit 4.                                   8   company had a really poor year, you most
       9              If you go to Page 1397.            9   likely weren't going to be entitled to
      10    It's about the fourth page in. This         10   100 percent of your bonus. You may have
      11    appears to be a compensation statement      11   60 or 70 percent of your bonus.
      12    for you, Nancy Baran, in 2011 fiscal        12            On the flip side, if the
      13    year; is that correct?                      13   company did really well, you could
      14          A. Yes.                               14   potentially get 125 percent of your
      15          Q. Does this reflect your             15   bonus. So there is really two components
      16    understanding of your base salary at that   16   to our performance plan.
      17    time?                                       17        Q. So was any portion of your
      18          A. Yes.                               18   bonus related to your job performance?
      19          Q. Okay. Under -- under --            19        A. Yes.
      20    there's a subtitle here that says bonus     20        Q. And what were the criteria
      21    information. It says, "Target bonus         21   for determining whether or not you had
      22    percentage, target bonus award."            22   excelled in your job performance
      23          A. Okay.                              23   sufficient enough to warrant a bonus?
      24          Q. What is the target bonus           24        A. Meeting your goals and


                                                                 36 (Pages 141 to 144)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 37 of 97. PageID #: 211919

                                        Page 145                                          Page 146
      1    objectives and general -- you know,          1             MS. ANTULLIS: Yes.
      2    general performance, coming in, doing        2             THE WITNESS: Did I
      3    your job, showing up, having a good          3        misunderstand?
      4    attitude, all those other things that        4             MS. LEVY: No, you said
      5    come along with being a good employee.       5        "yes, no." I think we all sitting
      6         Q. And was any part of your             6        in the room know what you mean.
      7    bonus related to meeting targets for         7             MR. LUXTON: You can just
      8    sales of drugs?                              8        say "correct."
      9         A. No.                                  9             THE WITNESS: Maybe I --
     10         Q. Was any part of your bonus          10        maybe I can just --
     11    tied to revenue?                            11             MS. LEVY: Well, let -- let
     12         A. Other than the company. The         12        her ask it again.
     13    company component of it, I would have to    13   BY MS. ANTULLIS:
     14    say yes, because, yeah, the company         14        Q. Is it correct to say that
     15    component is tied to revenue, right?        15   your -- your bonus was not based on
     16         Q. But no -- but is it correct         16   revenue that was generated -- that you
     17    to say that no -- that your bonus was not   17   generated through your job function?
     18    based on revenue specific to your job       18        A. It is correct my bonus was
     19    function?                                   19   not tied to revenue, yeah.
     20         A. Yeah, no.                           20             MS. LEVY: Thank you.
     21              MS. LEVY: Can we clarify          21             THE WITNESS: I've got to
     22         the record? Because I think            22        listen more carefully. I'm sorry.
     23         it's -- will you ask the question      23             MS. LEVY: Both of you
     24         again?                                 24        should be careful of not to talk

                                        Page 147                                          Page 148
       1         over each other for the clarity of     1   tracking our -- our sales. I mean,
       2         our record.                            2   that -- that was I believe -- like I -- I
       3             MS. ANTULLIS: Sorry.               3   didn't really -- I wasn't part of like
       4    BY MS. ANTULLIS:                            4   looking at daily sales and where we are
       5         Q. All right. So you mentioned         5   to our goals and all that. It really
       6    ValueTrak a few minutes ago. Are you        6   didn't fall in what I cared about in my
       7    familiar with that system?                  7   role. I don't believe that ValueTrak had
       8         A. I couldn't speak much to it,        8   any role in that. And as a matter of
       9    no.                                         9   fact, I don't believe it could have,
      10         Q. Okay. Did you ever use --          10   because it was one of those things, they
      11    did you ever use that system as part of    11   were adding on later and we would have
      12    your job in customer service?              12   always had something to track sales. So
      13         A. No. I've seen it. I've             13   that would have to answer my question.
      14    seen demos. But no, I would not have       14        Q. So are you aware of any
      15    been a user.                               15   other system that Actavis used to track
      16         Q. And was that the system that       16   the sales of prescription drugs while you
      17    Actavis used to keep track of its sales    17   were there?
      18    of prescription drugs?                     18        A. Not that I'm aware of. I
      19         A. No.                                19   don't know.
      20         Q. What did ValueTrak track?          20        Q. Do you know if Actavis has a
      21         A. I'm not even -- I'm not even       21   record of every order filled?
      22    sure to what extent ValueTrak was          22        A. Sure. I don't know why they
      23    implemented, because then we were          23   wouldn't. Yeah.
      24    acquired. I think -- so it wasn't          24        Q. Do you -- do you know where


                                                                37 (Pages 145 to 148)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 38 of 97. PageID #: 211920

                                         Page 149                                         Page 150
      1    that record would be maintained?             1   noncontrolled drug that is causing a lot
      2         A. Electronically.                      2   of pain with customers in the market
      3         Q. Do you know if Actavis               3   and -- and customers are highly
      4    tracks inventory?                            4   inconvenienced, patients, because they
      5         A. Yes.                                 5   can't access the drug. So we were the
      6         Q. And does it use a -- a               6   voice of the customer, and we would --
      7    system to do that, did it use a system to    7   like sometimes it was like the one who
      8    do that while you were there?                8   screamed the loudest. Like, hey, we need
      9         A. Yes. What those systems              9   you guys to shift your -- your
     10    were from a supply chain side, I don't      10   priorities, because this one is killing
     11    know, it may have been QAD as well.         11   us. You know, so we would communicate
     12         Q. Did customer service play           12   about customer needs.
     13    any role in maintaining supply?             13        Q. Okay.
     14         A. I would say yes to that.            14        A. But to that extent, like we
     15         Q. What role did customer              15   didn't drive, you know, what their plans
     16    service play in maintaining supply?         16   should be, you know.
     17         A. We were the -- we were the          17        Q. You -- you've used the term
     18    ones that communicated when we were -- I    18   customers, customer department, customer
     19    mean, they could see on the supply chain    19   service, you've used the word customers a
     20    side when we were out of stock, right.      20   lot throughout the deposition so far. So
     21    But we were the ones communicating with     21   I just want to clarify for the record
     22    customers on a daily basis. And this has    22   what you mean when you say customers.
     23    nothing to do with controlled drugs.        23            What do you mean when you
     24    This is across all drugs. You may have a    24   use the term "customers"?

                                         Page 151                                         Page 152
      1         A. Well, in my role, customer           1   transactional data with them. But they
      2    means many things. But if you had to put     2   are customers, because they are
      3    them in order of importance, the customer    3   purchasing our product, yes.
      4    is the patient.                              4        Q. Are prescribers customers?
      5         Q. Okay.                                5        A. Because I've never had any
      6         A. But customer to me I would           6   involvement with prescribers, I've never
      7    break it into two categories. Our            7   really thought about that. But sure, if
      8    internal customers, those and other          8   prescribers are using -- are prescribing
      9    departments surrounding us in the            9   our product, I guess you can consider
     10    company, that we also support in many       10   them customers. They've never been a
     11    ways.                                       11   customer in my focus though, so I never
     12             But the customer can be a          12   really thought about -- thought about
     13    wholesaler. They can be a distributor, a    13   prescribers.
     14    retail chain. But ultimately the            14        Q. Was maintaining strong
     15    customer that every single one of us in     15   customer relationships a part of your job
     16    the supply chain is supporting is the       16   function?
     17    patient.                                    17        A. Yes.
     18         Q. So the patient then, is a           18        Q. And what customer
     19    customer; is that correct?                  19   relationships did you maintain, what --
     20         A. Absolutely.                         20   with which customers did you maintain
     21         Q. Are wholesalers customers?          21   relationships?
     22         A. Yes.                                22        A. Wholesalers, distributors,
     23         Q. Are pharmacies customers?           23   retail chains. In some aspects we would
     24         A. Not directly that we do             24   deal with pharmacies, maybe they called,


                                                                38 (Pages 149 to 152)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 39 of 97. PageID #: 211921

                                         Page 153                                        Page 154
      1   they had a question on ingredients.           1        A. Okay.
      2   Maybe you had a customer call and cry on      2        Q. So the e-mail starts with a
      3   the phone because they couldn't get           3   woman named Maria Sakach, February 8,
      4   access to a certain drug. Or they             4   2012. And it says it's a comment or
      5   couldn't afford a certain drug, and we        5   query. "Hello, I'm a pharmacist with
      6   would point them to certain programs that     6   Publix in South Florida. We order our
      7   might be able to help them.                   7   medications primarily from McKesson, and
      8             So, you know, our service           8   one of the medications we order is the
      9   spanned across all those groups.              9   Actavis brand of Oxycodone. Recently we
     10         Q. Okay. I'm going to                  10   have been unable to order any of this
     11   introduce a document into the record that    11   medication because McKesson has stated
     12   I'd like to ask you about. It's Tab 20.      12   that the manufacturer is limiting the
     13   It may take him some time to do that.        13   amount that it is sending them."
     14             (Document marked for               14        A. Okay.
     15         identification as Exhibit              15        Q. So is this the kind of
     16         Baran-5.)                              16   contact then that you -- that you were
     17   BY MS. ANTULLIS:                             17   referring to from pharmacies asking about
     18         Q. This is Exhibit Number 5.           18   supplier materials?
     19   It's ALLERGAN_MDL_00478433 through 8435.     19        A. Something like this would
     20             Sorry about that.                  20   happen. And that would happen from the
     21         A. Thank you.                          21   patient too.
     22         Q. So the e-mail -- this begins        22        Q. Okay. So who did -- what is
     23   on the bottom of Page 2. It's an e-mail      23   InfoUS? This says it's from -- there's a
     24   chain.                                       24   from line and a to line. And the to line

                                         Page 155                                        Page 156
      1    says InfoUS. Can you tell me what that       1        Q. What department did David
      2    is?                                          2   Myers work with?
      3         A. I believe that was the               3        A. Marketing.
      4    e-mail identifier, which would be like       4        Q. Marketing. Okay. So --
      5    someone could go on the internet and hit,    5        A. He managed the website.
      6    ask me, contact me. It was the -- the        6        Q. So David, David Myers then
      7    general company access for someone that      7   sends this to yourself, Rachelle Galant,
      8    doesn't normally have communications with    8   and Jinping -- Jinping McCormick?
      9    us.                                          9        A. Correct.
     10             Like if I wanted to contact        10        Q. Am I saying that correctly?
     11    a random company, I would go on their       11        A. Yes.
     12    website and hit a button and that's where   12        Q. Okay. Says, "Are there any
     13    I would land.                               13   thoughts on how I should respond to the
     14         Q. Understood.                         14   e-mail below?"
     15         A. We didn't -- we didn't get a        15             Why would David Myers send
     16    tremendous amount of these so much. I       16   that to -- to you?
     17    mean you did, you had like product          17        A. If you don't mind can I take
     18    complaints. Like my pills have crushed      18   a moment to read the whole chain to see
     19    and, you know, that kind of stuff.          19   what this is?
     20         Q. Okay.                               20        Q. Go ahead. Actually, you
     21         A. So -- marketing managed the         21   know, we're going to get to -- I'll let
     22    inbox because they were responsible for     22   you read the first page when we get to
     23    the website, and they would triage          23   it.
     24    inquiries to appropriate groups.            24        A. Okay.


                                                                39 (Pages 153 to 156)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 40 of 97. PageID #: 211922

                                          Page 157                                        Page 158
       1        Q. So go ahead and read the              1             MS. LEVY: That's fine.
       2    e-mail --                                    2             MS. ANTULLIS: I want to put
       3        A. I'm just starting from the            3         that on the record.
       4    bottom --                                    4             MS. LEVY: Your objection to
       5             MS. LEVY: You can read the          5         my objection is noted.
       6        e-mail if you're going to get            6             THE WITNESS: Okay. I will
       7        asked questions about it.                7         be happy to comply. Just give me
       8             MS. ANTULLIS: I'm going to          8         one moment and I'll read this for
       9        let her read the whole e-mail, but       9         you.
      10        I want to go through it as we go.       10   BY MS. ANTULLIS:
      11    BY MS. ANTULLIS:                            11         Q. Hold on. The problem is
      12        Q. So you can read the bottom.          12   it's an improper instruction. So I will
      13        A. Okay.                                13   let you read it because you've asked me
      14        Q. Read the top. And answer my          14   to let you read the entire document. So
      15    question. And then we'll flip the page      15   I'm going to let you do that.
      16    and then you can read the first page.       16         A. Okay. I mean my goal is --
      17             MS. LEVY: So I'm going to          17         Q. Because you have asked, not
      18        instruct you to read the entire         18   because --
      19        document and then to answer             19         A. My goal is to just make sure
      20        questions. And not to answer            20   that I answer properly.
      21        questions prior to that.                21             Okay. I'm comfortable.
      22             MS. ANTULLIS: That's an            22   Thank you for your patience.
      23        improper objection. That's an           23         Q. So my question was, why
      24        improper instruction.                   24   would David Myers forward this e-mail to

                                          Page 159                                        Page 160
       1    you?                                         1   McCormick in?
       2          A. Because we represented the          2        A. Jinping was the head of
       3    customer and if we didn't -- first of        3   marketing. So Rachelle and David
       4    all, his job was not to answer inquiries.    4   reported to Jinping.
       5    His job was to pull them off the             5        Q. So it went to -- from a
       6    website --                                   6   marketing person to two marketing people
       7          Q. And why would he forward it         7   and then yourself; is that correct?
       8    to you?                                      8        A. Yeah.
       9              MS. LEVY: Hang on. Let her         9        Q. And if we turn the page.
      10          finish her answer. Please don't       10   Rachelle responds with a proposed --
      11          interrupt her.                        11   proposed response that the market share
      12              THE WITNESS: He was               12   appears to be experiencing a shortage of
      13          triaging them, and he would           13   oxycodone, correct?
      14          forward it to me because it's my      14        A. Yes.
      15          job to make sure a customer of any    15        Q. So then, your response
      16          shape and form is answered.           16   says -- in the first sentence, it says,
      17    BY MS. ANTULLIS:                            17   "We can't control nor do we know how
      18          Q. Okay.                              18   McKesson goes about allocating and
      19          A. It doesn't necessarily mean        19   shipping quantities of oxy." Correct?
      20    when he sends it to me that I've got all    20        A. That's correct.
      21    the answers. But it's my job to make        21        Q. Okay. So earlier, you said
      22    sure that I find out what the answers       22   that Rachelle Galant used a system called
      23    are.                                        23   ValueTrak to -- to -- to track the sales
      24          Q. What department is Jinping         24   of its -- of Actavis drugs to


                                                                 40 (Pages 157 to 160)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 41 of 97. PageID #: 211923

                                         Page 161                                         Page 162
      1    wholesalers' customers; is that correct?     1             The second one was
      2         A. Yes. To some extent.                 2   historical purchases.
      3         Q. Okay.                                3             And the third element was
      4         A. It was -- you know, go               4   comparing it to like customers. That was
      5    ahead.                                       5   the intent of that program.
      6         Q. So what did that system              6        Q. Okay. So what data was
      7    allow you to track?                          7   input into the ValueTrak system that
      8         A. So it looked at data down --         8   allowed it to track those three criteria?
      9    it really looked at three components.        9        A. I'm going to try to answer
     10    I'm just going to try to make sure I get    10   that question. But technically in the
     11    them correctly. The first one it looked     11   answers, like, I don't know codes and
     12    at was -- you know, is a customer           12   the -- it was the data coming backup from
     13    purchasing from multiple sources.           13   the wholesalers. And there's maybe
     14              So for example, it's very         14   quality 67 data. I don't -- I don't
     15    common for a pharmacy to have a primary     15   remember the numbers. But it was data
     16    wholesaler and a backup, right. Why         16   coming back from the wholesalers.
     17    wouldn't you? And sometimes maybe they      17        Q. Just before I forget to ask
     18    have three sources if they want to ensure   18   this. The second sentence, I believe it
     19    continuous supply.                          19   says, "We know customers throw us under
     20              But it would be very              20   the bus for not supplying."
     21    suspicious to us based on our categories    21        A. Oh, yeah.
     22    we set up for one pharmacy to have          22        Q. Who are you referring to
     23    multiple sources. So that was the first     23   when you use the word "customers" in that
     24    element.                                    24   statement?

                                         Page 163                                         Page 164
      1         A. In that specific statement,          1   That wasn't an issue. But they were
      2    when I use the word "customers" it's very    2   perhaps telling -- a pharmacy level was
      3    easy for me to answer. And not to throw      3   telling a customer, oh, there's no
      4    Walgreens under the bus, but I'll use        4   supply. We're out of stock, the
      5    them as an example just for purposes of      5   manufacturer is not, you know, giving us
      6    example.                                     6   enough, simply to make that go away.
      7              Let's face it. When you're         7            And what happened is then
      8    a -- and this is my opinion, and this        8   that puts those calls back on us. And we
      9    ties to what the e-mail is about. When       9   would look at what we're supplying.
     10    you're a Walgreens pharmacist, and you      10            And unless at this point in
     11    choose not to supply a patient walking in   11   time -- and I can't say today. This
     12    for whatever reason -- I don't know how     12   e-mail could have happened at one of two
     13    they make that determination. That's not    13   times. It could have happened when our
     14    my job. I have to imagine it's a lot        14   supply was good, or it could have
     15    more difficult because you have that        15   happened when we were in a market
     16    patient and customer in front of you.       16   shortage. You know, maybe another
     17              So regardless of whatever         17   manufacturer -- I'm just going to make
     18    criteria they use and what their policies   18   something up. Maybe there were four
     19    and procedures tell them to do, when they   19   players in the market, and someone jumped
     20    should supply and when they shouldn't, I    20   out so there were shortages. That could
     21    don't know. That's not for me to know.      21   be the case. Or the --
     22    But when they're telling a customer, they   22        Q. Can I just direct you to the
     23    aren't going to supply them, you know,      23   first e-mail --
     24    there would be times where we had supply.   24         A. Yeah.


                                                                41 (Pages 161 to 164)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 42 of 97. PageID #: 211924

                                          Page 165                                         Page 166
       1         Q. -- the first sentence of the         1   supplying, and for some reason they must
       2    e-mail that we just went through. Just       2   be choosing not to supply. And that's --
       3    go ahead and read it.                        3        Q. Okay. Thank you.
       4         A. I mean, that's exactly what          4        A. -- not for us to say. Yeah.
       5    I'm saying. I mean it's basically --         5        Q. Okay. So --
       6         Q. But in this situation --             6        A. I didn't want to get that
       7         A. -- they're saying they can't         7   wrong.
       8    supply --                                    8        Q. Sorry. So the indirect SOM
       9              MS. LEVY: You guys are             9   process implemented at Actavis, did that
      10         talking over each other. Try to        10   exist prior -- was there an indirect
      11         listen to her specific question        11   suspicious order monitoring program prior
      12         and then answer that question.         12   to 2011 at Actavis?
      13              THE WITNESS: Okay.                13        A. No. Not on the indirect
      14    BY MS. ANTULLIS:                            14   side.
      15         Q. All right. So in this               15        Q. Okay. Can you explain to me
      16    situation, you say it comes down to the     16   why -- please explain -- why did Actavis
      17    fact that we're supplying numbers way       17   decide to institute an indirect
      18    above normal, so to blame it on a market    18   suspicious order monitoring program?
      19    shortage isn't really it. In this           19        A. As I mentioned earlier
      20    particular situation, is there supply       20   today, you know, when I was assigned this
      21    available?                                  21   task, it was our goal to make sure that
      22         A. To answer that specific             22   we were doing everything possible to
      23    question, based on that, this e-mail is     23   protect the integrity of the supply chain
      24    saying that there is product, yes, we are   24   and to ensure and prevent diversion. So

                                          Page 167                                         Page 168
      1    we weren't satisfied with good. We            1   presentation that I prepared that has
      2    wanted to be great. And this effort was       2   hopefully been found in discovery
      3    our step to bring things, as I mentioned      3   somewhere that would tell you the exact
      4    earlier, to the next level.                   4   date.
      5         Q. Did you ever have any                 5        Q. Okay. So as of February of
      6    conversations with the DEA regarding the      6   2012, when this e-mail was written, were
      7    "Know Your Customer's Customer" guidance?     7   you aware of any "Know Your Customer's
      8         A. Absolutely.                           8   Customer" guidance?
      9         Q. Okay. When did you have               9        A. Can you repeat that? I
     10    those conversations?                         10   don't know --
     11         A. I don't know the exact date,         11        Q. Have you ever heard the
     12    but I will say it was probably -- it was     12   phrase "Know Your Customer's Customer"
     13    shortly before the Watson transaction        13   in -- by February of 2012?
     14    closed, which I think was in the fall of     14        A. Yes.
     15    2012. So maybe this was September 2012.      15        Q. Okay. Had Actavis started
     16    But please don't quote me on that.           16   to implement any procedures or policies
     17         Q. We'll get to it later in the         17   to try to know your customer's customer
     18    day.                                         18   by February of 2012?
     19         A. Okay.                                19        A. Several. Several
     20         Q. We have documents --                 20   procedures.
     21         A. Okay.                                21        Q. Okay. So when you got this,
     22         Q. -- that may help refresh             22   if you remember, do you remember this
     23    your recollection.                           23   particular e-mail by any chance? You
     24         A. Okay. Yeah, there was a              24   said there weren't that many of them?


                                                                 42 (Pages 165 to 168)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 43 of 97. PageID #: 211925

                                         Page 169                                         Page 170
      1         A. This e-mail.                         1   you were to break down our role and what
      2         Q. When you received it. Do             2   some of the challenges were, I mean, you
      3    you remember receiving it?                   3   were dealing with patients, you know,
      4         A. I would say that there would         4   crying on the phone, and we, as customer
      5    be potentially even a few others. I mean     5   service reps, had no differentiation of
      6    this didn't happen everyday. But when I      6   knowing if this is truly a cancer
      7    see something like this, it doesn't -- it    7   patient, for example, that's being turned
      8    doesn't surprise me. So I --                 8   away at a pharmacy, or an addict that's
      9         Q. So when you receive an               9   calling trying to find any way to get
     10    e-mail like this, this e-mail or an         10   drugs. I mean, when you're on the phone
     11    e-mail like this, did you -- did you do     11   with somebody, you don't have that.
     12    any investigation to determine why          12            But all we could do is treat
     13    McKesson might not be supplying that        13   every call and patient, customer, with
     14    particular pharmacy?                        14   respect, and help them in the best
     15         A. So what you have to                 15   ability we can.
     16    understand, to answer that question, is     16            There were -- there were
     17    being a manufacturer of a product like      17   certain occasions where you know, maybe
     18    oxycodone, it was not uncommon -- we may    18   someone couldn't access a product, we saw
     19    not get customers write on the website      19   it was in the supply chain, and we would
     20    very often, but it was not that uncommon    20   work with -- we would pick up the phone
     21    where you had customers calling --          21   and call the wholesaler and say look, you
     22    customers defined in this case as           22   know, there is inventory sitting in this
     23    patients -- looking for oxycodone.          23   location. Let's figure out maybe why
     24             It was very difficult. If          24   there's a bottleneck getting it from that

                                         Page 171                                         Page 172
      1    DC to the local pharmacy. There would be     1   supply in the market. In other words,
      2    times where we would aid in that             2   we're not in shortage.
      3    investigation.                               3        Q. Okay. So now you're aware
      4             But to answer your original         4   then that there is supply in the market.
      5    question. Every time we got a patient        5   And this particular pharmacy is claiming
      6    calling us saying that, listen, the          6   that McKesson is telling them they don't
      7    pharmacy won't give me oxycodone, we did     7   have supply, right?
      8    not have the capacity to investigate         8        A. Correct.
      9    every patient.                               9        Q. Did you conduct any
     10         Q. Okay. But in this                   10   investigation to determine whether
     11    particular example, the customer is the     11   McKesson was withholding supply from that
     12    pharmacy, correct, Publix? It's on          12   pharmacy?
     13    Page 2.                                     13        A. To answer your question, I
     14         A. Yes.                                14   can't sit here and say that we never did.
     15         Q. So the pharmacy then is             15   But in terms of general practice, you
     16    contacting you to state that it does not    16   know, the wholesalers were making
     17    have a supply of oxycodone, correct?        17   determination on their customer and why
     18         A. Mm-hmm.                             18   they were not shipping. And it was not
     19         Q. And your response to Michael        19   our practice to question. If they
     20    Perfetto, Rachelle Galant, David Myers      20   decided there was someone they weren't
     21    and the other people listed here is that    21   shipping to, we didn't tell them they
     22    you're supplying numbers way above          22   should.
     23    normal, correct? That's what that says?     23        Q. Okay. Thank you. You can
     24         A. In other words, there's             24   put that aside for now.


                                                                43 (Pages 169 to 172)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 44 of 97. PageID #: 211926

                                         Page 173                                         Page 174
       1             What is your understanding          1        A. Yes, we were a manufacturer.
       2    of Actavis's responsibilities under          2        Q. Okay. So during your time
       3    federal law with respect to the control      3   at Actavis, was the company required, by
       4    of the supply chain of opioids?              4   the Controlled Substances Act, to provide
       5          A. Repeat that one more time.          5   effective controls and procedures to
       6          Q. What is your understanding          6   guard against diversion and theft of
       7    of Actavis responsibilities under federal    7   controlled substances?
       8    law with respect to the control of the       8        A. Yes.
       9    supply chain of opioids?                     9        Q. During your time at Actavis,
      10          A. I mean in short, the way I         10   was the company required by the
      11    would describe it is we were tasked and     11   Controlled Substances Act to report
      12    our responsibility was to design and        12   suspicious orders of controlled
      13    operate a system that would detect,         13   substances to the Drug Enforcement
      14    manage, and monitor suspicious orders.      14   Administration?
      15    Detect -- design and operate a system.      15        A. Yes.
      16    It's a short description.                   16        Q. During your time at Actavis
      17          Q. And so are you aware of --         17   were you aware of the Controlled
      18    you already say that you're familiar with   18   Substances Act reference to the
      19    the Controlled Substances Act?              19   importance of a closed system?
      20          A. Mm-hmm.                            20        A. You know, I -- I remember
      21          Q. Is Actavis registered as --        21   that terminology. Closed system. But
      22    is or was during your time, Actavis         22   I'm trying to remember how it was used.
      23    registered as a manufacturer under the      23            It read right in the
      24    Controlled Substances Act?                  24   regulation, the closed system, but I'm

                                         Page 175                                         Page 176
      1    sorry, it's been so long. I forget how        1        is 12:03 p.m.
      2    that terminology was used, the closed         2   BY MS. ANTULLIS:
      3    part of it.                                   3        Q. I was going to give you an
      4         Q. Do you understand that the            4   exhibit. While I'm looking for my
      5    purpose of the Controlled Substances Act      5   exhibit, can you tell me if you ever
      6    is to prevent the diversion of controlled     6   participated in any working group,
      7    substances --                                 7   internal working group at Actavis to
      8         A. Yes.                                  8   discuss -- internal working group at
      9         Q. -- for -- okay.                       9   Actavis involving the suspicious order
     10              I'm going to introduce             10   monitoring program?
     11    another record, another document into the    11        A. Yes.
     12    record. It's --                              12        Q. Okay. And do you know when
     13              THE VIDEOGRAPHER: I have to        13   that working group -- when did you join
     14         change --                               14   that working group?
     15              MS. ANTULLIS: Okay.                15        A. It was in the same -- around
     16              MS. LEVY: Let's also have a        16   the same time I took on the initiative to
     17         restroom break if it's a                17   enhance our processes. So sometime
     18         convenient time.                        18   spring, late spring of 2011 maybe.
     19              THE VIDEOGRAPHER: The time         19        Q. And did that working group
     20         is 11:52 a m. Going off the             20   exist prior to your joining it?
     21         record.                                 21        A. I couldn't answer that
     22              (Short break.)                     22   question, because I wasn't involved, so I
     23              THE VIDEOGRAPHER: Okay. We         23   don't know.
     24         are back on the record. The time        24        Q. Who were the members of the


                                                                 44 (Pages 173 to 176)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 45 of 97. PageID #: 211927

                                         Page 177                                         Page 178
      1    working group while you were on it?          1   think, working in the DEA. But she was
      2         A. Yeah, so I can name some             2   in our security group. If we needed to
      3    that I recall.                               3   make contact with the DEA for any reason,
      4             It's not necessarily going          4   she was the point person. It wouldn't be
      5    to be all inclusive. But first and           5   me calling them.
      6    foremost, there was a steering committee,    6            And then -- you know, then
      7    senior executives that were driving the      7   you had, like, groups like mine in the
      8    importance of this initiative down into      8   middle that were executing the processes.
      9    the organization.                            9   So it wasn't a fairly wide group, but
     10             And I know my boss, Michael        10   there was representation from the key
     11    Perfetto was one of those on the steering   11   areas.
     12    committee. And I believe there were,        12        Q. And, so you testified that
     13    like, one or two others. I'm not sure       13   there was a steering committee and that
     14    exactly who it was. It may have been our    14   Michael Perfetto was on the steering
     15    lawyer, Michael Clark. I'm not certain      15   committee.
     16    of that. But we had a steering committee    16            Was the steering committee a
     17    nonetheless.                                17   part of the internal working group?
     18             And then we had legal              18        A. I wouldn't say they were a
     19    participation to help us through and make   19   part of the working group. We had to
     20    sure we were interpreting the regulations   20   report back to them, so they knew it was
     21    and the guidelines properly.                21   done.
     22             We had our security person,        22        Q. Okay. So it's a separate
     23    our DEA contact. She is not from the        23   group from the working group; is that
     24    DEA. She actually had a history, I          24   correct?

                                         Page 179                                         Page 180
      1         A. Yeah. They sat on the top.           1   systems.
      2    And they pushed down to make sure we were    2            He had a person named Wansun
      3    doing what we were supposed to. But they     3   Park, I think it was. And Wansun, I
      4    weren't involved in the details in terms     4   don't even know if he was an employee.
      5    of, you know, designing, right. We were      5   He may have been a consultant. But he
      6    accountable to them.                         6   partnered with Umesh. The two of them
      7         Q. Do you remember the members          7   were really instrumental in taking the
      8    of the actual working group?                 8   solution that was turned over to us and
      9         A. Once again, I'll name a few          9   implementing it.
     10    that I remember, because they were, you     10            I'm trying to think who
     11    know, instrumental in our success. But I    11   else.
     12    will go on record saying that there may     12            So John Duff was on the
     13    be someone I'm going to miss because it's   13   legal staff. And he was a really
     14    been seven years.                           14   valuable resource to us. And off the top
     15             So Rachelle Galant was             15   of my head, those are some of the people
     16    instrumental from marketing. She was the    16   that were key.
     17    person that really helped us drive this     17        Q. Do you remember if Michael
     18    indirect initiative. And of course          18   Clark was a member of the working group?
     19    because she was involved, Jinping           19        A. Yeah. Yeah, I think I
     20    McCormick supported and gave input as       20   mentioned him earlier.
     21    well. Umesh Solanki was our IT person       21        Q. Right. I just wanted to
     22    that took the solution that was built by    22   clarify. Was there -- do you recall if
     23    the consultant we hired. And he was         23   there was an industry working group
     24    responsible for integrating that into our   24   external to Actavis relating to


                                                                45 (Pages 177 to 180)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 46 of 97. PageID #: 211928

                                         Page 181                                         Page 182
       1    suspicious order monitoring?                1        Q. Do you know -- is this
       2         A. Not that I'm aware of.              2   something that you would have done in the
       3         Q. So I'm going to give you            3   normal course of business?
       4    what we're marking as Exhibit 6.            4        A. Sure. He may have needed a
       5              (Document marked for              5   copy and didn't have it at the time.
       6         identification as Exhibit              6        Q. Do you have any reason to
       7         Baran-6.)                              7   believe that this was not an e-mail from
       8              MS. ANTULLIS: It's                8   you to Michael Clark?
       9         ALLERGAN_MDL_03525593.                 9        A. No.
      10              THE WITNESS: Thank you.          10        Q. So let's -- yes, please flip
      11         Yes.                                  11   to the attachment, which I see you've
      12    BY MS. ANTULLIS:                           12   already done. Do you recognize this
      13         Q. This appears to be -- first        13   attached letter?
      14    of all, do you recognize this document,    14        A. Yes, I do.
      15    this e-mail?                               15        Q. Do you recall when the first
      16         A. Yes.                               16   time -- do you recall when you first saw
      17         Q. Do you recognize the e-mail?       17   this letter?
      18         A. I don't recognize the              18        A. I've read it so many times
      19    e-mail.                                    19   on different occasions, but I don't
      20         Q. Do you remember sending this       20   recall when the first time would have
      21    letter -- the attached letter to Michael   21   been. I don't even know if I could
      22    Clark in or around September of 2012?      22   guess.
      23         A. I don't recall, but I'm not        23        Q. Do you recall if it was
      24    saying that I didn't.                      24   prior to September of 2012?

                                         Page 183                                         Page 184
      1          A. Oh, I imagine so. But I             1         Q. Are you familiar with the
      2    don't recall the date.                       2   contents of this letter?
      3          Q. Do you remember reading this        3         A. Definitely familiar with it.
      4    letter during your initiation process        4   I'm going to admittedly say I'm rusty. I
      5    when you were initially hired?               5   haven't even been working for two years.
      6          A. I am -- would venture to            6   My brain is probably not going to be able
      7    guess, yes. It was at that time that         7   to talk to it very much. But yes, I'm
      8    I -- like I said, I've seen it on more       8   familiar with the fact that this letter
      9    than one occasion. So I would -- I can't     9   from 2007 existed.
     10    be certain that I read it at that exact     10         Q. Were you familiar with the
     11    time of the initiation. But it wouldn't     11   contents of this letter during your
     12    be outside of a realm of possibility        12   employment at Actavis?
     13    because it's -- yeah.                       13         A. Yes.
     14          Q. When you sent -- you sent          14         Q. So in the -- in the second
     15    this letter to Michael Clark in September   15   full paragraph -- well, first of all
     16    of 2012. Where would you have -- what       16   let's establish. Is this a letter from
     17    system or database or file would you have   17   the Department of Justice to Actavis? Is
     18    gone to at Actavis to find this letter?     18   that your understanding of what this is?
     19    Would it have been in your own files?       19         A. To Actavis? I don't know if
     20          A. It could have been. I'm not        20   I could say that. It could be something
     21    sure where I would have gotten it from.     21   that all manufacturers got. I don't -- I
     22    I may have had it for a year or I may       22   don't know that. I mean, was it
     23    have just gotten it the day before and      23   specifically sent to Actavis or was it
     24    forwarded it. I don't know.                 24   more broadly distributed? I don't know


                                                                46 (Pages 181 to 184)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 47 of 97. PageID #: 211929

                                          Page 185                                         Page 186
       1    at this time.                                1   maintain effective controls against
       2         Q. So was the letter sent to            2   diversion, DEA regulations require all
       3    Actavis?                                     3   manufacturers and distributors to report
       4         A. Well, somehow we got it, but         4   suspicious orders of controlled
       5    I can't say seven years later how that       5   substances."
       6    happened. I don't remember.                  6            Did you understand that to
       7         Q. Okay. Are you -- is it your          7   be a requirement that Actavis was bound
       8    understanding that Actavis -- is it your     8   to follow?
       9    understanding that the guidelines            9        A. Yes.
      10    provided in this letter are applicable to   10        Q. Second sentence, "DEA" --
      11    Actavis's suspicious order monitoring       11   excuse me.
      12    program?                                    12            "Title 21 C.F.R. 1301.74(b)
      13         A. Sure. We were maintaining           13   specifically requires that a registrant
      14    systems to detect suspicious order. And     14   design and operate a system to disclose
      15    that's what this speaks to. I mean, I       15   to the registrant suspicious orders of
      16    haven't read this in years. And I can       16   controlled substances."
      17    read it in detail if you want to ask me     17            Was it your understanding
      18    specific questions on the letter.           18   that that was a requirement that Actavis
      19         Q. Sure. Let's go to the               19   was bound to follow?
      20    second paragraph. It says, first            20        A. Yes. That was my
      21    sentence, and we've already discussed       21   understanding.
      22    this, "In addition to, and not in lieu of   22        Q. It says the next page -- two
      23    the general requirement under 21 U.S.C.     23   sentences later, it says, "Accordingly
      24    823 that manufactures and distributors      24   the DEA does not approve or otherwise

                                          Page 187                                         Page 188
       1    endorse any specific system for reporting    1   feel -- was it your belief while you were
       2    suspicious orders."                          2   working at Actavis that the requirements
       3         A. Yes. I definitely recall             3   of the CSA were vague?
       4    that.                                        4        A. I -- I believe that the
       5         Q. Okay. So did you understand          5   direction from the DEA was vague.
       6    that to be the case, that the DEA would      6        Q. Is it your under -- was it
       7    not endorse a system?                        7   your understanding while you were at
       8         A. Yes. Because, you know, I            8   Actavis that the requirements of the
       9    can't speak for any other manufacturers,     9   Controlled Substance Act were vague?
      10    I don't know what they did. But we were     10        A. Say that, I'm sorry, one
      11    always looking and striving to be better    11   more time.
      12    and to get validation and they were not     12        Q. So I'm asking about the
      13    willing -- you know, we were looking for    13   Controlled Substances Act, not the --
      14    that stamp of approval.                     14        A. The act, okay.
      15             Listen. Look at what we're         15        Q. -- not the letter. Okay.
      16    doing, here is what we're doing. If         16   Per se. I'm asking specifically about
      17    there's something we're missing,            17   the Controlled Substance Act.
      18    something that we need to do differently,   18            Was it your understanding
      19    let us know. Give us your validation        19   that while you were at Actavis that the
      20    that this is what you mean in this vague    20   requirements of the Controlled Substance
      21    letter of yours. And they were not          21   Act to -- to prevent diversion were
      22    willing to do that.                         22   vague?
      23         Q. Okay. You used the word             23        A. I think they -- I would -- I
      24    "vague," you said vague letter. Do you      24   would define that as vague. I mean,


                                                                 47 (Pages 185 to 188)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 48 of 97. PageID #: 211930

                                          Page 189                                        Page 190
      1    yeah. I would -- I would say yes.             1             Is it your understanding
      2         Q. Was it your understanding             2   that that was a -- a requirement that
      3    while you were at Actavis that the --         3   Actavis was bound to follow?
      4    that the parameters of a -- the               4         A. Absolutely.
      5    criteria -- was it your understanding         5         Q. Was it your -- what was your
      6    while you were at Actavis that the            6   understanding of the term "when
      7    criteria for a quote-unquote successful       7   discovered" while you were working at
      8    suspicious order monitoring program were      8   Actavis?
      9    vague?                                        9         A. So "when discovered," the
     10         A. That's correct. I mean, the          10   way I would define that is not an order
     11    DEA never came out and said here is          11   of interest. DEA doesn't want five
     12    exactly what you need to do. They said,      12   reports a day with a bunch of orders on
     13    here is what you need to do, up here. So     13   it. That definition is an order that
     14    yes, vague is a good description.            14   would be deemed suspicious. We've looked
     15         Q. And I'm going to continue            15   at it. We can't make sense of it.
     16    down on the letter. I'm going to go to       16   There's no rhyme or reason. Something
     17    the third paragraph which you can read.      17   doesn't smell right. That to me would --
     18         A. Yes.                                 18   would be this definition. One -- an
     19         Q. Okay. So the first sentence          19   order that we would cancel in its
     20    says, "The regulation requires" -- "also     20   entirety.
     21    requires that the registrant inform the      21         Q. Was there a time frame in
     22    local DEA division office of suspicious      22   which you had to provide a suspicious
     23    orders when discovered by the                23   order report to the DEA?
     24    registrant."                                 24         A. I don't -- I don't recall

                                          Page 191                                        Page 192
       1    that. And that wasn't my responsibility.     1   sentence. It says, "These criteria are
       2    I didn't have the communication with         2   disjunctive and are not all-inclusive."
       3    them, so I don't know if there was a         3            MS. LEVY: Do you have a
       4    specific time frame.                         4        question?
       5         Q. So in the third -- third             5            MS. ANTULLIS: Yes.
       6    paragraph it says, "The regulation           6   BY MS. ANTULLIS:
       7    specifically states that suspicious          7        Q. So what is your
       8    orders include orders of an unusual size,    8   understanding of "disjunctive" and "not
       9    orders deviating substantially from a        9   all-inclusive"?
      10    normal pattern, and orders of an unusual    10        A. To me, the way I would
      11    frequency."                                 11   describe that is that doesn't mean that's
      12              Is it your understanding          12   all you have to do, right. You still
      13    that -- are the -- the -- the three         13   have to be a responsible manufacturer.
      14    prongs that are laid out there, are those   14   You still have to know who you are
      15    three prongs consistent with your           15   selling to. Are they properly licensed.
      16    understanding of what criteria go into      16   Do they have the right vault storage, you
      17    determining whether an order is             17   know. Are they selling -- you know, is
      18    suspicious or not?                          18   someone coming to you and buying
      19         A. Absolutely.                         19   99 percent controlled drugs only. You
      20         Q. Do you understand that --           20   know, you still have to have other areas
      21    those criteria to be disjunctive?           21   of responsibility, not -- not just
      22         A. Disjunctive, can you                22   limited to those three things. That's
      23    describe disjunctive?                       23   how I would describe that.
      24         Q. Well, let's read the next           24        Q. In 2012 you describe -- I'm


                                                                 48 (Pages 189 to 192)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 49 of 97. PageID #: 211931

                                         Page 193                                         Page 194
       1    sorry. Forgive me.                           1   Actavis's evaluation of those criteria
       2             In 2011 you said you began a        2   changed?
       3    project to enhance the suspicious order      3        A. Well, first of all, in terms
       4    monitoring policies and procedures at        4   of how it changed, it made it more
       5    Actavis; is that correct?                    5   automated and -- I'm not sure I
       6         A. That's correct.                      6   understand the question. Can you
       7         Q. When you instituted --               7   redefine the question?
       8    what -- as part of the -- as part of that    8        Q. So yeah, sure. So I asked
       9    project, did you look at those               9   you previously whether Actavis changed
      10    requirements and try to determine how to    10   the way it analyzed and -- and applied
      11    capture them through your -- how to         11   the criteria listed here following the
      12    analyze them through your suspicious        12   2011 project enhancement that you
      13    order monitoring investigation?             13   testified about earlier. And I believe,
      14         A. Absolutely. There were key          14   correct me if I'm wrong, but I believe
      15    components.                                 15   you said yes, that it did change.
      16         Q. Okay. Did you change the            16        A. Yes. Or it wouldn't have
      17    way that you applied those criteria?        17   been able to --
      18         A. Yes, because we had a               18        Q. I'm trying to ascertain what
      19    brand-new algorithm that was built, and     19   that change was.
      20    yeah, I would say yes.                      20        A. So what the change was after
      21         Q. Okay. So without getting            21   the project. We made sure there was
      22    into the details of the algorithm right     22   equal attention to the different
      23    now. We will address that later. But        23   attributes, right, it wasn't just based
      24    what is your understanding as to how        24   on historical purchases. You know, we

                                         Page 195                                         Page 196
      1    were -- the -- the algorithm captured         1   like it's a first-time customer, and all
      2    and -- and had a score -- first of all,       2   that. But the new process gave us a lot
      3    the algorithm is this formulaic equation      3   more clarity on why it was failing, you
      4    that's this long. And I certainly can't       4   know, what aspects. And it could be one
      5    speak to that. But there are documents        5   or it could be several. And it really
      6    that should be on record that -- that         6   just aided in our investigation and made
      7    can.                                          7   it a more efficient process, if that
      8              And basically it just -- it         8   answers your question.
      9    took all the different attributes and         9        Q. Well, that's a lot of useful
     10    weighted them and gave an order, a score,    10   information, and I do appreciate it. But
     11    kind of like matching it up to what the      11   I think I may not be asking the question
     12    DEA is -- is looking for. And if it --       12   very clearly, so I'm going to try again.
     13    if it didn't meet the score it should, it    13             I am trying to determine
     14    would spit out as -- as an order of          14   whether Actavis's understanding of those
     15    interest.                                    15   requirements changed over time while you
     16              To answer your question, I         16   were at the company.
     17    think more accurately, on like some of       17             So did their understanding
     18    the changes. You know, the original          18   of a suspicious order change over time?
     19    report, it gave us some level of detail      19        A. Did their understanding of a
     20    on where to start our investigation, but     20   suspicious order -- I don't believe so,
     21    it was a little bit more legwork.            21   because I mean I feel strongly we were
     22              You had to kind of figure          22   doing it right all along. We just
     23    out like, why is this coming on here, you    23   weren't doing -- we weren't operating
     24    know. There was some level of detail,        24   smart. You know what I mean?


                                                                 49 (Pages 193 to 196)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 50 of 97. PageID #: 211932

                                         Page 197                                         Page 198
      1         Q. When you -- when you began           1   yes. In terms of who, I mean I'll give
      2    the new enhancement project in 2011, and     2   you examples. You know, our attorneys,
      3    through 2012, did you seek guidance from     3   John Duff, Michael Clark. You know, as I
      4    anyone on the requirements of a -- a --      4   stated earlier, I -- I started this
      5    you know, a suspicious order monitoring      5   process, you know, looking at what a
      6    program?                                     6   C.F.R. was, and, you know, I'm pretty
      7         A. Absolutely. So when you --           7   proud of -- of where I took our company.
      8         Q. Who did you -- let me --             8   I didn't do it alone. You know, if you
      9         A. Yeah, go ahead.                      9   look at any of the documents that I'm
     10         Q. Who did you reach out to for        10   sure are out there somewhere, I had
     11    guidance on what would -- what would        11   really knowledgeable people supporting
     12    constitute a successful program?            12   this process. And I would never have
     13         A. So, a little background. I          13   been able to do it alone so...
     14    mean 25 years leading customer service      14        Q. Did you ever engage an
     15    teams doesn't automatically make me an      15   outside consultant to help you --
     16    expert implementing and driving projects    16        A. Yes.
     17    of this nature.                             17        Q. -- design a new suspicious
     18             So, you don't start out as a       18   order monitoring --
     19    subject matter expert. But your goal is     19        A. Absolutely. We strived to
     20    you need to make yourself one. And the      20   seek and find the best.
     21    only way you can do that is by doing what   21        Q. And who was or were those
     22    you just said, seeking guidance and         22   outside consultants?
     23    counsel from others.                        23        A. Cegedim. I believe their
     24             So the answer is absolutely        24   full name was Cegedim Compliance

                                         Page 199                                         Page 200
       1    Solutions.                                  1   that -- that statement during your time
       2         Q. And were there any other            2   there?
       3    outside consultants besides Cegedim?        3        A. Yes.
       4         A. Not that I recall.                  4        Q. What is your understanding
       5         Q. When did you hire Cegedim?          5   of what a rigid formula is?
       6         A. Best way to answer that             6        A. I guess the way I would
       7    would -- I'm sure that our contract and     7   describe it is looking hard and fast at
       8    service agreement is on file somewhere.     8   very specific set of data, and the way --
       9    And that would outline that rather than     9   the example that I know they provided,
      10    me making a guess on dates. I don't        10   and I think it's in this paragraph
      11    recall the dates. But there is a service   11   somewhere, is you know, just comparing
      12    agreement and contract with them           12   purchases from today to yesterday or
      13    outlining what they were doing for us.     13   today to last month. That would be very
      14         Q. Okay. Let's go back to the         14   rigid. That would be my description.
      15    letter. On the second page, first full     15        Q. Okay. What did Actavis do
      16    paragraph.                                 16   to comply with the guidance provided in
      17         A. First paragraph.                   17   this letter?
      18         Q. The first sentence says,           18        A. So I would never consider --
      19    "Registrants that rely on rigid formulas   19   our solution was not rigid, for sure.
      20    to define whether an order is suspicious   20             I could be wrong. I mean
      21    may be failing to detect suspicious        21   there's documents that would support it
      22    orders."                                   22   somewhere. I'm 95 percent sure we were
      23             First was it your                 23   using six months of rolling history. So
      24    understanding that Actavis was bound by    24   we were looking at history over time.


                                                                50 (Pages 197 to 200)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 51 of 97. PageID #: 211933

                                         Page 201                                        Page 202
       1         Q. Were you looking at that            1        Q. Yeah, it's the 8/18/2009
       2    history over time in 2008?                  2   e-mail.
       3         A. Yes.                                3        A. Not the performance review?
       4         Q. Okay.                               4        Q. No. Is it Number 5? Is it
       5         A. Yeah. Yeah.                         5   three?
       6         Q. So I'd like to go back to an        6        A. It's hiding under there.
       7    earlier exhibit that we looked at, if I     7   Sorry. Got it.
       8    can find it.                                8        Q. Okay. So again, I'm trying
       9         A. So can I -- can I clarify           9   to understand the criteria that are
      10    something?                                 10   listed in bullet points as they apply to
      11         Q. Sure.                              11   Actavis's suspicious order monitoring
      12         A. I don't even know if I was         12   program in 2009, this particular e-mail
      13    employed in 2008. Well, when did I         13   is written. It appears to state that if
      14    start? January 2008. So yes. Based on      14   the amount ordered by the customer is
      15    that answer, I don't take it back. I       15   over a certain percentage -- is a certain
      16    thought that was before I started. I       16   percentage over the customer's rolling
      17    don't think it was any different. But...   17   average then it shows up on the report;
      18         Q. We are going back to -- I          18   is that correct? Is that a correct
      19    believe it's Exhibit Number 4, but I       19   understanding?
      20    could be wrong, because I have been        20        A. I believe -- I believe so,
      21    failing to mark my exhibits.               21   yes.
      22             MS. LEVY: Going back to 4.        22        Q. Okay. So you have a method
      23             MS. ANTULLIS: So sorry.           23   for determining a six-month average,
      24    BY MS. ANTULLIS:                           24   customer average, correct, average order?

                                         Page 203                                        Page 204
       1         A. Yes.                                1       looked at -- every order wasn't
       2         Q. And then if an order is             2       the same. It looked at a number
       3    placed that's above -- a certain            3       of things, and I don't have any
       4    percentage above that average, it's         4       kind of documentation to review or
       5    flagged in the system as an order of        5       to speak to. But we had steps we
       6    interest; is that correct?                  6       would take.
       7         A. Yes.                                7           You know, is it a new
       8         Q. Okay. And then what steps           8       customer? Is it a new product
       9    do you take -- did you take in 2009 to      9       award? Is it a new product
      10    determine whether that order of interest   10       launch? Is there something going
      11    was in fact suspicious?                    11       on in the market? There were four
      12         A. So --                              12       manufacturers and something
      13         Q. Let me take that back. What        13       happened, and one dropped out, so
      14    criteria then did you look at?             14       of course you're going to see
      15             Did you -- how did you            15       increased demand.
      16    apply -- did you apply the guidance in     16           You know, anything that
      17    the 2007 letter to evaluating whether or   17       would have any logical explanation
      18    not an order of interest was suspicious?   18       to driving that.
      19             MS. LEVY: Object to the           19           And we would have to use
      20         form. You can answer.                 20       different resources to, you
      21             THE WITNESS: Okay. I think        21       know -- we didn't necessarily know
      22         this is similar to the question we    22       what was going on in the market.
      23         discussed earlier today. And we       23       We would have to consult different
      24         looked at our process involved,       24       groups to make sure that we were


                                                                51 (Pages 201 to 204)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 52 of 97. PageID #: 211934

                                         Page 205                                          Page 206
       1         informed in every decision.             1            Can I go back to an earlier
       2             But every -- every                  2   question, because that triggers a
       3         investigation may have taken a          3   thought. You said what are some of the
       4         different route depending on the        4   new -- new things that you did in the new
       5         circumstances.                          5   enhancements.
       6    BY MS. ANTULLIS:                             6            The -- I hear buzzing.
       7         Q. Once you decided that an             7            In the new process,
       8    order was not -- that an order of            8   everything was online and electronic.
       9    interest was not suspicious under the        9   There was no paper copies. If you
      10    criteria that you were applying, who at     10   reviewed an order, your comments on your
      11    Actavis had the authority to -- to          11   investigation, what made you decide to
      12    authorize -- had the authority to release   12   release that order were typed within the
      13    a pended order?                             13   system. It had a -- what is the proper
      14         A. Okay. So nobody outside of          14   word? -- document flow like it would
      15    the customer service group had security     15   track who did what. There's a term for
      16    and that should be in some kind of          16   that. I'm just not thinking of it. You
      17    security document somewhere. You            17   can see at a given time, who released an
      18    couldn't have other groups that could go    18   order, when and why. That was an example
      19    in and release an order.                    19   of some of the benefits of our
      20         Q. Did you have a compliance           20   improvements.
      21    group at Actavis?                           21        Q. And prior to the improvement
      22         A. We had our legal/compliance.        22   was there a system to track who released
      23    But they didn't have access to release      23   an order and why?
      24    anything either.                            24        A. Behind the scenes, the IT

                                         Page 207                                          Page 208
      1    group could see who touched it, you know,     1        Q. Were those reports with your
      2    from that standpoint, yes. But you            2   handwritten documentation?
      3    didn't have that documented workflow          3        A. Yes.
      4    electronically, like with the comments        4        Q. Is that right? Were those
      5    and all that, no.                             5   reports with your handwritten
      6         Q. So when you -- when you               6   documentation in storage somewhere?
      7    conducted an investigation prior to the       7        A. They were -- they were paper
      8    enhancements, when you conducted an           8   filed.
      9    investigation, were there particular          9        Q. Do you know where the paper
     10    documents that you had to fill out?          10   files were located?
     11         A. No, there were no documents.         11        A. Within the corporate
     12         Q. Did you document the                 12   documentation within customer service.
     13    investigation in any way?                    13        Q. Do you know who maintained
     14         A. Yeah, and a lot of them              14   those paper files?
     15    there were simplistic. Documentation may     15        A. We did. I don't know for
     16    have been like a few words. Some of them     16   what time period. You know, every
     17    were more complex depending on what the      17   document had certain time they had to be
     18    investigation entailed.                      18   stored. And I don't know -- to be
     19             But that would be documented        19   honest, I don't recall.
     20    on the report that was generated.            20        Q. Do you remember if every
     21         Q. When you say the report that         21   investigation was documented?
     22    was generated, are you talking about the     22        A. Like I said earlier, if you
     23    suspicious order report?                     23   had a report and you're releasing orders,
     24         A. Yes.                                 24   if you would look -- if you would look at


                                                                 52 (Pages 205 to 208)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 53 of 97. PageID #: 211935

                                         Page 209                                         Page 210
      1    a line on the report, and it said            1        A. Yes.
      2    first-time buy, you couldn't just accept     2        Q. Following the suspicious
      3    that for what it was. You would look at      3   order monitoring enhancement, were
      4    it, you would research, you investigate,     4   investigation files electronically filed?
      5    you see we have a new contract. Yes,         5        A. Yes. Absolutely.
      6    boom.                                        6        Q. Were there more formulaic
      7              Well, given that, you know,        7   investigatory documents? Were there --
      8    you did all the validation of what the       8   were there forms that had to be filled
      9    report was saying, but I'll be honest        9   out in conducting an investigation of an
     10    with you, you didn't go in the report and   10   order of interest prior -- post 2011?
     11    write an essay, well, I ran a report, I     11        A. I don't recall forms, no.
     12    verified. You know, there was not a lot     12        Q. What -- what requirements
     13    of -- we didn't write down more than we     13   were there for documentation related to a
     14    needed to.                                  14   suspicious order?
     15          Q. Following the -- and is            15        A. There had to be an
     16    "enhancement" the word that you use to      16   explanation as to what conclusion that
     17    refer to the project in 2011 and 2012 to    17   person came to and what led them to
     18    change the suspicious order monitoring      18   release the order.
     19    program?                                    19        Q. And when is the last time
     20          A. I would definitely call it         20   you saw any of your -- your own
     21    an enhancement. We were making it bigger    21   handwritten investigation notes?
     22    and better.                                 22        A. I've been gone there
     23          Q. I'm just making sure I'm           23   seven -- a long time.
     24    using your terminology.                     24        Q. Okay. Do you recall the

                                         Page 211                                         Page 212
      1    last time you saw your handwritten notes?    1        Q. So what would you say were
      2          A. Years. I don't know. My             2   your, for lack of a better term, what
      3    handwritten notes?                           3   were the -- what were the pillars of your
      4          Q. Mm-hmm.                             4   role at Actavis?
      5          A. No, I don't.                        5            MR. LUXTON: Objection to
      6          Q. Were there written                  6        form.
      7    guidelines on what had to be recorded        7   BY MS. ANTULLIS:
      8    when you were investigating an order of      8        Q. Let me ask it a different
      9    interest prior to 2011?                      9   way. What were your goals while you
     10         A. Written guidelines prior to         10   worked at Actavis?
     11    2011, there could have been, but not that   11        A. My goals?
     12    I recall.                                   12        Q. Yeah, what were your -- what
     13          Q. Were there written                 13   were your -- your --
     14    guidelines on what you had to record post   14        A. There was many goals --
     15    2011?                                       15            MS. LEVY: Hang on. Let her
     16          A. I'm -- I haven't read it           16        finish her question.
     17    in -- in seven years, but I have to         17   BY MS. ANTULLIS:
     18    imagine we would have been pretty           18        Q. Was customer satisfaction
     19    thorough and that would have been in our    19   one of your goals?
     20    SOP. But I could be wrong. I haven't        20        A. Sure.
     21    seen the SOP in seven years so...           21        Q. Was compliance with federal
     22          Q. Okay.                              22   regulations one of your goals?
     23          A. We did have a process, it          23        A. Absolutely.
     24    was pretty thorough.                        24        Q. Was streamlining systems


                                                                53 (Pages 209 to 212)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 54 of 97. PageID #: 211936

                                         Page 213                                         Page 214
       1    part of your goals?                         1   feel any tension in balancing those
       2         A. Absolutely.                         2   goals?
       3         Q. Was creating collaboration,         3        A. No.
       4    cooperation among the teams part -- part    4        Q. Did you ever feel like any
       5    of your goals?                              5   of your goals were in conflict with --
       6         A. Yes.                                6   with each other?
       7         Q. Okay. Was making processes          7        A. No.
       8    faster and more effective part of your      8        Q. Okay. Did you ever feel a
       9    goals?                                      9   conflict between complying with federal
      10         A. More effective and certainly       10   regulations and customer satisfaction?
      11    faster, but not, you know, risking         11        A. Oh absolutely no.
      12    accuracy certainly. I don't like the       12        Q. Okay. What would you define
      13    word faster.                               13   as a satisfied customer, what would you
      14         Q. Okay.                              14   define as a satisfied wholesaler
      15         A. Efficient? And accurate.           15   customer?
      16         Q. All right. More                    16        A. So I mean, the way you're
      17    efficient --                               17   phrasing that, to me, because my goal is
      18         A. Yeah, I don't like the word        18   to satisfy a customer, it doesn't mean
      19    faster.                                    19   that they get everything they want,
      20         Q. I -- I don't want to put           20   right? It's to the best of my ability,
      21    words in your mouth, so...                 21   within my means, and within our
      22         A. Yeah. Less manual.                 22   guidelines and everything that we have to
      23         Q. Okay. Did you ever -- did          23   follow. We want to meet the customer's
      24    you ever feel difficulty -- did you ever   24   needs. But that doesn't mean that you

                                         Page 215                                         Page 216
      1    can step outside of it. And I'll be the      1        looking for exhibits.
      2    first to -- if, for example, if a            2            MS. LEVY: Okay.
      3    customer calls and is rushing, rushing,      3            THE VIDEOGRAPHER: The time
      4    wants a shipment quick and it's on hold,     4        is 12:43 p m. Going off the
      5    it's on hold. And it will get released       5        record.
      6    when it gets released. And that's my         6            (Lunch break.)
      7    position.                                    7            THE VIDEOGRAPHER: We are
      8              I never stood down to              8        back on the record. The time is
      9    anybody. And I want to make you happy,       9        1:25 p m.
     10    but I also have a job to do. So I never     10   BY MS. ANTULLIS:
     11    felt in conflict. I always felt in          11        Q. Hi. So I want to go through
     12    control.                                    12   a few questions for you first and then go
     13          Q. Okay. So did you feel --           13   back to what we were discussing
     14    did you ever feel pressure to ship an       14   previously.
     15    order prior to fully investigating          15        A. Okay.
     16    whether or not it was suspicious?           16        Q. At any point during your
     17          A. No. I don't think pressure         17   tenure at Actavis, did the company have a
     18    is a good word, no.                         18   system to monitor publicly available data
     19          Q. So I would like to enter           19   regarding opioid sales from other
     20    another exhibit, if I can find it.          20   manufacturers?
     21              MS. ANTULLIS: Actually,           21        A. Did anytime during Actavis
     22          I've just been told lunch is here.    22   did we have data available -- repeat the
     23          Maybe this is a good time to take     23   other part?
     24          a break so I don't waste your time    24        Q. To monitor sales from other


                                                                54 (Pages 213 to 216)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 55 of 97. PageID #: 211937

                                         Page 217                                          Page 218
      1    opioid manufacturers?                         1   stated that one of the things that you
      2         A. Not that I'm aware of. No.            2   looked at in determining whether the
      3         Q. Did you have access to the            3   order was suspicious was -- was the
      4    ARCOS data?                                   4   ordering pattern from the customer's
      5         A. I did not.                            5   customer. So if a customer ordered the
      6         Q. Did Actavis -- to your                6   same amount of the same kind of drug from
      7    knowledge did Actavis have access to          7   three different manufacturers -- or three
      8    ARCOS data?                                   8   different wholesalers, excuse me, that
      9         A. I've heard of ARCOS referred          9   was -- that was information that you were
     10    to a lot. I'm not sure who had access to     10   able to track; is that correct?
     11    it, but someone must have, because I've      11        A. Yeah. I don't believe I
     12    heard discussions on it.                     12   used the word pattern.
     13         Q. Do you -- do you know who            13        Q. Okay.
     14    would know at Actavis whether or not they    14        A. It was more their sources.
     15    had access to ARCOS data?                    15   Did they have multiple sources.
     16         A. I don't know. I don't know.          16        Q. Okay. So what -- what
     17         Q. You stated that one of the           17   information did you use to track whether
     18    criteria -- I believe, correct me if I'm     18   or not a customer's customer was ordering
     19    wrong, I believe you stated that one of      19   from multiple sources?
     20    the criteria that you looked like --         20        A. I personally did not. That
     21    looked at in determining whether or not      21   would have been the side of the project
     22    an order was suspicious was tracking, say    22   that Rachelle Galant helped to lead.
     23    an indirect -- through your indirect SOP     23        Q. Okay. And would that
     24    once you had a procedure in place, you       24   information then have come from value --

                                         Page 219                                          Page 220
       1    the ValueTrak system?                        1   sounds repetitive to me. I don't know.
       2         A. I believe. I'm almost                2   I -- the data wasn't handled in my area,
       3    certain, but I can't be positive. Yeah,      3   so I don't know the answer to that.
       4    I believe so.                                4         Q. Okay. I'm going to read off
       5         Q. Did Cegedim provide any              5   a list of -- of vendors and I just want
       6    data?                                        6   you to tell me if any of them sound
       7         A. Data, no.                            7   familiar. That's all I'm asking.
       8         Q. Did Actavis purchase data            8         A. That's easy enough.
       9    from a company called -- let's go through    9         Q. Do they sound familiar to
      10    them.                                       10   you?
      11             From IMS Health?                   11         A. Okay.
      12         A. Yes. I can't speak much to          12         Q. And if so, I'll ask further.
      13    it, but yes.                                13   Okay?
      14         Q. Okay. Did they purchase             14             Pharmaceutical Data
      15    data from Quintiles IMS?                    15   Services, Source Healthcare Analytics,
      16         A. Possibly, but I would not be        16   NDS Health Information Services,
      17    the person to answer that. That would       17   Theraspan, Quintiles. There's no IMS.
      18    probably be Rachelle that would be able     18   Okay.
      19    to answer that.                             19             Theraspan?
      20         Q. Okay. Did they -- did               20         A. Theraspan sounds familiar.
      21    Actavis purchase data from IQBIA?           21   I don't know why.
      22         A. I don't know. I feel like           22         Q. Okay.
      23    that name is -- is one of the other         23         A. But I -- I've heard them
      24    customers with a different name. It         24   before.


                                                                 55 (Pages 217 to 220)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 56 of 97. PageID #: 211938

                                         Page 221                                         Page 222
      1         Q. SDI Health?                          1   answer what they were using the data for.
      2         A. No.                                  2   The only thing I can say is, as far as
      3         Q. ArcLight?                            3   I'm aware, the data was based on our
      4         A. No.                                  4   product and nobody else's.
      5         Q. ScriptLine?                          5            Yeah I don't know. I really
      6         A. No.                                  6   wouldn't be the person to answer that
      7         Q. PRA Health Services --               7   question. That was really something
      8    Health Science?                              8   marketing would have handled. I would
      9         A. No.                                  9   never have gotten into --
     10         Q. And I always mispronounce           10        Q. I'm just not sure I
     11    this but I'll try, Wolters Kluwer?          11   understood the first part of your
     12         A. I've heard of them, but it          12   response. You said that data would have
     13    may be just because I've heard of them in   13   been our product and not someone else's.
     14    the industry. I -- I've heard of them,      14   What are you referring to?
     15    but that's all I know.                      15        A. Well, when you say -- I
     16         Q. All right. So do you know           16   guess if -- I'm not sure what you're
     17    what kind -- do you know what data          17   referring to. So I know -- I know we
     18    Actavis purchased from IMS Health?          18   purchased data. So for example,
     19         A. No. That was strictly               19   sometimes some of the wholesalers, we
     20    handled through marketing.                  20   even have to pay a fee to get data on our
     21         Q. Okay. Can you -- do you             21   own information. That is the extent of
     22    know why marketing purchased data from      22   what I know about how we get data. Not
     23    IMS Health?                                 23   my area of expertise. And I'm not afraid
     24         A. I would not be the person to        24   to say that.

                                         Page 223                                         Page 224
      1         Q. Were you ever trained on how         1   suspicious orders?
      2    to detect suspicious orders for              2         A. No.
      3    prescription medications distributed by      3         Q. Did they get a bonus for
      4    Actavis?                                     4   reporting suspicious orders?
      5         A. Well, controlled drugs,              5         A. No.
      6    sure. That was part of our process that      6         Q. Did they receive any
      7    we were executing on.                        7   performance incentives?
      8         Q. And -- and by trained, is it         8         A. No.
      9    your understanding that the question is      9         Q. So the customer service,
     10    asking for internal -- informal training?   10   nobody on the customer service team
     11             Are you -- when you say            11   received any performance incentive at
     12    sure, are you responding to informal        12   all; is that -- is that correct?
     13    training or --                              13         A. We -- we received
     14         A. It was definitely informal.         14   performance incentives based on our
     15    Whether there was any formal documents      15   performance and the company's performance
     16    that we signed off on, I don't recall.      16   that we talked about earlier.
     17    But certainly informal.                     17         Q. Okay.
     18         Q. Did Actavis's sales                 18         A. But nothing tied to sales
     19    employees get a bonus for exceeding a       19   plans or suspicious orders certainly.
     20    sales quota, if you know?                   20         Q. Okay. So -- so they -- so
     21         A. I have no knowledge of any          21   then, is it correct to say that they did
     22    of their compensation structure.            22   receive performance incentives, but that
     23         Q. Did customer service                23   those incentives are not related to the
     24    employees get a bonus for tracking          24   suspicious order monitoring program?


                                                                56 (Pages 221 to 224)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 57 of 97. PageID #: 211939

                                         Page 225                                         Page 226
       1         A. That's correct.                     1        mute?
       2         Q. Okay. Do you agree that the         2            Thank you. Sorry.
       3    profits of your company increased with      3            MR. ALLEGAERT: If you
       4    the volume of drugs supplied by -- by       4        continue to have that problem you
       5    Actavis to distributors?                    5        can have everybody hang up and
       6         A. So if I can repeat the              6        dial up.
       7    question to make sure I understand what     7            MS. ANTULLIS: We may
       8    you're saying.                              8        discover it's us.
       9             Do I think that, as our            9   BY MS. ANTULLIS:
      10    volume of products shipping increases,     10        Q. So distributors and
      11    our profit would increase?                 11   pharmacies were considered the direct
      12         Q. Mm-hmm.                            12   customers of Actavis, right?
      13         A. One would think so. Right?         13        A. And wholesalers as well,
      14    Unless you're shipping at a loss. I        14   yes.
      15    don't know, if you're doing incremental    15        Q. And wholesalers.
      16    volume, I would imagine your profits       16        A. Yes. Retail chains.
      17    would increase, so...                      17        Q. Was it -- sorry.
      18             MS. ANTULLIS: I just want         18            So as part of your role as
      19         to say. There is some buzzing         19   director of customer service, was it your
      20         going on and we've been hearing it    20   job to make sure that Actavis's customers
      21         all morning. And we think it          21   were satisfied with their interactions
      22         might be somebody who is on the       22   with Actavis?
      23         phone. So maybe can you check to      23        A. Yes.
      24         make sure that your phone is on       24        Q. Was the timely shipping of

                                         Page 227                                         Page 228
      1    orders a component of keeping customers      1   because you sell to them at WAC. I don't
      2    satisfied?                                   2   know. That's not my area. But yes, I've
      3         A. Sure.                                3   certainly heard of chargebacks.
      4         Q. Did you negotiate contracts          4        Q. Was there ever an
      5    or pricing with customers?                   5   investigation into whether or not to use
      6         A. No, I did not.                       6   chargeback data to track your customer's
      7         Q. Did you provide input to the         7   customers?
      8    contracts department on negotiations with    8        A. I'm not sure if it was
      9    customers?                                   9   chargeback data, no, not that I'm aware
     10         A. No, I did not.                      10   of.
     11         Q. Do you have any -- do you           11        Q. Do you have preferred
     12    know if there are any contracts with        12   distributors?
     13    distributors where your per unit price      13        A. Preferred? I don't think
     14    reduces to volume discounts, rebates or     14   I've ever heard a term of preferred
     15    other financial arrangements?               15   versus nonpreferred, no.
     16         A. I really did not have any           16        Q. Do -- do your distributor
     17    involvement in the -- the details of the    17   companies provide any services to
     18    contract. So I couldn't say.                18   Actavis?
     19         Q. Okay. Are you aware that            19        A. Services back to us? Not
     20    chargebacks were being offered to           20   that I can think of.
     21    distributors and wholesalers?               21        Q. You said earlier that you
     22         A. Yeah. Like -- like we               22   purchased data regarding Actavis -- you
     23    mentioned earlier, I -- I feel like         23   purchased Actavis data from distributors;
     24    chargebacks is how business was done,       24   is that correct?


                                                                57 (Pages 225 to 228)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 58 of 97. PageID #: 211940

                                         Page 229                                         Page 230
       1         A. Yeah, I -- I could be wrong.        1        A. Oh, okay. Reevaluate our
       2    But I believe, to be able to see our own    2   contracts. I believe we may have, yes.
       3    data, I believe the wholesalers, and        3        Q. Would you reimburse a
       4    maybe not all, but I believe they charge    4   customer if an order was canceled for --
       5    you for it.                                 5   you know, if a pended order was
       6         Q. And what -- what data was           6   determined to be suspicious, would you
       7    Actavis charged for?                        7   then reimburse payment to the customer?
       8         A. I'd be speaking out of turn         8        A. No, because there would be
       9    to -- to say which data that is. I don't    9   no payment to reimburse. They wouldn't
      10    know.                                      10   have been invoiced.
      11         Q. Was suspicious order               11        Q. Was there any written
      12    monitoring addressed in contracts with     12   standard operating procedure in 2008
      13    distributors and wholesalers?              13   relating to direct suspicious order
      14         A. Was it included in the             14   monitoring?
      15    contract language initially? I don't       15        A. I believe so, but I don't
      16    know. But as part of our                   16   recall what it was called, or I don't
      17    know-your-customer initiative and our      17   recall the details. I'm more familiar
      18    enhancements, yes, it was.                 18   with the later years.
      19              Whether that was linked to       19        Q. And then, did you -- did you
      20    the contract or not, I am unaware. I       20   assist in writing a standard -- does SOP
      21    don't know.                                21   mean standard operating procedure?
      22         Q. Did you reevaluate the             22        A. Correct.
      23    contracts following these suspicious       23        Q. And did you assist with
      24    order monitoring enhancements?             24   writing an SOP for direct suspicious

                                         Page 231                                         Page 232
      1    order monitoring in or around 2011 or        1        Q. So now I want to go back to
      2    2012?                                        2   what we were discussing prior to our
      3          A. Yes.                                3   lunch break, which was whether or not you
      4          Q. Okay. When you worked on            4   felt any pressure from customers to ship
      5    that SOP, did you look back to -- look       5   orders while they're -- to ship pended
      6    back for guidance on Actavis's prior         6   orders while they were under
      7    systems?                                     7   investigation.
      8             Let me -- let me rephrase           8         A. So --
      9    the question.                                9            MS. LEVY: She hasn't asked
     10             What investigation did you         10        you a question yet.
     11    do into Actavis earlier suspicious order    11   BY MS. ANTULLIS:
     12    monitoring system when you began your       12         Q. Yeah.
     13    work on the SOP?                            13        A. I believe --
     14          A. Well, anytime you try to           14        Q. You already answered the
     15    improve any process, the way you approach   15   question. So I'm just -- that's where
     16    it is you look what you have, and you try   16   I'm going back to.
     17    to create a roadmap on where you'd like     17        A. Oh, to that topic. Okay.
     18    to be and take those gaps and fill them     18   Good.
     19    in. And that's what we did. I mean,         19        Q. So I want to introduce some
     20    there was things that we knew we wanted     20   exhibits and I want to discuss -- so the
     21    to enhance and improve. So of course        21   first one is Tab 15, which is Exhibit 7,
     22    when you want to move forward you have to   22   ALLERGAN_MDL_03427457.
     23    look back to see where you're at. So I      23            (Document marked for
     24    would say yes.                              24        identification as Exhibit


                                                                58 (Pages 229 to 232)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 59 of 97. PageID #: 211941

                                         Page 233                                          Page 234
       1          Baran-7.)                              1   to -- I want to -- what did you -- why
       2    BY MS. ANTULLIS:                             2   would you not want to hold up a sale of a
       3          Q. So the only thing I'm going         3   pharmaceutical drug?
       4    to be asking you about is the top e-mail.    4         A. So at the end of the day, my
       5          A. If you don't mind, to make          5   job is -- you want patients to get
       6    sure that I have everything in context,      6   products when it's needed. But that
       7    I'm going to read it from the back           7   doesn't stop the fact that I have a job
       8    forward.                                     8   to do. So, basically, what I'm saying in
       9          Q. I do mind. Because nothing          9   that sentence is, you know, I'm not
      10    else that I'm asking you about has          10   looking to cause a problem where there
      11    anything to do with the rest of the         11   isn't one, but we need to do what we need
      12    e-mail.                                     12   to do. I mean nothing was ever released
      13          A. All right. Let me read the         13   because we felt pressure. I mean, I can
      14    first paragraph first and then I'll feel    14   say that with certainty. I mean, nobody
      15    comfortable with that.                      15   put pressure on us. And I feel
      16          Q. Read the first e-mail.             16   comfortable with that.
      17          A. Yeah. Okay.                        17         Q. Okay. So the next -- the
      18          Q. So I really only have two          18   next question I have is, in the final
      19    questions for you on this. The first one    19   large paragraph. You say, "This is all
      20    is, is in the third paragraph you state,    20   new to us so I'm sure we'll come up with
      21    "I don't want to hold up a sale, and I'm    21   other scenarios like this that we have to
      22    not suggesting that we don't push this      22   think about."
      23    through with the reason given."             23             Do you see that statement?
      24               I want to -- I just want         24         A. I'm going to read the rest

                                         Page 235                                          Page 236
       1    of the message again, because I'm not        1        Q. My question was, what is all
       2    sure of the context of that, "This is all    2   new to us?
       3    new to us," if it's DE -- if it's -- it      3        A. What is all new to us? I
       4    may pertain to UPS's modified process.       4   don't recall this scenario, so it's hard
       5    I'm not sure. I don't know.                  5   for me to say with certainty. But
       6         Q. Why don't you read the               6   reading the information above, it could
       7    paragraph --                                 7   have to do with this -- it certainly is
       8         A. I don't recall.                      8   not new with the UPS, because we had been
       9         Q. -- immediately above it and          9   dealing with them and they had a
      10    that might help.                            10   suspicious order monitoring system. So
      11         A. Okay.                               11   that's not that.
      12             MS. LEVY: If you need to           12            It may have been due to the
      13         read the entire e-mail in order to     13   fact that for the first time ever, we had
      14         be able to answer, you certainly       14   a customer trying to order extra to hit
      15         can do that.                           15   their own personal targets, that I'm not
      16             THE WITNESS: Okay.                 16   aware of. But that's what it appears to
      17             MS. LEVY: Whatever you need        17   me in here. I can't read too much
      18         to do to answer the question.          18   further into it, because I really don't
      19             MS. ANTULLIS: Again, I'm           19   recall this exact scenario. But what I
      20         going to put on the record that        20   can say is the -- you know, "this is new
      21         that's an improper instruction.        21   to us" is certainly not suspicious order
      22             THE WITNESS: I'm ready for         22   monitoring. That, I can say with
      23         your question.                         23   certainty.
      24    BY MS. ANTULLIS:                            24        Q. So I'm going to read you the


                                                                 59 (Pages 233 to 236)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 60 of 97. PageID #: 211942

                                         Page 237                                       Page 238
      1    paragraph above that statement. "I           1   whether or not a pended order should be
      2    obviously don't want to hold up a sale       2   released. So you're looking for an
      3    and I am not suggesting we don't push        3   explanation as to whether that order
      4    this through with the reason given.          4   should be released.
      5    However, I am suggesting that we put some    5            Is that a correct
      6    thought into this and make sure that we      6   interpretation of what's happening in
      7    would feel comfortable with this             7   this e-mail?
      8    explanation to the DEA if it ever came to    8            MS. LEVY: Objection to
      9    that. Probably not, but we should treat      9        form.
     10    each situation as though it could.          10            You can answer.
     11             "Let me know your thoughts,        11            THE WITNESS: Answer?
     12    I want to find ways to accept orders, not   12            With all that in between. I
     13    reject them, but just want to make sure     13        forget the question. But --
     14    we are within accepted procedures and       14            MS. LEVY: If you don't
     15    guidelines. This is all new to us."         15        understand, she can repeat the
     16             Within the context of the          16        question for you.
     17    above sentence, you have discussed          17            THE WITNESS: Yeah, sorry.
     18    explanations is to the DEA, right? The      18        Can you just say that again.
     19    e-mail appears to be a conversation         19   BY MS. ANTULLIS:
     20    regarding an pended order for a drug that   20        Q. What is happening in this
     21    is not at issue in the case. And you are    21   e-mail chain?
     22    trying to determine whether or not -- and   22        A. What is happening in this
     23    you read the entire e-mail, so you can      23   e-mail chain, based on what I'm reading
     24    see in context you're trying to determine   24   and not being there, you know, eight --

                                         Page 239                                       Page 240
      1    you know, nine years ago, it looks to me     1           MS. LEVY: Objection. Asked
      2    that, first of all, in terms of my           2       and answered.
      3    comments on the DEA, I was never afraid      3           You may answer again.
      4    to push that in front of someone and say,    4           THE WITNESS: There -- in
      5    listen, my goal was, you know, we need to    5       this e-mail chain, there's clearly
      6    be compliant. And that statement there       6       an order on hold, and the -- you
      7    is exactly the language I would always       7       know, sometimes when orders are
      8    use.                                         8       investigated and there's due
      9              We always want to make sure        9       diligence, it's black and it's
     10    that we are within accepted policies and    10       white.
     11    procedures and guidelines.                  11           Sometimes when there's a
     12              When I say I'm not looking        12       scenario that comes up, that
     13    to hold up an order, like, listen, I'm      13       you've never experienced before,
     14    not looking to be difficult. But, you       14       you're going to have different
     15    know, we need to look at this, and we       15       areas push back on what's right
     16    need to look at every scenario as though    16       and wrong. And there needs to be
     17    the DEA were standing right next to us      17       someone in the middle that's
     18    because we have an obligation.              18       making sure we're still doing what
     19              And that's kind of my             19       we're supposed to be doing and not
     20    description of the scenario.                20       releasing anything until we're
     21         Q. I appreciate your                   21       satisfied.
     22    information. But that didn't answer my      22           So this is clearly one of
     23    question. My question is what is            23       those discussions where there's a
     24    happening in this e-mail chain?             24       debate, well, is that acceptable


                                                               60 (Pages 237 to 240)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 61 of 97. PageID #: 211943

                                         Page 241                                          Page 242
       1          or not.                                1   business evolves and you are following
       2    BY MS. ANTULLIS:                             2   your procedures, you know, to continue to
       3          Q. Okay. Thank you.                    3   be compliant, you're undoubtedly going to
       4          A. Yeah.                               4   run into new business scenarios that --
       5          Q. So looking at that top              5   you come up against a wall and you have
       6    e-mail chain again. It says, that            6   to say, you know, what's right and what's
       7    sentence says, "I'm not" -- "I am            7   wrong. Like, is this acceptable and is
       8    suggesting that we put some thought into     8   this not. We may not have encountered
       9    this and make sure that we would feel        9   that scenario before. And that's not a
      10    comfortable with this explanation to the    10   surprise. Right? Every scenario is not
      11    DEA."                                       11   the same. And every -- every order was
      12              And then the next -- and          12   treated uniquely. It wasn't a cookie --
      13    then the next paragraph, it says, "I want   13   copy and paste of the one before. So...
      14    to" -- "this is all new to us, so I'm       14         Q. All right. So then is it
      15    sure that we'll come up with other          15   your testimony that "all new to us"
      16    scenarios like this that we have to think   16   relates to the business situation at hand
      17    about."                                     17   and not to a new process for determining
      18              In the -- in the context of       18   whether or not an order is suspicious?
      19    that e-mail, okay, is it -- is it your --   19         A. So my testimony would be,
      20    is it your testimony that "all new to us"   20   sitting in this chair today, seven,
      21    does not relate to justifications for       21   eight years later from when I wrote this,
      22    DEA -- for the DEA?                         22   it's hard to be in my mind. But looking
      23          A. I think the way I would            23   at it, what I would say is that this is
      24    describe "all new to us" is as -- as        24   all new to us is we're coming up with

                                         Page 243                                          Page 244
      1    these different scenarios that we have to     1   ensures our compliance, that other group
      2    interpret and, you know, very carefully       2   may not have that same level of ownership
      3    judge and measure. So that's how, 2018,       3   and accountability. So my answer would
      4    I'm looking back at an e-mail seven,          4   be, I don't know, but it wouldn't
      5    eight years ago, I would interpret my         5   surprise me that that would possibly
      6    comments there.                               6   occur.
      7         Q. And when you say judge and            7        Q. Did you ever feel that
      8    measure, are you saying that you have to      8   people were nonresponsive to your request
      9    judge and measure them for the DEA            9   for information?
     10    justifications?                              10        A. So, nonresponsive, you
     11         A. Up against what the DEA is           11   can -- you can describe that in many
     12    looking for.                                 12   different ways. Nonresponsive sometimes
     13         Q. Okay. Thank you.                     13   just means slow, which yes, I would say
     14             Did you find, during your           14   people were slow. But if they were slow,
     15    course of employment at Actavis, that in     15   then they didn't -- the order didn't get
     16    conducting some of these investigations      16   released. So it was in their benefit not
     17    into pended orders, that people in other     17   to be nonresponsive.
     18    departments were reluctant to provide        18            But, yeah, in business
     19    information?                                 19   today, you always find people that are
     20         A. While I can't say I recall           20   nonresponsive unfortunately. It didn't
     21    any specifics, but it wouldn't surprise      21   change the outcome. If they were
     22    me. I mean, you know, sometimes people       22   nonresponsive, we didn't get what we
     23    aren't cooperative, and when you are         23   wanted, nothing went anywhere, so...
     24    responsible and you own a process that       24        Q. So what would happen, if


                                                                 61 (Pages 241 to 244)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 62 of 97. PageID #: 211944

                                          Page 245                                         Page 246
      1    someone, a salesperson or somebody that       1   were nonresponsive, because salespeople
      2    you reached out to information on a           2   are salespeople. And sometimes they'll
      3    suspicious -- on a pended order, what         3   respond when they want to respond. So,
      4    would happen if they didn't get you           4   you know.
      5    information within a certain, you know,       5        Q. Did you ever have to cancel
      6    within a week?                                6   an order because you failed to get
      7         A. Well, quite frankly, I mean           7   information within a certain amount of
      8    we didn't have any number of days. But I      8   time?
      9    don't really think anything ever went         9        A. Canceling an order because I
     10    extremely long -- long like that.            10   failed to get information?
     11    Ultimately we -- we -- first of all, we      11        Q. Did you ever have to cancel
     12    were dealing with a sales force of I         12   a pended order because you could not get
     13    think it was five people, so we didn't       13   information at a reasonable --
     14    have a lot of different personalities and    14        A. Could not get any
     15    we didn't have 150 people that we were       15   information isn't satisfactory though,
     16    trying to communicate with. So that made     16   because then what if it were -- were
     17    it fairly simplistic. And they respected     17   suspicious. So to me that would be
     18    our role.                                    18   unacceptable, so, no.
     19              So for the most part I would       19        Q. Okay.
     20    say, you know, just from the sales           20        A. I mean, yeah, I mean you
     21    standpoint, they were responsive because     21   can't just -- all right. If you don't
     22    they wanted their customers' orders dealt    22   answer, don't worry about it, because I'm
     23    with. But I can't sit here and testify       23   going to cancel it, like that didn't work
     24    that there weren't scenarios where they      24   that way.

                                          Page 247                                         Page 248
       1         Q. Okay. So if they are -- I            1   average time would be for an
       2    just want to make sure I understand your     2   investigation into a pended order --
       3    testimony.                                   3   order?
       4         A. Yeah.                                4        A. Well, so don't forget, a lot
       5         Q. If there were a pended               5   of them were fairly simplistic because of
       6    order, is it correct to say that you         6   things like new product launches, or new
       7    would investigate the nature of that         7   contract awards or, you know, we just
       8    order to conclusion prior to determining     8   took on additional volume because another
       9    whether or not to cancel or ship the         9   competitor dropped out and the market is
      10    order?                                      10   changing.
      11         A. Yes.                                11            So those -- those type of
      12         Q. Okay. And -- and was                12   things, maybe the first time you didn't
      13    there -- was there a requirement -- was     13   know about it, it took a little bit of
      14    there a written requirement at Actavis to   14   time. But once you were aware, those
      15    conduct an order in a certain period of     15   things were fairly quick. Certainly
      16    time?                                       16   within the same business day.
      17         A. There may have been, you            17            But other scenarios, if it
      18    would have to refer to our SOP. I don't     18   involved, you know, asking questions from
      19    recall. I don't recall time frames.         19   three different departments, certainly it
      20         Q. Okay.                               20   didn't always happen in a day. So it
      21         A. But I also don't recall time        21   could -- it could go a day, two days if
      22    frames really being a business issue, to    22   it needed to.
      23    be honest with you. You know.               23            I don't really -- I may at
      24         Q. Do you remember what the            24   some point in time -- excuse my voice --


                                                                 62 (Pages 245 to 248)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 63 of 97. PageID #: 211945

                                         Page 249                                         Page 250
      1    have run statistics and -- but I don't       1            So I think I'm going to go
      2    recall. I don't recall a number to give      2   ahead and introduce a document that I
      3    you.                                         3   want to ask you questions about --
      4          Q. So do you -- do you remember        4        A. Sure.
      5    an investigation ever taking longer than     5        Q. -- the document. And if you
      6    a week?                                      6   need me to go back --
      7          A. I don't remember one. But           7        A. Okay.
      8    it's not that it wouldn't have been          8        Q. -- I will.
      9    possible.                                    9            So this is going to be
     10          Q. Do you ever remember an            10   Tab 56. This is Exhibit 8.
     11    investigation taking longer than a month?   11            (Document marked for
     12          A. I don't remember one. And I        12        identification as Exhibit
     13    would be very surprised. There would        13        Baran-8.)
     14    have to be some very unusual                14   BY MS. ANTULLIS:
     15    circumstances for that. But I don't -- I    15        Q. I've been looking at
     16    don't recall.                               16   documents far too long. I believe the
     17          Q. Do you remember an                 17   e-mail chain starts on the second page
     18    investigation ever taking longer than six   18   and continues to the first.
     19    months?                                     19        A. It looks like a quick one.
     20          A. Oh gosh. No.                       20   Okay. I'm good.
     21          Q. So, again prior to the --          21        Q. So this appears to be an
     22    the enhancement, prior to 2011, was there   22   e-mail -- first of all, do you recognize
     23    a particular -- I think I've already        23   the document?
     24    asked these questions.                      24        A. Yes.

                                         Page 251                                         Page 252
      1         Q. Do you remember this                 1   manufacturing plant.
      2    exchange?                                    2        Q. At Elizabeth?
      3         A. Yes.                                 3        A. Correct.
      4         Q. In the first e-mail you              4        Q. So she asked you if it was
      5    appear to be e-mailing Michael Clark and     5   possible to change the name of the report
      6    others to ask -- to explain -- to discuss    6   and still continue using the report,
      7    something called the 7.17.5 suspicious       7   right? So earlier on in the e-mail chain
      8    order report. Is this the suspicious         8   you're discussing discontinuing the use
      9    order report that you were referring to      9   of the report with the implementation of
     10    earlier --                                  10   the new -- the enhanced suspicious order
     11         A. Yes.                                11   monitoring program. She's asking whether
     12         Q. -- that was printed out             12   or not it is possible to keep using the
     13    several times a day and that you            13   report.
     14    reviewed?                                   14        A. Correct.
     15         A. Correct.                            15        Q. Because she believes it's
     16         Q. And is that the numerical           16   useful to her team.
     17    number that you were thinking, 7.17.5?      17            MS. LEVY: Object to the
     18         A. Yes.                                18        form of the question. You can
     19         Q. On the next page, who is            19        answer if you understand.
     20    Noemi Rebeco? Who is that?                  20   BY MS. ANTULLIS:
     21         A. Noemi Rebeco, I'm not sure          21        Q. Is that your understanding
     22    of her exact title. It may be listed        22   of what's happening in this e-mail
     23    there. She was essentially a supply         23   exchange?
     24    planner. She was working in the             24        A. Yes.


                                                                63 (Pages 249 to 252)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 64 of 97. PageID #: 211946

                                         Page 253                                         Page 254
      1         Q. Okay. She -- she says the            1   any other scenario. But I'll just use
      2    name could be changed to excess order        2   that one as an example.
      3    report or another name.                      3             When those scenarios happen,
      4              Do you have any                    4   it's really important that we manage our
      5    understanding of why she would change the    5   inventory very closely. And we quite
      6    name to excess order report?                 6   often would use what we referred to the
      7         A. I sure do. I can explain             7   term -- and you may come across it, the
      8    the whole scenario.                          8   word "allocation."
      9         Q. Okay. Please do.                     9             And allocation was nothing
     10         A. So completely outside of            10   more than taking that amount of product
     11    SOM, nothing to do with control drugs,      11   that you have and making very conscious
     12    this is just all of our products across     12   business decisions on how you supplied
     13    the board, one of our weaknesses as a       13   it, with the goal in mind of protecting
     14    company was we had poor inventory           14   your customers that have been on
     15    management reports. So for example, if      15   contract. If a customer was on contract
     16    there was a product shortage or supply,     16   and we've committed to sell them
     17    maybe driven by an issue with API being     17   100 units a month, you know, they're a
     18    unavailable, or the main API supplier       18   priority, versus some random customer
     19    that's supplying everybody that             19   that's going to come in. They've never
     20    manufactures this drug, something           20   bought from us before, but they hear
     21    happened and it's not going to be           21   there's a problem in the market. They've
     22    available, and we know that, and we're      22   been with another supplier, and all of
     23    all going to be driven into a backorder     23   the sudden they are going to try to order
     24    for three months, right. Or it could be     24   that product though us, throw us into

                                         Page 255                                         Page 256
      1    backorder, because we're getting this        1   good, this works for controls. So they
      2    artificial demand that we never had          2   were using it for another purpose in lieu
      3    before; and, therefore, it's impacting       3   of what we were strongly in need of,
      4    our customers that it's our goal to keep     4   which was an inventory management report.
      5    them whole and keep our commitment on        5   Two completely different things.
      6    what we want to supply them to the best      6            And it's really important
      7    of our ability.                              7   that you differentiate, because the topic
      8              So with that being said, we        8   sometimes can get confusing. You need to
      9    never really had a good inventory            9   draw a line in the sand. They're two
     10    management system to make sure that         10   different issues. There's our efforts on
     11    sneaky customers weren't coming in and      11   SOM and there's our efforts on inventory
     12    ordering because they heard in the market   12   management.
     13    there's going to be price increases or      13        Q. Okay. So can I ask you to
     14    because they heard in the market there's    14   go to the second page of this document.
     15    going to be raw material issues.            15   Look at the subject line of the e-mail
     16              So we had no mechanism to         16   and read that to me.
     17    prevent -- and like I said, this is         17        A. Mm-hmm.
     18    not -- this is not control drugs, this is   18        Q. Can you read it out loud,
     19    other drugs, to do that.                    19   please.
     20              So because we had this            20        A. "SOM."
     21    report, that would flag unusual purchases   21        Q. Did you ever use this
     22    on controls, you know, that report was      22   report, the suspicious order report, for
     23    used by supply chain, for example, as       23   tracking suspicious orders, pended
     24    a -- we have nothing else, so this is       24   orders?


                                                                64 (Pages 253 to 256)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 65 of 97. PageID #: 211947

                                         Page 257                                         Page 258
      1          A. The suspicious order report         1   things.
      2    was used for suspicious order monitoring,    2        Q. Does it show excess orders
      3    yes.                                         3   for control drugs?
      4          Q. Okay. So I understand that          4        A. Excess, if they're ordering
      5    the report was also then being used at       5   above their typical historical usage, you
      6    the Elizabeth plant for inventory            6   can call that excess, yeah.
      7    planning purposes; is that correct?          7        Q. Why would -- why would this
      8          A. Yes. It wasn't their end            8   be useful from an inventory planning
      9    all, but it was -- it was their mechanism    9   perspective? Would it be useful from an
     10    to see if anything really outside of        10   inventory planning perspective?
     11    normal ranges was coming on the radar.      11        A. Because she's operating in a
     12          Q. Now, Noemi suggests to             12   different mindset of looking what's in
     13    change the name to excess order report.     13   the pipeline. And if something comes in,
     14    Is that an accurate reflection of what      14   and if it were to be released it would
     15    you see in the e-mail?                      15   set us in complete backorder, if it were
     16          A. Yes. And the reason --             16   to be released. The two are totally
     17          Q. I'm not asking what the            17   different.
     18    reason is she's doing it.                   18        Q. And I'm asking with regard
     19          A. Yes.                               19   to the suspicious order monitoring
     20          Q. I want to know whether or          20   side -- use of the report.
     21    not the suspicious order report shows       21        A. Yeah.
     22    excess orders for control drugs.            22        Q. So I would like to go to the
     23          A. Excess orders -- well, it          23   top e-mail in the chain.
     24    shows other things. It shows many           24        A. Okay.

                                         Page 259                                         Page 260
      1         Q. You say, "Given the criteria         1        Baran-9.)
      2    and logic that this report is built on,      2   BY MS. ANTULLIS:
      3    I'm very surprised that it's so valuable     3        Q. My first question is, is
      4    from an inventory and planning               4   finasteride a controlled substance?
      5    perspective."                                5        A. That was my first question
      6             Can you please just explain         6   when reading this. I probably could have
      7    to me what you mean by the criteria and      7   told you that in the past, but my memory
      8    logic that the report was built on?          8   is lacking. And without that
      9         A. Because it was only going            9   information, the context of this e-mail
     10    after a certain subset of products. And     10   is very hard for me to determine.
     11    she's looking at the entire basket of       11            So that was my question in
     12    products for the entire company. So it      12   reading this too. And if you were to ask
     13    was, to me, not really what she -- it       13   me seven years ago, I would spit an
     14    wasn't what she needed. And that's          14   answer out to you whether it was
     15    pretty -- pretty easily said.               15   controlled. I just don't have them
     16         Q. Okay. I'm going to                  16   memorized anymore, because that would be
     17    introduce another document in the record.   17   nice to know so I could re-read this in
     18    But maybe keep this one in front of you.    18   proper context.
     19         A. Okay.                               19        Q. Okay. Why don't we put this
     20             MS. ANTULLIS: It is Tab 30.        20   aside. We'll come back to it. I will
     21         Exhibit Number 9. It's                 21   verify my understanding of finasteride.
     22         ALLERGAN_MDL_2128037.                  22   And you can feel free to Google it during
     23             (Document marked for               23   the break if you'd like. Okay?
     24         identification as Exhibit              24        A. Good.


                                                                65 (Pages 257 to 260)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 66 of 97. PageID #: 211948

                                         Page 261                                          Page 262
       1          Q. I'm now going to go to Tab          1   2012. But I didn't have the date
       2    26.                                          2   specific.
       3              MS. ANTULLIS: This is going        3        Q. Did the Drug Enforcement
       4         to be Exhibit 10.                       4   Administration make a presentation to you
       5         ALLERGAN_MDL_03302011.                  5   during that meeting?
       6              (Document marked for               6        A. We made a presentation --
       7         identification as Exhibit               7   oh, to them. Yes, they -- they did.
       8         Baran-10.)                              8        Q. Okay.
       9    BY MS. ANTULLIS:                             9        A. I was more focused on our --
      10         Q. So do you recognize this            10   yeah. Sorry.
      11    document?                                   11        Q. The Drug Enforcement
      12         A. The begin -- the beginnings         12   Administration made a presentation to
      13    of what I've seen so far, yes.              13   you; is that correct?
      14         Q. So I will represent to you          14        A. Correct.
      15    that this document was in your custodial    15        Q. And is it also correct to
      16    files, which means it was produced from     16   say that you made a presentation to, you,
      17    your -- your files at Actavis.              17   Actavis...
      18              Do you remember having a          18            Correct -- is it correct to
      19    meeting with the Drug Enforcement           19   say that Nancy Baran made a presentation
      20    Administration in September of 2012?        20   to the Drug Enforcement Administration
      21         A. I vividly remember the              21   during that meeting?
      22    meeting. The date I had mentioned           22        A. So I will say that during
      23    earlier I think in this testimony, I        23   that meeting, I spoke with a room of
      24    estimated it was around September of        24   maybe 20 people for probably close to two

                                         Page 263                                          Page 264
       1    to three hours straight. Whether I           1   information based on what we were doing.
       2    actually put a presentation on the wall      2   Whether I put it in a presentation
       3    or not, I don't recall.                      3   format, I don't remember. But I'm sure
       4          Q. Do you recall --                    4   you'll tell me.
       5          A. It's possible.                      5        Q. If you did create a
       6          Q. Do you recall if you                6   presentation, where would you have kept
       7    designed a presentation for this meeting?    7   it?
       8          A. Oh. Oh, yeah, I would               8        A. If I did, it would have been
       9    have -- yeah, but I just don't know if I     9   on my hard drive, my computer.
      10    displayed and actually demonstrated it or   10        Q. So looking at the document
      11    used it for my own notes. That's the        11   in front of you. Does this appear like
      12    part I don't remember.                      12   something you would have put together?
      13          Q. Do you recall -- do you            13        A. Okay. Give me one minute.
      14    recall if you handed the presentation out   14        Q. And you are free to flip
      15    to other people who were in the -- who      15   through the document of course, but it is
      16    were at the meeting?                        16   a 300-page document.
      17          A. Without knowing if I gave          17        A. Yeah, no, I just -- I just
      18    the presentation, I definitely don't        18   need to get familiarized --
      19    recall if I handed it out.                  19        Q. If you want to read -- if
      20          Q. Okay. But you are -- is            20   you want to read the --
      21    it -- is it correct to say that you         21             MS. LEVY: I'd like for her
      22    are -- you are clear that you did create    22        to read every page of it.
      23    a presentation for this meeting?            23             MS. ANTULLIS: If she wants
      24          A. I know I created a lot of          24        to, she can --


                                                                 66 (Pages 261 to 264)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 67 of 97. PageID #: 211949

                                         Page 265                                        Page 266
       1             MS. LEVY: That was a joke.         1   would have to spend a little time reading
       2             MS. ANTULLIS: -- but we're         2   all this.
       3         going to go off the record and we      3             But, you know, I can tell
       4         can come back tomorrow.                4   based on the information that's in here,
       5             I have no questions on the         5   this is not my presentation.
       6         cases.                                 6        Q. Okay. So is it possible
       7             THE WITNESS: This is not my        7   that this is the presentation that the
       8         presentation.                          8   DEA gave you at that meeting?
       9    BY MS. ANTULLIS:                            9         A. That's what I'm thinking,
      10         Q. So does this look familiar         10   but I would want to look at it a few more
      11    to you?                                    11   minutes.
      12         A. Yes.                               12         Q. I would like to
      13         Q. Without -- without asking          13   ask though --
      14    you any questions about the substance of   14        A. It's the title page that
      15    the presentation at this point in time,    15   confuses me, so...
      16    does it look familiar to you?              16         Q. Why does the title page
      17         A. It's not -- no, it's not           17   confuse you?
      18    what I expected. So a lot of it does not   18         A. Okay. All right. I'm --
      19    look familiar. It doesn't look like        19   I'm clear now.
      20    something -- not that it wouldn't have     20             So this is their
      21    been something I passed along, but not     21   presentation, but it's their meeting with
      22    something that I created for sure. I       22   Actavis Elizabeth which I wasn't thinking
      23    almost wonder if this is the DEA's         23   was -- was us, but it was the entity we
      24    presentation to us. I don't know. I        24   were representing.

                                         Page 267                                        Page 268
      1              So this is the DEA's               1        Q. Do you remember, was anybody
      2    presentation. So, sorry.                     2   else from Actavis present at the meeting?
      3          Q. Okay.                               3        A. Yes.
      4          A. I'm with you now.                   4        Q. Can you please tell me who
      5          Q. So do you recall whether you        5   else you remember being present at the
      6    reached out -- whether you, Actavis          6   meeting?
      7    reached out to the DEA to set up this        7        A. I almost feel like there
      8    meeting?                                     8   could be a fourth person, so I don't want
      9          A. I remember the meeting very         9   to say to you I have this down with
     10    vividly. But, you know, driving here        10   certainty. But the ones I remember
     11    today, thinking about all this and I was    11   vividly, it was myself, and I believe it
     12    like, oh, you know, I'm sure that meeting   12   was John Duff and Michael Clark. I don't
     13    in -- in -- with the DEA will come up.      13   believe there was a fourth person but I
     14              And I'll -- I'll be honest,       14   could be wrong.
     15    I can't remember what the driver was.       15        Q. Was this the first meeting
     16    I -- I will say, we did not call the        16   that you had with the DEA during your
     17    meeting, we were called to the meeting.     17   employment at Actavis?
     18    And the DEA calls you to go there, you      18        A. First meeting I had,
     19    go. That's all I remember. I don't          19   correct.
     20    remember the context of why we were         20        Q. Okay. How many times did
     21    called.                                     21   you meet with the DEA during your time at
     22          Q. Do you remember who from the       22   Actavis?
     23    DEA called you to set up this meeting?      23        A. Twice.
     24          A. No.                                24        Q. Was the second time in


                                                                67 (Pages 265 to 268)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 68 of 97. PageID #: 211950

                                         Page 269                                         Page 270
      1    October of 2012?                             1         Q. So I have a couple of
      2          A. That would make sense. I            2   questions to unpack that to make sure I
      3    would say it's about a month, a couple       3   understand what you're saying.
      4    weeks after the initial meeting. It was      4            My first question is what is
      5    a follow-up. So that would make sense.       5   rolled-up data?
      6          Q. So do you recall the purpose        6         A. Well, to -- rolled-up data
      7    of this meeting with the DEA?                7   is probably a really poor description.
      8          A. So the -- the purpose and           8   It was looking at hey, do you know where
      9    the driver and the root cause of why we      9   your product is going, that kind of
     10    were there, I don't really -- it's not      10   context.
     11    even that today I don't recall that.        11         Q. And was that data that you
     12    I -- I don't even think I could tell you    12   provided to the DEA?
     13    seven, eight years ago what the reason      13         A. No. That was data the DEA
     14    was we were there.                          14   provided to us.
     15              But when you're called to a       15         Q. And you said -- you said
     16    meeting with the DEA, you go. Why they      16   something about the context around which
     17    were calling it, I don't know. We           17   this meeting occurred?
     18    certainly didn't know ahead of time.        18         A. Well, I mean, I --
     19    Based on the context of the meeting, you    19         Q. Is that an accurate -- am
     20    know, I could tell you about that a         20   I -- am I accurately stating your
     21    little bit. But I don't know what the       21   testimony?
     22    real driver was, other than to educate us   22            You used the word context.
     23    on rolled up -- you know, some of our       23         A. Like I don't know -- when I
     24    rolled-up data.                             24   said context, I don't know the purpose.

                                         Page 271                                         Page 272
      1    Like I feel like they had a motivation       1         A. Yeah. And vividly may be a
      2    and they had a purpose.                      2   strong word. But I certainly remember
      3          Q. Well, what did you believe          3   sitting there. And I certainly remember
      4    the context to be?                           4   being asked all kinds of questions. I
      5          A. But --                              5   remember stepping them through our
      6          Q. When you used the word              6   process. And I remember the feeling I
      7    context, what did you believe the context    7   got when we left.
      8    to be?                                       8         Q. What was the feeling you got
      9          A. I don't know. Maybe context         9   when you left?
     10    isn't a good word. I mean I know what       10         A. The feeling I got when I
     11    the discussions were when we got there,     11   left was -- was kind of two different
     12    but, you know, if -- if you were to have    12   things. They were almost -- well, first
     13    the DEA describe in one sentence the        13   of all, they were like wow, like they
     14    reason they brought us there, I don't       14   were very impressed with what we had done
     15    think I would have had that back then       15   already and the direction we were heading
     16    versus now, you know.                       16   in, which was our new initiative.
     17             They -- they may have been,        17             And I can't say with
     18    you know, taking the opportunity to         18   certainty, but I got the impression that
     19    validate our compliance and what we were    19   like we were ahead of the curve, that
     20    doing, you know. I'm sure they had a        20   nobody else was doing that yet.
     21    couple different motives.                   21             So the -- the impression I
     22          Q. So you testified that you          22   got left with was they are like, you
     23    vividly remember the meeting itself; is     23   know, wow, you guys are doing a great
     24    that correct?                               24   job.


                                                                68 (Pages 269 to 272)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 69 of 97. PageID #: 211951

                                        Page 273                                          Page 274
      1             The second impression I got,        1   things that we were doing. And, you
      2    I left with, and this is my only -- my       2   know, I felt good about it. And I felt
      3    personal opinion, nothing was verbally       3   really good when I saw how impressed they
      4    ever said, I almost feel like they were      4   were.
      5    like disappointed, like damn, you know,      5        Q. Do you remember any of the
      6    like, I don't know, were they trying to      6   specific questions that they asked you
      7    get something on us or use us to get         7   during the meeting?
      8    something on someone else. I don't know.     8        A. Specific questions, no.
      9    It was never clear to me, the purpose of     9   Just high level topics, you know, we
     10    the meeting. But I don't feel like they     10   talked the indirect and the direct piece.
     11    got what they wanted, which I believe, in   11   Specific questions, not really, other
     12    my opinion, and I know nothing to           12   than what I mentioned earlier, like, you
     13    validate this, but that's why they came     13   know, do you know where your product is
     14    back for a second smaller meeting.          14   going, you know.
     15             They were still looking to         15        Q. And what did you tell them
     16    get something that they didn't get from     16   when they asked you do you know where
     17    us. So I don't really know what it was.     17   your product is going?
     18    It was just -- it's the only way I can      18        A. Well, that's when we -- we
     19    describe it. But they were very             19   told them that based on our first line
     20    impressed. And I left -- to be honest       20   initiative, yeah, we know where our
     21    with you, I'm usually a pretty modest       21   product is going, to our direct
     22    person. But I left pretty proud, because    22   customers. We have full control over
     23    I sat there with every confidence on        23   that. We have a tight process.
     24    everything we had done and all the new      24            And in terms of where our

                                        Page 275                                          Page 276
      1    customers' customers are shipping it,        1   the DEA has a headquarters there.
      2    that's something where we've created this    2        Q. Okay.
      3    initiative. We're branching out to kind      3        A. So I believe that's where it
      4    of get that data so that we could, you       4   was, yeah.
      5    know, take a stronger role in the process    5        Q. Do you recall any
      6    and be better partners with our customers    6   discussions with Doug Boothe before or
      7    who, to that point, we had no reason to      7   after the meeting that were you a part
      8    believe they weren't willing to be good      8   of?
      9    partners with us. You know, we had some      9        A. It's very possible. He
     10    pretty good -- good meetings with them.     10   wouldn't be someone that I didn't talk
     11    We sent some strong messages, saying        11   to. Not that he'd be someone that I
     12    here's where we stand. Here's what we're    12   talked to that frequently. But none that
     13    doing. Here's what you need to do as a      13   I recall specifically.
     14    good partner. And we didn't get anything    14        Q. Do you recall him ever
     15    back that would ever have given me the      15   expressing concern to you about this
     16    impression that they weren't fully on       16   meeting?
     17    board.                                      17        A. Expressing concern? You
     18         Q. So, during the meeting --           18   know, I think, you know, one of the
     19    first of all, how long was the meeting?     19   things about Doug -- so for everybody
     20         A. I'm going to estimate three         20   else's knowledge, Doug was my boss's
     21    hours.                                      21   boss. And much like my boss who had
     22         Q. And where did it occur?             22   every confidence in me, he knew what he
     23         A. It was somewhere in                 23   was getting and he knew that I deal
     24    Washington, D.C. I believe -- I believe     24   with -- you know, dig into the details,


                                                                69 (Pages 273 to 276)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 70 of 97. PageID #: 211952

                                         Page 277                                         Page 278
      1    and when I do something, I do it all the     1   what I think of.
      2    way. Doug had that same level of             2        Q. In this presentation --
      3    confidence in me.                            3        A. In this presentation --
      4             You know, I'm sure he was           4        Q. -- do you recall the DEA
      5    probably curious like, what the heck, why    5   discussing the oversupply of oxycodone in
      6    are we being called to the DEA, you know,    6   Florida with you?
      7    because we didn't even know.                 7        A. I remember at some point in
      8             But I don't recall specific         8   some conversation somewhere, and it may
      9    conversations, no.                           9   have been with the DEA, but I can't be
     10         Q. Okay. Thank you. Do you             10   certain, that someone made a comment
     11    recall a discussion of Florida --           11   about, you know, X percentage of drugs
     12    Florida, oxycodone in Florida during this   12   are going into Florida or whatever. But
     13    DEA presentation?                           13   I can't be certain what that comment was
     14         A. Specific to Florida, I mean,        14   or where it was taken. So I'd have to
     15    over the course of business we had a lot    15   say no to you. I don't know.
     16    of discussions on Florida, because we --    16        Q. Okay. I'm going to direct
     17    you know, with licensing and all their      17   you to --
     18    special requirements on documentation and   18        A. I know they gave us --
     19    how the documents would be printed, so      19        Q. -- the back of this lengthy
     20    Florida was one of those states that came   20   presentation?
     21    up a lot. We had to make a lot of           21        A. I know they gave us all
     22    customizations in terms of our documents    22   kinds of charts and bar graphs and --
     23    to be compliant, like, from a state         23        Q. Mm-hmm. So it starts on
     24    level. So when you say Florida, that's      24   ALLERGAN_MDL_03302237.

                                         Page 279                                         Page 280
       1         A. The last four digits, 2227?         1        Q. -- what ARCOS data is?
       2         Q. 2237.                               2        A. Yes. It was a blank to me
       3              MS. LEVY: 37.                     3   before when you mentioned it.
       4              THE WITNESS: Mine is a            4        Q. So looking at this chart, it
       5         blank page. My 2237 is virtually       5   says, "Top 50 pharmacies, sales of
       6         a blank page.                          6   oxycodone, 50 milligrams." There's an
       7    BY MS. ANTULLIS:                            7   NDC code, in 2010.
       8         Q. It should say, "Actavis top         8        A. Yes.
       9    50 pharmacy sales, 2010-2012."              9        Q. And then it lists buyers by
      10         A. Yes. Okay.                         10   their DEA number, county, city, state,
      11         Q. If you look at it                  11   total, et cetera.
      12    horizontally. Okay.                        12             Do you have any
      13              So let's flip to the first       13   understanding of what this chart purports
      14    page of that chart on the next page. Do    14   to be tracking?
      15    you see at the bottom right corner where   15        A. Yes.
      16    it says, "Source: ARCOS"? Very, very       16        Q. Okay. What do you believe
      17    far bottom right.                          17   this is?
      18         A. That's what ARCOS is, okay.        18        A. Well based on what I'm
      19         Q. Do you see that listed             19   looking at here, it's taking pharmacies
      20    there, ARCOS?                              20   from across the country and classifying
      21         A. Yes.                               21   them by rank and purchases using a
      22         Q. Does that help you refresh         22   buyer's DEA number.
      23    your understanding as to --                23        Q. And is this -- to your
      24         A. What ARCOS is.                     24   understanding, do you remember, is this


                                                                70 (Pages 277 to 280)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 71 of 97. PageID #: 211953

                                         Page 281                                         Page 282
      1    oxycodone manufactured by Actavis?           1   is, now that I remember the term ARCOS,
      2         A. Based on that NDC, it looks          2   the DEA -- and listen, I've been wrong
      3    to me to be what was our NDC, yes.           3   before, but we've discussed this so many
      4         Q. Okay. So do you have any             4   times. The DEA is the only one sitting
      5    understanding of why the DEA was             5   with this data collectively rolled up
      6    presenting you with the lists of the top     6   from not -- and when I say rolled up in
      7    pharmacies prescribing oxycodone             7   that term, I mean from Actavis, from
      8    manufactured by Actavis?                     8   whoever the other companies are,
      9         A. Sure.                                9   Mallinckrodt, Purdue, some of the names
     10         Q. So what was your                    10   that you mentioned earlier, where, you
     11    understanding of why they were presenting   11   know, we would never have visibility and
     12    these lists?                                12   the true full picture to what a pharmacy
     13         A. So it kind of falls in line         13   was getting at the end of the day.
     14    to where we were taking our initiatives     14            What we could tell and what
     15    to the next level. And it also falls in     15   our efforts were to make sure we knew
     16    line to my comment earlier, that they       16   what was happening with our product. But
     17    were impressed, because what we were        17   that's the limit of our ability.
     18    doing, had we been given longer for this    18            But the importance of the
     19    meeting, we would have been giving them     19   topic is, listen, it doesn't matter if
     20    this data, right, because it's looking      20   they're getting one NDC of oxy 15.
     21    at, you know, one pharmacy, and what        21   Because they may also be getting two or
     22    product they're getting of yours from       22   three others, and the collective picture
     23    different sources.                          23   is what matters.
     24             But the one thing I will say       24            So to me that's a

                                         Page 283                                         Page 284
      1    challenging question, is -- whether it be    1        A. I don't know if I could say
      2    Actavis or any other -- I can't speak for    2   that. That may have been the case. But
      3    any other manufacturers. But those other     3   not that I recall. If I had to summarize
      4    manufacturers, just the same, they don't     4   what I think it was about, it was
      5    have our data. I mean, we wouldn't share     5   twofold. Like creating an awareness, hey
      6    data. We wouldn't get together and say,      6   look, look at this data. And also what
      7    let's all see what pharmacy is getting       7   are you guys doing? Like, what's your
      8    what so that we can make sure that any       8   process? It was really a twofold
      9    one is not getting too much. So it's --      9   meeting.
     10    it's complicated.                           10            But I don't remember
     11               And unless you're sitting in     11   anything to do about what your question
     12    a spot where you have access to DEA         12   just was.
     13    information completely rolled up --         13        Q. So are you saying that
     14          Q. So my question was whether         14   Actavis didn't have any insight into the
     15    you had a sense of why the DEA was          15   other manufacturers' sales of oxycodone?
     16    presenting a list of the top 50             16        A. At a customer level? I mean
     17    pharmacies prescribing                      17   I can't imagine we would ever have any
     18    Actavis-manufactured oxycodone.             18   data of another manufacturer at a
     19               Is it your testimony --          19   customer level. I mean I don't think
     20    please correct me. Is it your testimony     20   that would ever happen.
     21    that the DEA was showing you this           21            Would we have data in terms
     22    information to do a comparative analysis    22   of overall units in the market and market
     23    between Actavis and other manufacturers'    23   share -- possibly. But, yeah, I don't
     24    sales of oxycodone?                         24   know. I don't know which part of that


                                                                71 (Pages 281 to 284)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 72 of 97. PageID #: 211954

                                        Page 285                                         Page 286
      1    question, where you were going.              1   referred to customer, I was trying to
      2         Q. Well, when you say customer          2   speak in the same terms of this report
      3    level, what are you -- what -- how are       3   you're showing me. Customer is a DEA
      4    you defining customer in that statement?     4   registrant level.
      5         A. I mean would we be sitting           5        Q. Okay. Were you familiar
      6    there and would the DEA be sharing with      6   with ARCOS data prior to this meeting?
      7    us --                                        7        A. Familiar, you know, heard
      8         Q. No, my question is --                8   the term. But I did not utilize ARCOS
      9         A. -- all the other                     9   data. I don't even know who, if anyone,
     10    manufacturers?                              10   had access. I don't know who had access
     11         Q. My question is --                   11   to ARCOS data.
     12              MS. LEVY: Make sure you're        12        Q. Have you ever seen ARCOS
     13         listening really carefully to the      13   data?
     14         question that she's asking you.        14        A. Well, if this is ARCOS data,
     15              THE WITNESS: Yeah. Yeah.          15   which it says it is, then this I've seen.
     16    BY MS. ANTULLIS:                            16   So, yes.
     17         Q. The question is what your           17        Q. Outside of these reports,
     18    definition of customer is in your           18   have you ever seen anything from the DEA
     19    statement when you said we don't have       19   showing ARCOS data?
     20    customer level data on other                20        A. From the DEA outside of
     21    manufacturers' sales.                       21   this? I don't recall being shared any
     22         A. Okay. Thank you for the             22   additional ARCOS data.
     23    clarification.                              23        Q. So I'm going to flip to
     24              In that statement when I          24   those colorful charts now.

                                        Page 287                                         Page 288
      1         A. Mm-hmm.                              1        A. I do not recall. I know it
      2         Q. So I'm going to go to the            2   wasn't me. I believe -- I can't say,
      3    beginning of those colorful charts.          3   because I would be guessing. I don't
      4    There's a little page here that              4   recall the person.
      5    explains --                                  5        Q. Do you know what -- okay.
      6             MR. LOVRIEN: Can you direct         6   Do you know what department would be
      7         us to a page number?                    7   responsible for submitting ARCOS reports
      8             MS. ANTULLIS: 2257 are the          8   to DEA?
      9         last four digits. So it should          9        A. I don't -- I don't -- no.
     10         have the colored lettering.            10        Q. Okay. I'm going to go ahead
     11    BY MS. ANTULLIS:                            11   and flip to the next page. So the next
     12         Q. So please read that first           12   page is a fun colored chart. It's titled
     13    paragraph there.                            13   UPS Supply Chain Top Customer Sales in
     14             It says, I'll just read it         14   Dosage Units of Oxycodone 50 Milligrams.
     15    into the record. It says, "The following    15   Then there is that NDC number again. Two
     16    charts and graphs have been compiled from   16   NDC numbers.
     17    ARCOS reports your firm has previously      17        A. Mm-hmm.
     18    submitted to DEA. The data was reviewed     18        Q. Do you recognize those NDC
     19    and the purchases of a few of your          19   numbers?
     20    customers will be addressed during our      20        A. Yes.
     21    discussion."                                21        Q. Okay. Are those Actavis
     22             Who at Actavis submits             22   products?
     23    information -- submits ARCOS -- who at      23        A. Yes. I believe -- I believe
     24    Actavis submits information to the DEA?     24   they both are.


                                                                72 (Pages 285 to 288)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 73 of 97. PageID #: 211955

                                         Page 289                                         Page 290
      1         Q. Do you recall -- so you'll           1   charts?
      2    remember from the previous page it said      2        A. They went over the data and
      3    that the DEA said they want -- they          3   they virtually said what we were seeing.
      4    wanted to discuss certain customers with     4        Q. Okay. So what did they say
      5    you during the meeting.                      5   we were seeing here?
      6             Do you recall whether any of        6             What is your understanding
      7    these customers were actually discussed      7   of what these charts reflect?
      8    with you during that meeting, the ones       8        A. It's just giving us a
      9    that are listed on the charts?               9   picture, by product, by NDC, by customer
     10             Do you recall discussing           10   and by volume for a certain time period
     11    Walgreens during that meeting?              11   so that we can visually have that
     12         A. I don't -- I don't recall           12   discussion.
     13    any conversations ever pinpointed to one    13        Q. Okay. So what was the
     14    customer or another, yeah.                  14   discussion regarding the data that's
     15         Q. Okay. Do you recall looking         15   depicted in these charts?
     16    through these charts generally?             16        A. So the discussion once again
     17         A. Yes.                                17   goes back to where the meeting started
     18         Q. The colored charts?                 18   and where we spent the bulk of our time.
     19         A. Yes.                                19   I feel like this was like the end of the
     20         Q. Do you recall any discussion        20   meeting. We took maybe -- let's say the
     21    regarding these colored charts?             21   meeting was three hours. We took the
     22         A. Yes. I don't recall what --         22   first two hours.
     23         Q. Do you recall anything that         23             So this was a very small
     24    the DEA said to you regarding the colored   24   part of the meeting. The -- the meeting

                                         Page 291                                         Page 292
      1    was really focused on tell us about your     1   walked away and made our own follow-up
      2    processes, what do you do, and then this     2   items.
      3    was kind of at the end from what I           3        Q. Okay. So again I'll unpack
      4    recall.                                      4   that a little bit. So my first question
      5         Q. So do you recall any                 5   then, which I believe you've answered.
      6    discussion regarding these charts in         6   I'm going to ask it and make it clear on
      7    particular?                                  7   the record.
      8         A. Not -- not deep discussions,         8             Did the DEA ask you to do --
      9    but discussions enough, you know, look at    9   take any steps regarding your suspicious
     10    the chart, turn the page, yeah.             10   order monitoring program following this
     11         Q. Okay. Do you recall any             11   meeting?
     12    action items that came out of this          12        A. I do not recall any specific
     13    meeting?                                    13   steps the DEA said we want you to take.
     14         A. I don't know if they were           14   I know we took steps. But I don't recall
     15    action items designated from the DEA, but   15   that coming from the DEA, as I recall it.
     16    certainly we walked away -- I mean we --    16        Q. So you -- did you meet with
     17    we looked at this as an opportunity --      17   your colleagues from -- from Actavis who
     18    and we didn't look at this meeting as       18   were present at this meeting after the
     19    punishment. We looked at this meeting as    19   meeting?
     20    an opportunity to make us better.           20        A. At that very moment, like
     21             So we certainly walked away        21   that day or?
     22    with follow-up items, but I don't believe   22        Q. That night.
     23    those were like the DEA said, you know,     23        A. I -- I don't believe so.
     24    you need to go do this. I think we          24   Not that I recall. I may have gotten on


                                                                73 (Pages 289 to 292)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 74 of 97. PageID #: 211956

                                         Page 293                                         Page 294
      1    a train right away.                          1   that -- that you all, and I don't want to
      2         Q. Okay.                                2   misstate your testimony. I'm probably
      3         A. But certainly we debriefed           3   going to here, so...
      4    on it at some point, whether it was          4             You all designed action
      5    another day or another couple of days, I     5   items following the meeting; is that
      6    don't -- I don't recall.                     6   correct?
      7         Q. Did you memorialize the --           7        A. There were action items that
      8    the contents of this meeting for any         8   came out as a result of this meeting that
      9    superiors at Actavis?                        9   we -- we took away, that listen, let's
     10         A. Oh I'm sure we did. In what         10   take what we're seeing and figure out how
     11    context --                                  11   to make us better, yeah.
     12         Q. But did you?                        12        Q. So what were some of those
     13         A. -- I don't know.                    13   things that you took away that would make
     14         Q. Did you?                            14   you better?
     15         A. Did I?                              15        A. Having discussions with our
     16              I don't know if I would           16   wholesalers, you know, and meeting --
     17    have, or John or Michael. I'm sure          17        Q. What would those discussions
     18    someone came back and, you know, like I     18   be about?
     19    would have come back and said to my boss    19        A. -- meeting with our
     20    how the meeting went. I'm sure they         20   wholesalers.
     21    would have done the same, but I don't       21             First of all, we -- we met
     22    remember any formal nature of it. I         22   with our key three wholesalers, McKesson,
     23    don't -- I don't recall.                    23   Cardinal and AmerisourceBergen, at their
     24         Q. So you stated, you testified        24   locations.

                                         Page 295                                         Page 296
      1               We went over the regulation       1           THE VIDEOGRAPHER: This
      2    to make sure we are all on the same page     2       session? 1 hour and 23 minutes.
      3    and had the same understanding. You          3           MS. ANTULLIS: Okay. So I
      4    know, had dialogue about things like that    4       think this is a good time to take
      5    letter from 2007 and how vague it is and     5       a break if everyone is amenable to
      6    how the DEA, even if you put together        6       that. I need some water.
      7    this amazing system, still won't tell you    7           THE VIDEOGRAPHER: Okay.
      8    that it's -- that it's what it needs to      8       Please remove your microphones.
      9    be.                                          9       The time is 2:49 p.m. Off the
     10               You know, but we really          10       record.
     11    talked about the -- the regulation and      11           (Short break.)
     12    the focus of -- of those initial meetings   12           THE VIDEOGRAPHER: We are
     13    was us presenting, here just so you know,   13       back on the record. The time is
     14    Mr. Wholesaler 1, 2, and 3, here is what    14       3:10 p.m.
     15    we're doing and here is our expectation     15   BY MS. ANTULLIS:
     16    of you. That was really that intention.     16       Q. Okay. Hi. Good afternoon.
     17    And that was -- yeah, that's what I can     17           At any point during your
     18    say.                                        18   employment at Actavis, were you the
     19         Q. Okay.                               19   senior person in charge of the suspicious
     20         A. I don't know the timing,            20   order monitoring program?
     21    like I don't know when that occurred        21       A. Senior person in charge of
     22    though, to be honest.                       22   executing and driving the project. But
     23               MS. ANTULLIS: How long --        23   ultimately, it was owned by our
     24         how long have we been going?           24   compliance executives. I mean, they were


                                                                74 (Pages 293 to 296)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 75 of 97. PageID #: 211957

                                         Page 297                                         Page 298
       1    the owners. But I was managing it and        1        Q. Do you know what department
       2    running it, so it depends on how you --      2   reported suspicious orders to the DEA
       3         Q. Who did you report -- did            3   when they were discovered?
       4    you report to anybody regarding the          4        A. I believe it may have been
       5    suspicious order monitoring program?         5   our security group. But I -- I can't
       6         A. I reported to Michael                6   recall with certainty.
       7    Perfetto, and informally I reported and      7        Q. You discussed the security
       8    worked with legal and compliance, John       8   group before. What did the security
       9    Duff and Michael Clark.                      9   do -- what did the security group do?
      10         Q. Do you recall receiving             10        A. I'm not an expert on their
      11    guidance or instructions from John Duff     11   role and their job description. But very
      12    and Michael Clark regarding the             12   high level, they had a lot of different
      13    suspicious order monitoring procedures      13   responsibilities, in terms of plant
      14    and policies?                               14   security. You know, I don't really want
      15         A. Guidance from them?                 15   to speak to their roles.
      16        Q. Mm-hmm.                              16        Q. But --
      17         A. Sure. They were part of the         17        A. I'd rather not, because I
      18    project team. So yes. They would have       18   may not get it accurate.
      19    provided guidance.                          19        Q. I understand. But you've
      20         Q. Who at Actavis reported             20   used the term "the security team" several
      21    suspicious orders to the DEA when they      21   times. So I'm asking for what your
      22    were discovered?                            22   understanding is of what the security
      23         A. I can't be certain of that          23   team is generally, if you have an
      24    answer.                                     24   understanding.

                                         Page 299                                         Page 300
       1         A. So what I can say in terms           1   Smith employed at Actavis the entire time
       2    of this project, because they have many      2   that you were there?
       3    elements to their job, right, which I        3        A. I don't know -- I don't know
       4    can't speak to. But they were a part of      4   her employment dates. I know for a
       5    this initiative, that spanned across         5   period of time that I was there. Who
       6    different areas, right. You had my team      6   came first, who left first, I don't
       7    that was managing the orders and the         7   recall.
       8    reports coming in. You had legal and         8        Q. Earlier you discussed a
       9    compliance. And I could still visualize      9   security agreement, I believe in the
      10    you know, something that I wrote to this    10   context of only specific departments
      11    effect, that provided the legal input and   11   having access to the suspicious order
      12    insight and guided us on the regulation     12   guidelines.
      13    and all that. And then you had the          13            Do you recall that?
      14    security -- I mean, I say -- it wasn't      14        A. No. It wouldn't be having
      15    like a huge department, I think it was      15   access to guidelines. What I was
      16    like one or two. And ultimately it was      16   referring to, if it's the conversation I
      17    them, if I recall correctly, that was       17   believe you're referring to, is the
      18    responsible for reporting. It's just        18   ability to release orders. That was
      19    been so long.                               19   security driven just like entering an
      20         Q. Who were the people in the          20   order or releasing an order off credit
      21    security department?                        21   hold. Every command in the system was
      22         A. The only name I remember is         22   driven by a set of security criteria in
      23    Kelly Smith.                                23   terms of who had access to that.
      24         Q. Kelly Smith. And was Kelly          24        Q. And that criteria -- is that


                                                                 75 (Pages 297 to 300)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 76 of 97. PageID #: 211958

                                         Page 301                                         Page 302
      1    criteria memorialized in writing?            1   about -- you mentioned the security
      2         A. I'm sure it would have to            2   earlier. And when I think of security,
      3    be.                                          3   it's the mechanism and the ability to
      4         Q. How was the criteria                 4   touch an order and release an order.
      5    communicated to you?                         5         Q. Okay.
      6         A. Communicated to you? I               6             (Discussion off the record.)
      7    believe there was a system-generated         7             THE VIDEOGRAPHER: The time
      8    report that would show who had access to     8         is 3:16 p m. Off the record.
      9    different commands. And even outside of      9             (Brief pause.)
     10    SOM, any functional area was responsible    10             THE VIDEOGRAPHER: We are
     11    to make sure that tasks and -- and          11         back on the record. The time is
     12    processes and what I would call commands    12         3:22 p m.
     13    in the system were only accessed by those   13   BY MS. ANTULLIS:
     14    that were authorized to do so. And it       14         Q. So prior to the break, we
     15    was -- there weren't -- it was very few.    15   were discussing the DEA suspicious order
     16    Probably less than one hand that had that   16   notifications, so who notified the DEA
     17    access.                                     17   when there was a suspicious order.
     18         Q. Okay. So very few. You              18             You testified, I believe,
     19    mean had access to --                       19   that the -- that the -- the security
     20         A. Yeah.                               20   department would have been the one to
     21         Q. -- the suspicious order             21   notify the DEA of suspicious orders when
     22    reports?                                    22   discovered; is that correct?
     23         A. Oh not the reports. No. I           23         A. Yes, to the best of my
     24    thought -- thought you were talking         24   knowledge.

                                         Page 303                                         Page 304
      1         Q. And was that -- was that the         1   least one. How many more I don't recall.
      2    case both before the security -- the SOM     2   But I don't know any details about it.
      3    enhancement and after?                       3   It's been too long.
      4         A. Yeah, I don't believe that           4         Q. Okay. But is it -- so
      5    wouldn't have been any different, that       5   you've testified that -- that you
      6    aspect.                                      6   remember at least one situation in which
      7         Q. What did you do when a               7   a pended order was deemed suspicious,
      8    pended order was deemed to be suspicious?    8   that you were involved in?
      9         A. So I'll be honest with you,          9         A. I believe -- I believe there
     10    I don't recall any specific customers or    10   was one.
     11    orders or details along that nature. And    11         Q. Do you remember who you
     12    although we had many that got close,        12   discussed that suspicious order with?
     13    because we didn't have the information we   13         A. Whatever the scenario was,
     14    needed, but eventually we were able to      14   and I don't recall the specifics, it was
     15    make sense of things.                       15   reported to the DEA. What the ultimate
     16             I can't tell you any               16   outcome was, in that specific scenario, I
     17    specifics about orders that were            17   don't remember.
     18    suspicious, or how many there even were     18         Q. Do you remember who -- who
     19    that were ultimately reported.              19   that particular customer was?
     20         Q. So do you recall any                20         A. I -- I can't say for
     21    situation that you were involved in where   21   certain, when an order was reported as
     22    a pended order was deemed suspicious        22   suspicious, who it would have been. I
     23    after investigation?                        23   know there was -- there was one customer
     24         A. I know there -- there was at        24   that just comes to mind that was -- that


                                                                76 (Pages 301 to 304)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 77 of 97. PageID #: 211959

                                         Page 305                                         Page 306
      1    may have been someone we reported. But       1   more than ten?
      2    if I say it, I may be wrong.                 2            MR. LUXTON: Objection.
      3          Q. And so, during your time at         3            MS. ANTULLIS: What's the
      4    Actavis, and by your time at Actavis, I'm    4       objection? I just don't -- I want
      5    referring to both 2008 through 2017.         5       to understand if I can --
      6          A. Mm-hmm.                             6            MR. LUXTON: She said she
      7          Q. Do you recall more than one         7       doesn't remember. So, I mean, you
      8    incident in which an order of interest       8       can keep asking her. She says she
      9    was investigated and deemed suspicious       9       doesn't remember. So that's the
     10    that you were involved in?                  10       objection.
     11          A. So my responsibility changed       11   BY MS. ANTULLIS:
     12    for many of those years, so I wouldn't      12       Q. Do you remember if it was
     13    have been necessarily part of that. So      13   more than ten?
     14    there may have been some. But I don't       14       A. Well, I don't remember it
     15    know. So I can't speak for some years.      15   being more than one, so I definitely
     16          Q. All right. So are you              16   wouldn't remember it being more than ten.
     17    aware --                                    17       Q. So what would have been the
     18          A. In terms of what I'm aware,        18   protocol prior to -- prior to the
     19    I don't remember -- I don't remember a      19   enhancement in 2011 and 2012, what would
     20    number.                                     20   have been the protocol, or what was the
     21          Q. Do you remember if it was          21   protocol when an order was deemed
     22    more than one?                              22   suspicious?
     23          A. I don't remember, no.              23       A. So very important, there was
     24          Q. Do you remember if it was          24   never -- our process was such that maybe

                                         Page 307                                         Page 308
      1    there was, you know, one line on the         1        A. Yeah. At that point, that
      2    order that was suspicious. But maybe it      2   would be the limit of our ability, to
      3    was a five or 50-line-item order.            3   cancel the order.
      4             If something were deemed            4        Q. Would you then notify the
      5    suspicious the entire order was canceled.    5   customer that their order had been
      6    You know, we couldn't take the quantities    6   canceled?
      7    and reduce it to a point that made it not    7        A. Because I don't remember the
      8    suspicious. You know, that's just not        8   scenario of how many times it would have
      9    how it worked. So the entire order, to       9   happened, let alone when it happened. I
     10    answer your question, would have been       10   don't recall the details of how the
     11    canceled and reported to the DEA.           11   customer would have been communicated. I
     12         Q. And who -- who did you              12   would venture to guess it was handled in
     13    report that suspicious order                13   a very sensitive, proper way. But I
     14    determination to?                           14   don't recall.
     15         A. Well, like I said earlier, I        15        Q. Do you recall what the
     16    believe it was our DEA security group.      16   protocol -- was there any protocol
     17         Q. So you believed then that           17   regarding communications with customers
     18    you reported directly to that group, and    18   following a canceled order?
     19    that group then reported the order to the   19        A. They would be notified the
     20    DEA; is that correct?                       20   order was canceled.
     21         A. Yes.                                21        Q. Was any investigation
     22         Q. And your department then was        22   required following a canceled order into
     23    responsible for canceling the order; is     23   the customer who placed the order?
     24    that correct?                               24        A. Investigation -- what type


                                                                77 (Pages 305 to 308)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 78 of 97. PageID #: 211960

                                         Page 309                                         Page 310
      1    of investigation?                            1        A. Well, because we weren't
      2         Q. Were you required to                 2   deeming orders suspicious on a daily
      3    investigate the customer following a         3   basis, there wasn't an everyday protocol.
      4    canceled order?                              4   It wasn't something that happened every
      5         A. I only remember one                  5   day. And the scenario may have been
      6    scenario. And to be honest, whether it       6   different. So we would have consulted
      7    was a suspicious scenario or not, we         7   our internal experts who would consult
      8    had -- I remember one scenario with a        8   the DEA, and the scenario would have been
      9    customer. And we were told by the DEA to     9   handled based on their instruction.
     10    continue business as normal. I think        10        Q. And who were those internal
     11    they were investigating them. They were     11   experts that you would have consulted?
     12    on their radar, and they didn't want to     12        A. Like I mentioned, our -- we
     13    do anything unusual.                        13   have a compliance officer, and our
     14             That's the only                    14   security person, which is a former DEA.
     15    customer-specific scenario that I           15        Q. Was there a group named DEA
     16    remember. It turns out that that            16   affairs at Actavis at any point?
     17    customer was later -- we shut them down.    17        A. Yes, but not during this
     18    We decided we didn't want to do business    18   time period.
     19    with them.                                  19        Q. Okay. So DEA affairs as a
     20         Q. So then is it fair to say           20   group came into being after the 2011-2012
     21    that there was no clearly delineated        21   enhancement?
     22    protocol for how to communicate with        22        A. That's correct.
     23    customers following the cancellation of a   23        Q. How did you consult
     24    suspicious order?                           24   compliance and security when you needed

                                         Page 311                                         Page 312
      1    information on how to approach a customer    1   method of communication would you consult
      2    following a pended order, a suspicious       2   with them?
      3    order?                                       3        A. Could be any -- any method.
      4         A. Well, I have to say that             4   It could be an e-mail. It could be a
      5    your question is talking about how we        5   phone call. It could be walking down the
      6    approached the conversations. But when I     6   hall and see them.
      7    said earlier this is not something that      7        Q. Did you ever e-mail
      8    happened often, I was estimating it was      8   compliance for questions about
      9    once that we really had something that       9   guidance -- for seeking guidance on
     10    was finally deemed suspicious. So I         10   suspicious order monitoring issues?
     11    don't really have a lot to say more about   11        A. I don't recall specifics.
     12    our protocol. It was -- I really can't      12   But it's possible.
     13    say any more than I think I already have.   13        Q. Do you recall any phone
     14         Q. How would you -- did you            14   calls to compliance regarding suspicious
     15    consult compliance and security for         15   order monitoring issues?
     16    guidance on issues related to the           16        A. I don't recall specifics,
     17    suspicious order monitoring program?        17   but it's very possible. You know, I
     18         A. When, if needed, sure. I            18   don't -- I don't know details.
     19    mean, I was in a role to lead something.    19        Q. Do you recall e-mailing
     20    But that doesn't make you an expert, so     20   security, the security department with
     21    you have to leverage your resources when    21   specific -- with the questions about the
     22    you need them, yeah.                        22   suspicious order monitoring?
     23         Q. And how would you -- how            23        A. My answer would be the same
     24    would you consult with them? By what        24   for that. It's possible. I don't


                                                                78 (Pages 309 to 312)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 79 of 97. PageID #: 211961

                                         Page 313                                        Page 314
      1    remember.                                    1   who you would have notified prior to
      2          Q. All right. So is it -- is           2   2011; is that correct?
      3    it -- I just want to make sure I             3        A. I don't -- it's too long
      4    understood your testimony. From 2008 to      4   ago. I don't remember that.
      5    2011 you reported -- your protocol was to    5        Q. Would you have been the only
      6    report suspicious orders to security; is     6   person in the customer service department
      7    that correct?                                7   who would have notified either security
      8          A. The earlier years, to be            8   or whomever else was responsible for
      9    honest, before we made the enhancements,     9   reporting the DEA orders?
     10    I don't recall who it was. I know that      10        A. I -- yes.
     11    the later years of that period was          11        Q. So nobody else in the
     12    security. Who it was before that, I         12   customer service department would have
     13    don't recall.                               13   been responsible for contacting security
     14          Q. So -- so you know then, so         14   to tell them about a suspicious order?
     15    as of -- is it as of 2012 the security      15        A. No. They would be engaged
     16    department is the team that you would       16   in the initial process and the leg work
     17    have notified if there were suspicious      17   and the due diligence. But it wouldn't
     18    order? Is that correct?                     18   have been left to them, no.
     19          A. I'm going to estimate around       19        Q. Okay. Do you recall -- let
     20    2011, '12. But that's not to say that it    20   me just strike that question.
     21    wasn't the same in 2010 or '9, I just       21             Did Actavis ever halt
     22    don't remember.                             22   shipments of opioids in quantities that
     23          Q. So you don't -- so right.          23   it knew could not be justified?
     24    So then -- so then you do not remember      24             MR. LUXTON: Objection.

                                         Page 315                                        Page 316
      1              THE WITNESS: What does that        1        Q. Okay. When did that meeting
      2         mean? Okay. Did we halt                 2   happen?
      3         shipments of opioids that we knew       3        A. Like I said, it was
      4         could not be justified? Well,           4   approximately, give or take a month after
      5         that -- I mean, what you're saying      5   the initial meeting, but I can't say with
      6         is a suspicious order. That's the       6   certainty.
      7         same question as what we had            7        Q. Who from Actavis was at that
      8         before.                                 8   meeting? Hold on.
      9              And I don't recall, like I         9            Were you at that meeting?
     10         said, if we had one order or a         10        A. Yes.
     11         few. I don't remember.                 11        Q. Who from Actavis besides you
     12    BY MS. ANTULLIS:                            12   were at that meeting?
     13         Q. Okay. Following the                 13        A. I can't say with certainty,
     14    September 2012 meeting with the DEA, did    14   but I have a feeling it was certainly the
     15    the DEA contact you again to request a      15   same audience that went to Washington a
     16    follow-up meeting?                          16   month prior.
     17         A. I don't recall who                  17            Beyond that, anyone
     18    specifically, but they did not contact me   18   additional, I don't recall. I almost
     19    personally.                                 19   feel like it was a Part 2, the same
     20         Q. Do you remember who they            20   audience.
     21    contacted?                                  21        Q. So that meeting, that
     22         A. No.                                 22   followed a month -- that occurred a month
     23         Q. Did a meeting happen?               23   after the September 2012 meeting, was it
     24         A. Yes.                                24   with the same DEA officials?


                                                                79 (Pages 313 to 316)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 80 of 97. PageID #: 211962

                                         Page 317                                          Page 318
      1         A. I believe it was two                  1   sure.
      2    gentlemen. I don't know their names.          2        Q. So suspicious order
      3    And I am almost positive that they were       3   monitoring enhancement started in -- at
      4    in the same audience as the original          4   some point in 2011; is that correct?
      5    meeting. But it was only two versus what      5        A. Correct.
      6    was initially many. It was a much             6        Q. When did it go active,
      7    smaller meeting.                              7   the -- the new program?
      8         Q. Do you recall the -- the              8        A. I don't have that date in
      9    conversation that occurred at that            9   front of me to say for sure.
     10    meeting?                                     10        Q. Might it have been
     11         A. Not specifically. It was             11   approximately the end of 2012?
     12    almost just a come back again and ask the    12        A. I don't think it was that
     13    same questions, go through the same          13   late, no. I mean, you had an
     14    things again. But I don't remember           14   exhibitor -- exhibit earlier that spoke
     15    anything specific that was -- stood out      15   about, hey, we just implemented this, we
     16    to me as the real purpose of that            16   want to shut it down. So it had to be
     17    meeting.                                     17   around that same time period.
     18         Q. Were there any action items          18             I -- I feel like the
     19    that arose from that meeting?                19   project, in -- in its entirety was -- I
     20         A. None that I'm aware.                 20   don't think it was that long. But I
     21         Q. What was your understanding          21   don't -- I don't know a go-live date.
     22    of what that meeting's purpose was?          22        Q. I just want to ask you
     23         A. Once again we were asked for         23   some -- some general questions about the
     24    a meeting and you don't say no. You say      24   policies, and then I'm going to show you

                                         Page 319                                          Page 320
       1    a document and ask you some questions        1   was a suspicious order monitoring
       2    about that related to the policies.          2   steering committee, correct?
       3         A. Okay.                                3        A. Yes.
       4         Q. So you stated -- you                 4        Q. And was that committee
       5    testified earlier that if there were a       5   implemented as part of the 2011
       6    suspicious order determined, you would       6   enhancements?
       7    report that to the security department,      7        A. Yes. And they were --
       8    correct?                                     8   essentially just sat there to ensure that
       9         A. Yes, but I also testified            9   the effort -- the initiative was driven
      10    that I was almost certain of that, but      10   and it was supported from top down. That
      11    not certain. I --                           11   was the concept.
      12         Q. Okay.                               12        Q. Do you ever report any
      13         A. That's -- that is my                13   orders of interest to the steering
      14    recollection.                               14   committee?
      15         Q. So were there any -- did you        15        A. Once again, not remembering
      16    report that, that suspicious order to any   16   how many, if any, you know, had one, or
      17    other groups within Actavis?                17   whatever it was, it's hard for me to say
      18         A. It wouldn't have been               18   if we did report it to the steering
      19    something that we broadly -- broadly        19   committee.
      20    announced. Other groups? No other           20        Q. So just to clarify --
      21    specific groups that I can think of other   21        A. But --
      22    than legal and compliance.                  22        Q. -- for -- for you --
      23         Q. And what was the role of            23        A. -- it probably wouldn't
      24    the -- you testified earlier that there     24   surprise me if we did.


                                                                 80 (Pages 317 to 320)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 81 of 97. PageID #: 211963

                                         Page 321                                          Page 322
       1          Q. Did you -- did you report           1   whatever areas we needed support from, we
       2    any orders of interest? So I'm not           2   got it. I mean that was their role.
       3    asking about --                              3        Q. And did -- did the
       4          A. Orders of interest.                 4   steering -- steering committee have any
       5          Q. -- suspicious orders, I'm           5   role in investigating an order of
       6    asking about orders of interest.             6   interest?
       7              Did you ever report orders         7        A. That wasn't their function.
       8    of interest to the steering committee?       8        Q. Did the steering committee
       9          A. That really wasn't the              9   have any role in deciding whether or not
      10    purpose of the steering committee to --     10   to report a suspicious order to the DEA?
      11    to put orders in front of them that         11        A. That too wasn't their
      12    weren't deemed suspicious. So --            12   function.
      13          Q. So is that no?                     13        Q. Okay. So I'm going to show
      14          A. I don't -- I don't know --         14   you another document now, if I can find
      15    it's an I don't know. I don't know          15   it.
      16    whether we'd be -- yeah, I don't know.      16             MS. ANTULLIS: It is
      17          Q. Okay. What was the purpose         17        Number 55, sir.
      18    of the steering committee?                  18             (Document marked for
      19          A. Steering committee was, as I       19        identification as Exhibit
      20    stated earlier, to provide support from     20        Baran-11.)
      21    the top down regarding the initiative, to   21             MS. ANTULLIS: So Exhibit 11
      22    ensure we had the resources we needed,      22        is ALLERGAN_MDL_03382709.
      23    the funding to buy consultants. And the     23             THE WITNESS: Thank you.
      24    support more than anything else, so that    24   BY MS. ANTULLIS:

                                         Page 323                                          Page 324
      1         Q. So Exhibit 11 appears to be           1        A. Based on what I'm seeing on
      2    an e-mail with two attachments. Can you       2   October 26th, I would say yes, but that
      3    please look at these two attachments and      3   doesn't necessarily imply that the
      4    just tell me if they are familiar to you?     4   procedure was never modified.
      5         A. Yes, they are.                        5        Q. Okay. But do you have any
      6         Q. And in your e-mail, the               6   reason to suspect that the attachments
      7    cover page, please take a look at that.       7   are not representative of final drafts?
      8    The subject line says direct and indirect     8        A. I don't believe so.
      9    SOPs Actavis. And then it lists a file        9        Q. So I want to -- I only want
     10    name for the two attachments.                10   to ask you one question about this, other
     11              Do you see that?                   11   than what I've already asked you, which
     12         A. Correct.                             12   is, on Page 2713, which is Page 4 of 5 of
     13         Q. So the first file name says          13   the first attachment.
     14    SOM SOP and business procedure direct        14        A. Okay.
     15    final.docx. The second one says SOM SOP      15        Q. In Section 9, it's titled
     16    and business procedure indirect              16   reporting a suspicious order to the DEA.
     17    final.dox -- docx.                           17   Do you see that at the bottom?
     18              Is it your understanding           18        A. Yes.
     19    then, looking at this e-mail and looking     19        Q. Okay. So 9.1 it says, "If
     20    at the attachments, that this represents     20   an order cannot be cleared of suspicion,
     21    the final standard operating procedures      21   Actavis DEA affairs will alert the local
     22    that were written for the direct and         22   office of DEA by phone of the suspicious
     23    indirect suspicious order monitoring         23   order activity."
     24    program in 2012?                             24        A. Correct.


                                                                 81 (Pages 321 to 324)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 82 of 97. PageID #: 211964

                                         Page 325                                        Page 326
       1        Q. Do you see that?                     1       document.
       2        A. Yes.                                 2           MR. DEARMAN: Okay. You
       3        Q. Is Actavis DEA affairs the           3       asked for 39.
       4    same thing as the security department?      4           MS. ANTULLIS: Did I? My
       5        A. That was the role. It's the          5       apologies. 28. Sorry, guys.
       6    same, one and the same.                     6           MR. DEARMAN: It shows on
       7        Q. So they are the same entity?         7       the realtime. You shouldn't have
       8        A. Yes.                                 8       ordered the real-time if you
       9        Q. Okay. Thank you. That was            9       didn't want it.
      10    my question.                               10           MS. ANTULLIS: I believe it.
      11            Next. There we go. It's            11           It's because 39 is backwards
      12    Tab Number 39. This is Exhibit 12.         12       right here, you see?
      13    Actavis 1136380.                           13           MR. DEARMAN: Did you read
      14            (Document marked for               14       the Bates range into the record?
      15        identification as Exhibit              15           MS. ANTULLIS: I read that
      16        Baran-12.)                             16       Bates range into the record as
      17            MS. ANTULLIS: Where is the         17       Exhibit 12.
      18        rest of the document?                  18           MR. DEARMAN: Okay. You
      19            MR. DEARMAN: Where is the          19       did. So I just want to make sure
      20        rest of the document?                  20       we're not messing the exhibits up.
      21            MS. ANTULLIS: We're going          21           MS. ANTULLIS: All right.
      22        to have to come back to that.          22       So this should be Exhibit 12. And
      23            No, actually, I'm sorry, but       23       that is Tab 28.
      24        you're handing me the wrong            24           MR. DEARMAN: All right. So

                                         Page 327                                        Page 328
      1         just state on the record that           1   Health, and McKesson, correct?
      2         Exhibit 12 is, and the Bates            2        A. Yes.
      3         range.                                  3        Q. And so did you in fact have
      4             MS. ANTULLIS: To clarify,           4   meetings with all three of those
      5         Exhibit 12 is a Bates range             5   distributors?
      6         starting at ACTAVIS_1136380.            6        A. Yes, we -- yes, we did.
      7             It's still not the right            7        Q. So Exhibit 12 appears to be
      8         one.                                    8   an e-mail from you attaching a
      9             MR. DEARMAN: 29.                    9   presentation. Does this -- do you
     10             MS. ANTULLIS: 28.                  10   recognize this document? Do you
     11             Sorry, guys. Bear with us.         11   recognize the e-mail?
     12             MS. LEVY: Is that -- are           12        A. I recognize the document.
     13         you going to keep this Exhibit 12?     13   And the e-mail I just put my eyes on for
     14             MS. ANTULLIS: I don't know.        14   the first time so -- okay.
     15         I don't know what it is.               15        Q. Okay.
     16    BY MS. ANTULLIS:                            16        A. Yep.
     17         Q. So you testified earlier            17        Q. Do you remember sending this
     18    that following the meeting with the DEA     18   presentation to Michael Perfetto and
     19    in September of 2012, you scheduled         19   Michael Clark and John Duff and John
     20    meetings with the top three distributors,   20   LaRocca?
     21    correct?                                    21        A. No, but I did.
     22         A. Yes.                                22        Q. Do you have any reason to
     23         Q. And so those distributors           23   believe that you didn't send this in the
     24    then would be AmerisourceBergen, Cardinal   24   ordinary course of business?


                                                               82 (Pages 325 to 328)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 83 of 97. PageID #: 211965

                                         Page 329                                         Page 330
      1         A. No.                                  1   middle categories.
      2         Q. So I want to go to the               2       Q. Okay. So --
      3    presentation. I am not going to ask          3       A. Definitely the order
      4    about much of it. But there's -- there       4   monitoring piece for sure.
      5    are some convenient charts in the back       5       Q. Okay.
      6    that I'd like to go over with you. So        6       A. And can I read this just for
      7    the first one starts at ACTAVIS_1136388.     7   one minute. It's just been a long time.
      8         A. Yes.                                 8   I want to refresh my memory on this.
      9         Q. So this appears to be a              9           MS. ANTULLIS: We can -- do
     10    responsibility tree related to the SOM      10       you mind if we actually take a
     11    process; is that correct?                   11       break for a minute?
     12         A. Yes.                                12           MR. DEARMAN: While she's
     13         Q. Is that your understanding?         13       reading this, I just want to talk
     14              So it begins with SOM             14       to you for a second.
     15    steering committee at the top. And then     15           MS. ANTULLIS: We don't need
     16    it has four branches. One is legal and      16       to take a break. What?
     17    regulatory, one is order monitoring, one    17           MR. DEARMAN: You take off
     18    is know your customer, one is DEA           18       your thing. You don't need to
     19    intelligence; is that correct?              19       take a break while she's reading.
     20         A. That's correct.                     20           MS. ANTULLIS: Oh, all
     21         Q. So do you fall -- does the          21       right. Go ahead.
     22    customer service team fall into one of      22           THE WITNESS: Yep, I only
     23    these prongs -- branches?                   23       need one minute.
     24         A. We sit really in the two            24           THE VIDEOGRAPHER: Do you

                                         Page 331                                         Page 332
      1         want to stay on the record?             1   harder. So let's just -- this appears to
      2             MS. ANTULLIS: Yeah, go              2   be, like, a decision tree for the
      3         ahead.                                  3   indirect sales process in terms of how to
      4    BY MS. ANTULLIS:                             4   determine whether or not an order is
      5         Q. Did you have a chance to             5   suspicious. Is that your understanding
      6    read that page?                              6   of what this page represents?
      7         A. Well enough, yes. Thank              7        A. Yes.
      8    you.                                         8        Q. So, if you see the first
      9         Q. So does this page fairly             9   green box at the top, it says, "ValueTrak
     10    represent what you understand to be the     10   data."
     11    SOM reporting process following the 2012    11        A. Yes.
     12    enhancement?                                12        Q. "Indirect sales, i.e.,
     13         A. I wouldn't define it as a           13   customer's customer data," correct?
     14    reporting. It wasn't a reporting            14        A. Correct.
     15    process. It was a roles and                 15        Q. Again, do you know what that
     16    responsibilities more accurately stated.    16   data contains?
     17         Q. So next I want to go to Page        17        A. I know it could be easily
     18    10 to that presentation, which is Actavis   18   answered by the right person. But I'm
     19    1136391.                                    19   not the right person.
     20         A. Yes.                                20        Q. And that -- would that
     21         Q. Okay. Now, I apologize, it          21   person be Rachelle Galant?
     22    is hard to read. I promise you that it      22        A. Yes.
     23    is better than the original copy I saw,     23        Q. Okay. And so if you look at
     24    which was black and white and much, much    24   the top, the top orange arrow on your


                                                                83 (Pages 329 to 332)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 84 of 97. PageID #: 211966

                                         Page 333                                         Page 334
      1    left, it says, "SOM steering committee       1   compared to like customers.
      2    identifies criteria threshold for            2            It was really just coming up
      3    customers of interest."                      3   with that foundation. It wasn't, you
      4               Do you see that?                  4   know, anything deeper than that at that
      5          A. Yes.                                5   level.
      6          Q. Okay. And on the right              6         Q. And do you have any
      7    arrow, orange, it says, "DEA                 7   recollection -- well, first of all, if
      8    intelligence, advising/counseling,           8   you determined that a -- that there was a
      9    identifies products of interest based on     9   customer of interest, would you
     10    DEA input and market conditions."           10   investigate that customer?
     11               Do you see that?                 11         A. Anything of interest would
     12          A. Okay.                              12   be investigated, yes.
     13          Q. Okay. So the SOM steering          13         Q. And if you deemed a customer
     14    committee then, is it correct to say that   14   to be placing suspicious orders, if that
     15    they gave you -- that they were to          15   were the result of the investigation, who
     16    provide guidance on what criteria would     16   would you, Nancy Baran, report that
     17    establish a customer of interest?           17   information to?
     18          A. The only guidance that that        18         A. That's hard to say, because
     19    would really be applying to is at a very    19   it would probably be a combination. And
     20    high level what our approach was. It was    20   it's one of those things, it hasn't
     21    a three-pronged approach that I spoke to    21   happened too often, so I don't recall.
     22    earlier, looking at how many different      22   But it would have probably been a
     23    sources a customer is buying from, their    23   combination of the legal, compliance, and
     24    historical purchases, and their purchases   24   the DEA person. I mean, you have to

                                         Page 335                                         Page 336
      1    realize we weren't 700 people. It was        1        A. Yes.
      2    fairly simple and quick access to get to     2        Q. Okay. During that time from
      3    someone you needed. They weren't very        3   the time of implementation until the
      4    far removed.                                 4   Watson acquisition, did you ever deem a
      5         Q. Looking at this chart, do            5   customer to be of interest?
      6    you believe that this accurately             6        A. That's the same answer as
      7    represents what the decision tree would      7   before. I don't recall. I feel like
      8    have been at that time of October of         8   there may have been one. There could
      9    2012?                                        9   have been more. But I don't remember.
     10         A. Yes. However, I will go on          10        Q. Okay. I'm going to go, just
     11    record stating that the indirect process    11   very quickly, to -- well, actually, I can
     12    was something new. Like I said, even the    12   just ask generally. This presentation
     13    DEA said I don't think anybody else was     13   was a presentation that you gave to
     14    doing it. We were cutting edge. It was      14   AmerisourceBergen; is that correct?
     15    new. And if we had continued this           15        A. I believe. I lost track of
     16    process here, I'm sure it would have        16   where we're at.
     17    changed five times.                         17        Q. Look at the title pages.
     18             So to answer your question,        18        A. Yes, yes.
     19    this reflects it as you see it as of this   19        Q. Look at the title pages.
     20    time. Yeah.                                 20   6382.
     21         Q. Was the indirect suspicious         21            Do you recall what you
     22    order monitoring process ever implemented   22   discussed at that presentation?
     23    at Actavis prior to the Watson              23        A. The primary focus of that
     24    acquisition?                                24   meeting was engaging in dialogue and


                                                                84 (Pages 333 to 336)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 85 of 97. PageID #: 211967

                                        Page 337                                         Page 338
      1    coming across strong but not harsh          1   speak a lot to it because I transitioned
      2    because they weren't the enemy. We had      2   out of that role very quickly after this,
      3    no reason to believe they weren't           3   and it became removed from my
      4    supported. We were coming across to give    4   responsibilities, so...
      5    our message on, listen, here's the          5        Q. Were you aware as of
      6    regulation as we understand it. Make        6   October 2012 of what AmerisourceBergen's
      7    sure we're on the same page. Here's what    7   SOM policies and procedures were?
      8    we're doing, and we expect your ongoing     8        A. I believe that's the same
      9    support in the process. It was -- it was    9   question. I don't know their specific
     10    that kind of meeting.                      10   policies. We know they had a process,
     11         Q. During that meeting, did           11   but my answer is the same as before.
     12    they explain their suspicious order        12        Q. So -- so my question is
     13    monitoring process to you?                 13   actually just, were you aware of their
     14         A. If they did, it would have         14   process at that time. I'm not asking
     15    been very minimal. I don't believe that    15   what the process was, I just want to know
     16    was the purpose of this meeting, and       16   if you were aware of it in October 2012.
     17    there was time for that. You know, I       17        A. No. Was I aware of it in
     18    don't recall. I don't think we got into    18   detail, no.
     19    details at this meeting.                   19        Q. Okay. So we're going to go
     20         Q. Sitting here now, are you          20   to another exhibit now.
     21    aware of what AmerisourceBergen's          21             MS. ANTULLIS: I promise
     22    suspicious order monitoring process was    22        it's Number 42.
     23    as of October 2012?                        23             (Document marked for
     24         A. Sitting here now, I can't          24        identification as Exhibit

                                        Page 339                                         Page 340
      1         Baran-13.)                             1        A. I didn't read it yet. I'm
      2             MS. ANTULLIS: Okay. So             2   sorry. Okay.
      3         this is supposed to be Exhibit 13?     3        Q. Okay. So the -- this e-mail
      4             MR. LOVRIEN: Yes.                  4   references suspicious order letters. Can
      5             MS. ANTULLIS: And it's             5   you please explain to me what the
      6         ALLERGAN_MDL_01796473.                 6   suspicious order letters were?
      7             THE WITNESS: Thank you.            7        A. To clarify, they were not
      8    BY MS. ANTULLIS:                            8   suspicious order letters.
      9         Q. I apologize. This chart is          9        Q. Okay. Can you look at
     10    incredibly tiny.                           10   the --
     11         A. That's okay.                       11        A. Yeah.
     12         Q. I don't actually have              12        Q. -- the subject of the
     13    questions about the chart though.          13   e-mail. It says suspicious order
     14         A. Yeah, that's okay. I mean I        14   letters/update.
     15    know what the concept of what it was and   15        A. Yeah, so it's -- suspicious
     16    what the purpose was for it, so...         16   order letters may be misleading so I'll
     17         Q. So then do you recognize           17   explain what it was. We sent our
     18    that chart?                                18   customers a letter outlining the
     19         A. Yes.                               19   expectations of our relationship and what
     20         Q. Do you recognize this              20   we expected of them. And it was -- it
     21    e-mail, e-mail chain?                      21   was a compliance agreement more than
     22         A. Yes.                               22   anything else. And we asked for them to
     23         Q. Do you remember sending the        23   sign off on the fact they were agreeing,
     24    top e-mail?                                24   agreeing to what we were expecting.


                                                               85 (Pages 337 to 340)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 86 of 97. PageID #: 211968

                                          Page 341                                         Page 342
       1    Basically that's the only way I can          1   be wholesalers?
       2    explain it.                                  2       A. Yes.
       3         Q. And what were the                    3       Q. Would that be distributors?
       4    expectations that you outlined in that       4       A. Yes.
       5    letter?                                      5       Q. Would that be pharmacies?
       6         A. Following the -- the letter          6       A. No.
       7    of the regulations. I mean it was as         7       Q. Would it be prescribers or
       8    simple as that.                              8   patients?
       9         Q. So why did you send your             9       A. No.
      10    customers a -- a letter asking them to      10       Q. So how many wholesaler
      11    follow the regulations?                     11   customers did you have as of 2012, did
      12         A. This was part of our "know          12   Actavis have as of 2012?
      13    your customer" initiative.                  13       A. I don't recall the number.
      14         Q. Okay. Were those letters            14       Q. Do you recall approximately?
      15    then sent out to all of your customers?     15       A. No. I know our customer mix
      16         A. Yes. That were buying               16   never changed much, but I don't know a
      17    control drugs.                              17   number to give you.
      18         Q. Okay. And how do you define         18       Q. Do you recall if it was more
      19    customer in the context of these letters?   19   than 100?
      20         A. Anyone that we personally           20       A. I don't know a number.
      21    were distributing to.                       21       Q. All right.
      22         Q. So who would that be?               22       A. I mean --
      23         A. A whole list of --                  23       Q. Okay.
      24         Q. Would that be -- would that         24       A. It would be pretty easy to

                                          Page 343                                         Page 344
       1    find that out. But no, I don't have a        1   parentheses it says ABC and McKesson.
       2    number to give.                              2            And then it says, "Our
       3         Q. Okay. So let's read the --           3   largest chains, Walgreens and Walmart,
       4    the e-mail. It says, "I think we should      4   have not responded."
       5    come up with a plan as to how we will        5            Do you see that?
       6    follow up with these customers. 30           6        A. Yes.
       7    customers out of 48 that we're selling       7        Q. Okay. Did ABC ever respond
       8    controlled drugs to is not" --               8   with the letter signed?
       9    "controlled drugs is not a great response    9        A. I don't recall who
      10    rate."                                      10   ultimately signed. And then shortly
      11             What response rate are             11   after this, as you can read in the
      12    you -- are you talking about in that        12   e-mail, I was transitioning and this role
      13    e-mail?                                     13   was no longer mine. And -- and I think
      14         A. The documents being returned        14   it even says it in here somewhere, that I
      15    back to us signed.                          15   was looking to hand it over as clean and
      16         Q. Okay. So are you expressing         16   as diligent as possible. What would have
      17    concern in this e-mail that customers are   17   happened after that would not be for me
      18    not -- certain customers are not            18   to know.
      19    returning the documents signed?             19        Q. Do you recall when you
      20         A. Not as quickly as we would          20   handed it over to the next person who
      21    have liked. So we were following up.        21   took over responsibility for this role,
      22         Q. Okay. And then it says that         22   whether the record was clean as you put
      23    "two out of three of our top wholesalers    23   it?
      24    have not even responded," and in            24        A. It was as clean as we got it


                                                                 86 (Pages 341 to 344)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 87 of 97. PageID #: 211969

                                         Page 345                                          Page 346
       1    by that point, but I don't know to what      1   signed letter to your knowledge?
       2    extent, if it looked like this, or           2         A. Same -- same answer.
       3    something else.                              3         Q. Go ahead.
       4          Q. Do you remember if there was        4        A. So I guess the very simple
       5    still outstanding letters that had not       5   way I would describe this without making
       6    been returned at that time?                  6   our transcript 900 pages, and this is
       7          A. There may have been. I              7   just my opinion, it doesn't mean it's
       8    don't recall exactly.                        8   fact, but, you know, even after our
       9          Q. Do you recall whether               9   meeting with the DEA, and having them
      10    McKesson ever sent -- returned a signed     10   hear what our initiatives were on the
      11    letter?                                     11   indirect side and how we were engaging in
      12          A. I don't recall. I would            12   all these -- all of these "know your
      13    like to -- I have something to say on the   13   customer" activities, to make sure that,
      14    topic if I can shed some light.             14   You know, our partnership with companies,
      15          Q. Let me ask just two                15   we were both doing what we should be, and
      16    questions that are related, and then you    16   we were -- we were held accountable in
      17    can -- you can do that.                     17   protecting the integrity of the supply
      18          A. Okay.                              18   chain and preventing diversion. I mean
      19          Q. Was -- did Walgreens ever          19   that's what we were there to do.
      20    return a signed letter to your knowledge?   20            But when -- when I told you
      21          A. I have no way of remembering       21   earlier we left that meeting with the
      22    or knowing that. I don't -- don't --        22   impression like wow, here's -- I don't
      23    know.                                       23   think anybody -- I can't say for certain,
      24          Q. Did Walmart ever returned a        24   but I don't think anybody was doing this

                                         Page 347                                          Page 348
      1    yet.                                          1             I remember some of them say
      2             So I know I took a long              2   okay, great, but I have to review this by
      3    route to get there, but what I'm telling      3   my legal, you know.
      4    you is, I don't think, in my opinion,         4             So it was really more of a
      5    these wholesalers or Walmart or whomever      5   combination of it being new than them
      6    else you just mentioned, were                 6   wanting to reject us and be
      7    nonresponsive because they didn't want to     7   nonresponsive.
      8    agree to what we were asking to, I think      8             I can't speak for why they
      9    it was like wow, you know, we -- we hold      9   wouldn't have signed it like, that week.
     10    our customers to signing off on              10   That's not for me to speak to. But I can
     11    agreements, but we've never had a            11   speak to why some of the reasons I think
     12    manufacturer do that to us. So it was        12   it took a little -- little bit longer
     13    probably something new. And as you can       13   than we would have hoped.
     14    imagine, when something is new, it           14        Q. Okay. And do you have any
     15    probably gets picked up and someone is       15   independent knowledge as to why McKesson,
     16    like, well, I don't know, who in the         16   AmerisourceBergen, Walgreens or Walmart
     17    organization should sign that. And then      17   may have been slow in responding?
     18    it goes on the next person's desk, and       18        A. I think that's -- I think
     19    then it sits there on two weeks because      19   that's in that explanation I just gave,
     20    they are traveling. I mean I imagine         20   you know.
     21    that the slow response, in my best, most     21        Q. Well, you prefaced your
     22    professional opinion, is because, A, this    22   explanation by saying it was an opinion.
     23    was new, it's something that these           23   I'm ask -- I'm asking if you have any
     24    organizations had to take, absorb.           24   independent knowledge.


                                                                 87 (Pages 345 to 348)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 88 of 97. PageID #: 211970

                                         Page 349                                        Page 350
       1          A. My only knowledge would be         1        A. Possible. I don't recall.
       2    in -- in hearing back from them, some of    2        Q. Bear with me.
       3    them said, you know, it's not like they     3            So you have testified that
       4    were like -- they never said we don't       4   your role changed when Watson acquired
       5    want to sign this. I never, ever heard      5   Actavis; is that correct?
       6    that. It was well, it's with legal, or      6        A. Yes.
       7    it's with this person or it's with that     7        Q. And you testified previously
       8    person.                                     8   that part of that role change was the
       9              But hopefully that answers        9   elimination of suspicious order
      10    your question.                             10   monitoring responsibilities from your --
      11          Q. Did you ever contact anyone       11   your duties; is that correct?
      12    at any of those four entities to ask       12        A. I -- based on my earlier
      13    them, to inquire about the status of       13   testimony, the way I described it was
      14    the -- the letter?                         14   ownership and managing that process was
      15          A. Me personally? Or did --          15   to take and -- and move to a department
      16    did we? I'm not sure where that ended      16   called DEA affairs.
      17    up.                                        17            But what I did mention in my
      18          Q. Did you personally?               18   earlier testimony, I'm almost positive,
      19          A. I -- I don't recall for           19   was that it didn't remove me entirely
      20    sure.                                      20   from involvement. If they had questions,
      21          Q. Did you request that anybody      21   they would come to us and we were now --
      22    else in your department follow up with     22   we were now a support group.
      23    one of those four listed customers         23        Q. And were you responsible for
      24    regarding the status of their letter?      24   investigating orders of interest when

                                         Page 351                                        Page 352
      1    they were discovered --                      1   procedures and policies were generally?
      2         A. No.                                  2        A. Generally, it was
      3         Q. -- at Watson?                        3   accomplishing the same objectives. But I
      4         A. No. We were not responsible          4   can't speak any further to the policy. I
      5    for the investigation. We were               5   was not the author.
      6    responsible for -- the investigation they    6        Q. I'm going to introduce
      7    were doing, if they needed our               7   another document that may refresh your
      8    assistance, that was our responsibility.     8   recollection. Let's see.
      9         Q. What kind of assistance              9             MS. ANTULLIS: It is Tab 46.
     10    would you provide?                          10        It's going to be Exhibit 15 (sic).
     11         A. Anything -- anything that           11        ALLERGAN_MDL_02466960.
     12    would be asked of us to look into, you      12             (Document marked for
     13    know, if a customer is new, you know, who   13        identification as Exhibit
     14    are they? Do we know who they are? Do       14        Baran-14.)
     15    we have a contract with them? Anything      15             MR. LOVRIEN: Did you say
     16    that would be asked of us.                  16        that was 14?
     17         Q. Do you recall what -- was           17             MR. DEARMAN: 14.
     18    there an SOP post-Watson that addressed     18             MS. ANTULLIS: Oh, it's 14.
     19    suspicious order monitoring activity?       19             MR. LOVRIEN: It is 14.
     20         A. Oh, yeah. Absolutely.               20             MS. ANTULLIS: You got the
     21         Q. Do you recall what that             21        sticker on me before I saw it
     22    document would have been called?            22        happen.
     23         A. No. No, I don't.                    23   BY MS. ANTULLIS:
     24         Q. Do you recall what the              24        Q. All right. So I'll give you


                                                                88 (Pages 349 to 352)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 89 of 97. PageID #: 211971

                                         Page 353                                         Page 354
      1    a chance to go through this for a minute.    1   Victoria Lepore is what appears to be
      2    I want to direct your attention first to     2   written policy of some sort regarding
      3    Page 4, the bottom of the document.          3   suspicious orders. Please look at it and
      4         A. Okay.                                4   tell me if this reflects your
      5         Q. So this appears to be an             5   understanding of what post-Watson SOM
      6    e-mail from you to Mary Woods, Sandra        6   activities entailed.
      7    Simmons, and Victoria Lepore. Sorry if       7        A. So I can't do that unless I
      8    I'm butchering her name.                     8   read this entire document. Because
      9         A. No, you're good.                     9   there's a lot of information here. We
     10         Q. And the subject is "SOMs."          10   can do one of two things. I can tell you
     11    Go to this e-mail -- first of all, is       11   that if they're sending this to me, this
     12    this an e-mail that you would have sent     12   is the process coming from the owners.
     13    in the ordinary course of business?         13   So I imagine -- I have no reason to
     14         A. Sure.                               14   believe it wouldn't be. But if you want
     15         Q. It says, "Can someone please        15   me to sit and say this is everything that
     16    send me copies of any relevant documents    16   I know -- first of all, I didn't know a
     17    speaking to our SOMs programs? I'm          17   lot, because it wasn't my area.
     18    meeting with Teva. I need to speak          18        Q. So, yeah, I think my
     19    accurately to all of this."                 19   question is more, as of January 6, 2016,
     20             Do you remember making that        20   would this have been -- would this have
     21    request?                                    21   been the policy then specific to Allergan
     22         A. I don't remember. But it            22   PLC?
     23    doesn't surprise me.                        23        A. I would imagine so. But I
     24         Q. So what follows then from           24   would rather that answer come from the

                                         Page 355                                         Page 356
      1    group that managed it at that time.          1        Q. Well enough. Thank you.
      2         Q. So you don't know then; is           2   Okay. To your knowledge, did Actavis
      3    that correct?                                3   make any public statements related to --
      4         A. Yeah, I mean, first of all,          4   any public statements related to its duty
      5    I would have to read through all that        5   to report suspicious orders?
      6    horrendous long e-mail. I can speculate      6        A. I'm sorry. I was
      7    with very good certainty as to why I may     7   daydreaming for a moment. Can you repeat
      8    have been asking.                            8   that?
      9             We had an introductory              9        Q. It's getting late in the
     10    meeting, just really high level, hey,       10   day. Did Actavis make any public
     11    here -- you know, here's my name, and       11   statements related to its duty to report
     12    here's what I did at Actavis, kind of       12   suspicious orders?
     13    thing. And I tend to be the type that       13        A. So you're saying Actavis in
     14    likes to drill in details and understand.   14   what time period?
     15    And I was probably educating myself so      15        Q. I'm using Actavis to refer
     16    that I didn't look like an idiot, you       16   to the entity that you worked for from
     17    know, in terms of that process. I was       17   2008 through 2017.
     18    probably just doing my homework is why I    18        A. Okay. So we're back --
     19    was asking, because I wouldn't be asking    19        Q. 2008 through 2017.
     20    because I owned it, because I didn't own    20        A. Okay. So --
     21    the process.                                21        Q. I can ask specifically about
     22         Q. Understood.                         22   every company if you'd like.
     23         A. Hopefully that answers your         23        A. It's okay. I don't know how
     24    question.                                   24   you would define a public statement, so I


                                                                89 (Pages 353 to 356)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 90 of 97. PageID #: 211972

                                       Page 357                                        Page 358
      1    don't know. What would be consistent of    1        Q. Okay. And do you recognize
      2    a public statement? Do we have a           2   the attachment?
      3    billboard? I mean, I don't know. Help      3        A. Yes.
      4    me with that.                              4        Q. Okay. So please go ahead
      5         Q. I will help you with that.         5   and read through the e-mail exchange.
      6    We've got another document. It's           6        A. Okay. So I haven't read the
      7    Exhibit 45.                                7   entire letter in the back. But I get the
      8              MS. ANTULLIS: Exhibit            8   gist of what it was doing at the time.
      9         Number 15.                            9        Q. And I don't have specific
     10         ACQUIRED_ACTAVIS_02236096.           10   questions about the letter.
     11              (Document marked for            11        A. Okay.
     12         identification as Exhibit            12        Q. What I would like to know is
     13         Baran-15.)                           13   whether or not -- do you know whether or
     14    BY MS. ANTULLIS:                          14   not this campaign was ever implemented?
     15         Q. Do you recognize this e-mail      15        A. Yes.
     16    exchange?                                 16        Q. Okay. Was this campaign
     17         A. I -- I do now. But it's           17   ever implemented?
     18    something I totally forgot about.         18        A. Yes, it was.
     19         Q. Okay.                             19        Q. And how was it implemented?
     20         A. But I'd have to read it to        20        A. I wasn't involved with the
     21    remember what the details were.           21   implementation, so I don't have the
     22         Q. But you recognize it?             22   details. But I recall some aspects of
     23         A. Based on the person that          23   it.
     24    sent it, yeah.                            24        Q. Okay. So I'm just going to

                                       Page 359                                        Page 360
      1    ask you a few questions, and then we're    1   if it's -- a corporation belongs to it or
      2    going to take a break and then we might    2   if individuals belong to it. I know that
      3    be close to finishing.                     3   I was not a personal member. But I know
      4             So do you know whether or         4   that there were employees who were.
      5    not Actavis belonged to the -- certain     5         Q. Do you recall ever
      6    trade organizations, any trade             6   participating in any webinars or any
      7    organizations?                             7   other meetings related to the HDMA?
      8         A. It depends. Do you define          8         A. We had a conference, like an
      9    that trade organization like HDMA or       9   HDMA conference.
     10    NACDS? That's a trade organization.       10         Q. Do you recall a specific
     11         Q. So do you know if Actavis         11   conference that you attended?
     12    ever belonged to the Healthcare           12         A. No, it was just like a
     13    Distribution Alliance?                    13   meeting where you meet with your
     14         A. I'm not familiar with that.       14   customers. And from what I remember, I
     15    So I don't know.                          15   think that was the one I mentioned
     16         Q. Okay. If I called it the          16   earlier. I think I only went once. It
     17    HDA, would that make more sense? Do you   17   was kind of like speed dating.
     18    know if Actavis ever --                   18              You know, it's just a chance
     19         A. HDMA, but not HDA.                19   where all your customers are in one place
     20         Q. So we'll go with the              20   at the same time, and you have many
     21    Healthcare Distribution Management        21   meetings. It's not like you're there to
     22    Association. Do you know if Allergan      22   achieve any major objectives. It's more
     23    ever belonged to the HDMA?                23   like get together, hey, what are the big
     24         A. I don't know how HDMA works,      24   subjects, how are things going.


                                                              90 (Pages 357 to 360)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 91 of 97. PageID #: 211973

                                        Page 361                                          Page 362
      1             They -- they joked and they         1   agreements with them regarding the duty
      2    referred to it as speed dating. I don't      2   to prevent diversion?
      3    know much more about HDMA than that.         3        A. There were no agreements on
      4    Sorry.                                       4   that topic that I'm aware of, no.
      5         Q. You don't have to apologize.         5            MS. ANTULLIS: I think we're
      6             Did you ever give a                 6        going to go off the record now and
      7    presentation regarding suspicious order      7        take a break.
      8    monitoring issues to a conference?           8            THE VIDEOGRAPHER: The time
      9         A. To a conference? No, I               9        is 4:28 p m. Off the record.
     10    don't believe so. I've only been to a       10            (Short break.)
     11    few conferences and they wouldn't have      11            THE VIDEOGRAPHER: We are
     12    been something that I presented.            12        back on the record. The time is
     13         Q. Have you ever authored any          13        4:40 p m.
     14    articles regarding suspicious order         14   BY MS. ANTULLIS:
     15    monitoring?                                 15        Q. All right. So I just have a
     16         A. Articles, no.                       16   couple of follow-up questions for you,
     17         Q. Have you ever participated          17   and I will be done.
     18    on any panels regarding suspicious order    18            First question is, during
     19    monitoring?                                 19   any of the breaks that we've taken today
     20         A. No.                                 20   have you discussed your testimony that
     21         Q. As part of your meetings            21   you've given with your attorneys?
     22    with AmerisourceBergen, Cardinal and        22        A. Not more than, you know,
     23    McKesson, following the September 2012      23   you're doing a great job, you know, very
     24    DEA conference, did you enter into any      24   basic like that. This is my first

                                        Page 363                                          Page 364
      1    experience, so...                            1        A. Correct.
      2             THE VIDEOGRAPHER: Your              2        Q. So for that original
      3         microphone is not on.                   3   process, would there be a record of every
      4             MS. ANTULLIS: So sorry.             4   investigation that you performed
      5    BY MS. ANTULLIS:                             5   regarding an order of interest?
      6         Q. I just want to make sure I'm         6        A. I really can't say if those
      7    understanding prior testimony. So I'm        7   would even exist anymore. I don't -- I
      8    going to ask again -- and I apologize if     8   don't know.
      9    it seems repetitive. Would there be a        9        Q. So would you have created a
     10    record of every investigation you           10   record of every investigation you
     11    performed of an order of interest?          11   performed on an order of interest?
     12         A. Yes. But those records --           12        A. Created, yes. Existing
     13    well let me step back.                      13   today, is what I thought the question
     14             Really, two different time         14   was.
     15    periods. Which time period are you          15        Q. Just whether -- whether it
     16    referring to?                               16   existed -- whether you ever created one,
     17         Q. What are the two different          17   is the question I asked.
     18    time periods?                               18        A. Existed, yes.
     19         A. The original -- the original        19        Q. Okay. And for the second
     20    process and the enhanced process.           20   time period, I presume is from 2011
     21         Q. Okay. So is the original            21   through the Watson acquisition; is that
     22    process the process that was in place       22   correct?
     23    from 2008 when you started and before and   23        A. Correct.
     24    through 2011?                               24        Q. Okay. So would there be a


                                                                91 (Pages 361 to 364)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 92 of 97. PageID #: 211974

                                         Page 365                                         Page 366
      1    record of every investigation you            1   e-mail in this chain, you appear to be
      2    performed on an order of interest during     2   discussing new business taken on by
      3    the second time period?                      3   McKesson, correct?
      4         A. Yes.                                 4        A. Yes.
      5             MS. ANTULLIS: Okay. I'm             5        Q. Which includes oxy
      6         going to introduce. Exhibit             6   50 milligrams and 30 milligrams,
      7         Number -- what is it? It's Tab          7   oxymorphone, et cetera.
      8         29.                                     8        A. Yes.
      9             MR. DEARMAN: 16.                    9        Q. You state, "I believe this
     10             MS. ANTULLIS: 16. Exhibit          10   to be the business ABC was losing."
     11         Number 16.                             11            Was ABC AmerisourceBergen?
     12             MR. DEARMAN: Not doing my          12        A. Correct.
     13         job, am I?                             13        Q. And do you remember what
     14             MS. ANTULLIS: Thank you.           14   business they were losing at that time?
     15             (Document marked for               15        A. My recollection has -- and I
     16         identification as Exhibit              16   would never have remembered the customer
     17         Baran-16.)                             17   name, but it's here in writing, so that's
     18             MS. ANTULLIS: It's                 18   helpful, is ABC had done some due
     19         ACQUIRED_ACTAVIS_00667194.             19   diligence and had made a decision for
     20             29, my friend. 29.                 20   whatever reason that I can't speak to,
     21    BY MS. ANTULLIS:                            21   that they -- they were cutting off Topco.
     22         Q. It is a very short e-mail.          22            And the reason that it came
     23         A. Okay.                               23   across our desk is Topco then must have
     24         Q. Okay. So in the first               24   went elsewhere to purchase what they

                                         Page 367                                         Page 368
      1    weren't getting from another wholesaler.     1   referring to in that -- in that sentence?
      2         Q. So how did you know that ABC         2        A. The problem I would describe
      3    lost that -- for lack of a better word,      3   is, you know, at the end of the day,
      4    lost that business?                          4   we're all in this together. We all have
      5         A. It must have -- I can't say          5   the same objectives. But it's one thing
      6    for certain what the conversation was and    6   for a manufacturer to be communicating
      7    how it was communicated. But it must         7   with one of its customers, let's just say
      8    have been communicated some way. Because     8   a wholesaler, because they do business
      9    it may have been quantities that would       9   together. But, you know, is it realistic
     10    have impacted their overall forecast. So    10   to say -- I don't know. I think you'd
     11    they probably would have told us that,      11   have to ask a wholesaler. If a
     12    hey, you know, we've shed a customer for    12   wholesaler makes a decision for whatever
     13    whatever reason. You may not even have      13   reason not to sell to someone, maybe they
     14    known. So our monthly usage on products     14   are just not comfortable in what their
     15    X, Y, and Z are going to go from this to    15   warehouses look like. I don't know.
     16    this. And that's how it could have gone.    16   Would they share that across the supply
     17    I can't put myself back in that moment in   17   chain so that all other wholesalers would
     18    time. But that's how I would envision it    18   be in on it? Highly, highly doubtful.
     19    would have gone down.                       19   They're -- they're not working across one
     20         Q. So then -- then you say,            20   another.
     21    "The problem doesn't go away. It just       21            So the purpose of this
     22    shifts."                                    22   e-mail was, like, look, what we think
     23         A. Yes.                                23   this customer deemed is a problem,
     24         Q. What problem are you                24   whatever their problem was, you know, we


                                                                92 (Pages 365 to 368)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 93 of 97. PageID #: 211975

                                         Page 369                                         Page 370
      1    may need to somehow get some information     1   with it, and it -- you know, the customer
      2    to McKesson, because McKesson may be         2   now is going to go elsewhere, and it
      3    taking on something that they may not        3   shifts the problem, and then you hope
      4    wish to, and they may not be aware.          4   that the next customer's due diligence is
      5         Q. Okay. So I want to make              5   just as sufficient to make the same
      6    sure I understand your testimony. I          6   informed decision.
      7    asked you what problem meant, the word       7            And I'm sure, I have no
      8    "problem" in the context, this sentence.     8   reason to believe McKesson, you know, may
      9         A. Problem.                             9   have ended up in that same direction, but
     10         Q. Is it your testimony that           10   maybe not initially. Maybe they wouldn't
     11    the problem is whatever problem             11   have had --
     12    Cardinal -- ABC had with this customer?     12        Q. So my --
     13         A. No. My definition of                13        A. -- the information.
     14    problem would have been, you know,          14        Q. I don't actually think that
     15    information sharing from one competitor     15   we're all that far apart from
     16    to another.                                 16   understanding each other.
     17         Q. Okay. So then, do you               17        A. Okay.
     18    believe that this sentence saying, "This    18        Q. I don't. And maybe my
     19    problem doesn't go away. It just            19   questions are just not clear.
     20    shifts," is related to the sharing of       20            I'm just trying -- when you
     21    information?                                21   say, "The problem doesn't just go away.
     22         A. Yeah. I mean one customer           22   It just shifts," I'm trying to understand
     23    makes a determination for whatever logic    23   what the word "problem" means. And so
     24    and due diligence they use to come up       24   you explained it as the failure to

                                         Page 371                                         Page 372
      1    properly communicate across entities,        1   get a drug at one pharmacy, do you think
      2    right? And you've also, in the context       2   they give up? They're going to go to
      3    of your sentences, explained it as the       3   another one.
      4    problem at Topco, whatever that problem      4            It's probably the same for
      5    was with that customer.                      5   customers. So that's kind of how I'm
      6              I'm trying to understand           6   loosely using the word. The problem
      7    what the correct definition of the word      7   doesn't shift. You know -- they're
      8    is in this context that you were using.      8   moving from one to another.
      9         A. I'll try to explain that             9        Q. I think I understand well
     10    better, hopefully. If there's something     10   enough.
     11    in the due diligence, and whatever that     11        A. Does that make sense?
     12    may have been, that made a wholesaler       12        Q. It does. So the next
     13    uncomfortable to supply for whatever        13   sentence you say, "This is where refusing
     14    reason -- like I said, it could be that     14   chargebacks may eventually need to come
     15    they didn't like the way their warehouse    15   in."
     16    looked, or they didn't like the size of     16            Earlier you testified in
     17    their vault. I don't know. I can't          17   your role in customer service, you didn't
     18    speak to the background.                    18   have much, if anything, to do with
     19              But the problem is, is that       19   chargebacks; is that correct?
     20    that's great, someone in their due          20        A. Yeah, I -- that's correct.
     21    diligence made a decision that they don't   21        Q. Okay. So in -- in this
     22    want this customer to get whatever the      22   sentence here where you say, "This is
     23    product is. But the problem shifts now,     23   where refusing chargebacks may eventually
     24    because just like a patient that can't      24   need to come in," what did you mean?


                                                                93 (Pages 369 to 372)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 94 of 97. PageID #: 211976

                                         Page 373                                         Page 374
      1         A. So I did not administer. It          1        A. To anybody?
      2    was not my role. But that was somebody's     2        Q. -- to anybody?
      3    concept at the time, I don't recall who,     3        A. It wouldn't be impossible or
      4    of a reassurance to make sure, if there's    4   unlikely, but not specifically that I'm
      5    a customer out there we don't want buying    5   aware of.
      6    a certain product, and it could be any       6        Q. Okay. So I've just got one
      7    product, even a noncontrol, a pretty easy    7   more document and we're done.
      8    way of -- of administering that is cut       8             MS. ANTULLIS: It is Tab 21.
      9    off chargebacks, because then the            9             MR. DEARMAN: 17.
     10    wholesalers won't -- won't get paid and     10             MS. ANTULLIS: Exhibit 17 is
     11    then they'll -- they won't do business.     11        ACQUIRED_ACTAVIS_01370513.
     12    And that's how they will find out           12             (Document marked for
     13    something that maybe they didn't know,      13        identification as Exhibit
     14    You know. I don't know. I can't speak       14        Baran-17.)
     15    to that concept, it wasn't mine, the        15   BY MS. ANTULLIS:
     16    idea. But it was a concept that existed     16        Q. So the first e-mail starts
     17    as a way of, you know, so we don't have     17   on the second to last page I believe.
     18    to be looking over our shoulder and         18   Third to last page. It starts with,
     19    making sure we're catching this every       19   "Good morning, Nancy."
     20    moment. It was a foolproof of trying to     20        A. Okay. So I've read the
     21    say, hey, this is one way to make sure      21   initial e-mail to get a glean on what
     22    that they don't move to somebody else.      22   this is about. And if you have a lot of
     23         Q. Do you remember if -- if            23   questions, then I would want to read the
     24    chargebacks were eventually refused to --   24   rest. But maybe tell me what your

                                         Page 375                                         Page 376
      1    question is first to save us all time.       1        A. I wouldn't call it frequent,
      2         Q. Well, I have questions about         2   but he was like our partner with -- with
      3    the context of that -- that beginning        3   Cegedim and I believe, I'm almost
      4    e-mail.                                      4   100 percent certain, he was the gentleman
      5         A. Oh.                                  5   that went with me to McKesson. We were
      6         Q. I also want to know whether          6   doing this "know your customer" and --
      7    the suggested program was ever               7   and implementing this visit our customers
      8    implemented.                                 8   and roll out our project, tell, them, you
      9         A. Okay.                                9   know, what we're doing, what our
     10         Q. I assume when I ask you that        10   expectations were.
     11    question you're going to tell me you need   11            And we had an opportunity to
     12    the rest -- to read the rest of the         12   hire someone to help us have all these
     13    e-mail.                                     13   conversations meaning bringing an expert
     14             So we can -- I can ask the         14   with us in every single customer
     15    question and we can --                      15   conversation. We're doing like a
     16         A. No, I'm comfortable with            16   train-the-trainer. You know, help make
     17    answering that question.                    17   sure that I have the expertise I need to
     18         Q. Okay. All right. So this            18   be leading these discussions. And that's
     19    appears to be an e-mail from someone        19   what his role was.
     20    named Robert Williamson with Cegedim. Do    20        Q. And so did a representative
     21    you remember him?                           21   of Cegedim come with you on your site
     22         A. Mm-hmm. Yes, I do.                  22   visit to Cardinal Health?
     23         Q. Okay. Did you have frequent         23        A. I --
     24    communications with Robert Williamson?      24        Q. To any site visit to


                                                                94 (Pages 373 to 376)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 95 of 97. PageID #: 211977

                                         Page 377                                         Page 378
      1    Cardinal Health.                             1         Q. Were they ever hired to
      2         A. I can't be certain. I think          2   write an algorithm for your indirect SOM?
      3    the only one may have been McKesson that     3         A. No. They -- they heard of
      4    I recall.                                    4   our great concept and loved what we were
      5          Q. Okay. Okay. So first of             5   doing and they wanted to get in on it.
      6    all, who is Paul Hamby?                      6         Q. Have you -- are you able to
      7          A. He is just one of the bosses        7   discuss the algorithm for the direct SOM?
      8    at -- at Cegedim.                            8   I'm not asking you to do so. I'm just,
      9         Q. And Jonathan Kuhn?                   9   are you able to?
     10          A. Jonathan Kuhn is the Ph.D.,        10         A. Very high level. I can't
     11    statistical guy, that wrote the             11   tell you mathematically and statistically
     12    algorithms to our new model.                12   how it was designed.
     13          Q. Who is Jason Owen?                 13         Q. Okay. Who would be able to
     14         A. I don't know who he is.             14   do that?
     15         Q. Okay. Before we look at the         15        A. In terms of the actual
     16    context -- look at this document in         16   algorithm? The only one that I'm aware
     17    particular, you mentioned the algorithm     17   of would that be the one that wrote it.
     18    that Cegedim wrote. Was that algorithm      18         Q. And would that be Jonathan
     19    written for your direct SOM?                19   Kuhn?
     20          A. Yes.                               20         A. Yeah, he's the expert.
     21         Q. Did they write an algorithm         21        Q. So in this e-mail, as you
     22    for your indirect SOM?                      22   said, they are approaching you with an
     23         A. That's what this e-mail is          23   idea for an indirect SOM algorithm or
     24    pertaining to. They wanted to.              24   process, right.

                                         Page 379                                         Page 380
      1             And Robert says, "I've been         1   in, Rachelle Galant would be a very good
      2    meaning to discuss with you the use of       2   person to ask to. I would just be
      3    Actavis chargeback data in conjunction       3   sitting here struggling.
      4    with the SOM program."                       4         Q. Okay.
      5             He says, "From the outset I,        5             (Discussion off the record.)
      6    we, Jonathan and I, have been intrigued      6                 - - -
      7    by the so-called chargeback data. From       7               EXAMINATION
      8    what we were able to glean during our        8                - - -
      9    on-site SOM discussions and with some        9   BY MR. DEARMAN:
     10    peripheral follow-up with other clients,    10         Q. One question.
     11    this data shows what Actavis products are   11             Would you be surprised to
     12    purchased from Actavis' customers'          12   hear that the data that was available was
     13    customers."                                 13   prescriber level?
     14         A. Mm-hmm. Correct.                    14             MS. LEVY: Object to the
     15         Q. Is it your understanding            15         form.
     16    that Actavis -- that chargeback data        16             THE WITNESS: Okay. And I
     17    maintained by Actavis showed what Actavis   17         can still answer it once I think
     18    products were purchased from Actavis'       18         about what that question was?
     19    customers' customers?                       19             Would I be surprised to hear
     20         A. That area is a little grey          20         that the data -- give me the end
     21    to me when you start talking about          21         of that.
     22    chargebacks. All I know, it was the data    22   BY MR. DEARMAN:
     23    that we were getting from the ValueTrak     23         Q. Is down to the prescriber
     24    system. And what those feeds were coming    24   level.


                                                                95 (Pages 377 to 380)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 96 of 97. PageID #: 211978

                                                  Page 381                                     Page 382
      1         A. Prescriber level? I have                   1   doing, they wanted in on it because it
      2    never heard of data -- well, I'm sure              2   would grow their business. They had tons
      3    there's data at a prescriber level.                3   of clients that probably want the same
      4    Where it is and how to get to it, I                4   thing. We did not pursue that, to answer
      5    don't -- I don't know.                             5   your question. We did it on our own.
      6         Q. And my question is would you               6            MS. ANTULLIS: I'm done.
      7    be surprised that --                               7            MS. LEVY: I do not have
      8              MS. LEVY: That was more                  8        anything further.
      9         than one question, my friend.                 9            MS. ANTULLIS: Are there
     10    BY MR. DEARMAN:                                   10        questions from anyone on the
     11         Q. And -- and would you be                   11        phone? Anybody hang in there.
     12    surprised to hear that Actavis had access         12            THE VIDEOGRAPHER: This
     13    to that data if they wanted it?                   13        marks the end of today's
     14              MS. LEVY: Object to form.               14        deposition. The time is 5:00 p.m.
     15              THE WITNESS: I can't answer             15        Off the record.
     16         that question, yeah.                         16            (Excused.)
     17    BY MR. DEARMAN:                                   17            (Deposition concluded at
     18         Q. Because you don't know?                   18        approximately 5:00 p.m.)
     19         A. Yeah, we didn't -- I don't                19
     20    recall prescriber information being               20
     21    discussed on the radar. We -- we led off          21
     22    a big initiative with the indirect piece.         22
     23    As you can see by this e-mail, when these         23
     24    consultants caught wind of what we were           24

                                                  Page 383                                     Page 384
      1                                                       1        INSTRUCTIONS TO WITNESS
      2            CERTIFICATE                                2
      3
      4                                                       3            Please read your deposition
      5           I HEREBY CERTIFY that the                   4   over carefully and make any necessary
          witness was duly sworn by me and that the           5   corrections. You should state the reason
      6   deposition is a true record of the
          testimony given by the witness.                     6   in the appropriate space on the errata
      7                                                       7   sheet for any corrections that are made.
                  It was requested before                     8            After doing so, please sign
      8   completion of the deposition that the
          witness, NANCY BARAN, have the                      9   the errata sheet and date it.
      9   opportunity to read and sign the                   10            You are signing same subject
          deposition transcript.                             11   to the changes you have noted on the
     10
     11                                                      12   errata sheet, which will be attached to
     12       __________________________________             13   your deposition.
              MICHELLE L. GRAY,                              14            It is imperative that you
     13       A Registered Professional
              Reporter, Certified Shorthand                  15   return the original errata sheet to the
     14       Reporter, Certified Realtime                   16   deposing attorney within thirty (30) days
              Reporter and Notary Public                     17   of receipt of the deposition transcript
     15       Dated: December 14, 2018
     16                                                      18   by you. If you fail to do so, the
     17                                                      19   deposition transcript may be deemed to be
     18             (The foregoing certification             20   accurate and may be used in court.
     19   of this transcript does not apply to any
     20   reproduction of the same by any means,             21
     21   unless under the direct control and/or             22
     22   supervision of the certifying reporter.)           23
     23
     24                                                      24


                                                                      96 (Pages 381 to 384)
Case: 1:17-md-02804-DAP Doc #: 1974-13 Filed: 07/24/19 97 of 97. PageID #: 211979

                                       Page 385                                              Page 386
      1          - - - - - -                         1
                  ERRATA                             2       ACKNOWLEDGMENT OF DEPONENT
      2          - - - - - -                         3
      3                                              4           I,_____________________, do
      4    PAGE LINE CHANGE                          5   hereby certify that I have read the
      5    ____ ____ ____________________________    6   foregoing pages, 1 - 387, and that the
      6      REASON: ____________________________    7   same is a correct transcription of the
      7    ____ ____ ____________________________    8   answers given by me to the questions
      8      REASON: ____________________________    9   therein propounded, except for the
      9    ____ ____ ____________________________   10   corrections or changes in form or
                                                    11   substance, if any, noted in the attached
     10      REASON: ____________________________
                                                    12   Errata Sheet.
     11    ____ ____ ____________________________
                                                    13
     12      REASON: ____________________________
                                                    14
     13    ____ ____ ____________________________
                                                    15   _______________________________________
     14      REASON: ____________________________
                                                    16   NANCY BARAN               DATE
     15    ____ ____ ____________________________   17
     16      REASON: ____________________________   18
     17    ____ ____ ____________________________   19   Subscribed and sworn
     18      REASON: ____________________________        to before me this
     19    ____ ____ ____________________________   20   _____ day of ______________, 20____.
     20      REASON: ____________________________   21   My commission expires:______________
     21    ____ ____ ____________________________   22
     22      REASON: ____________________________        ____________________________________
     23    ____ ____ ____________________________   23   Notary Public
     24      REASON: ____________________________   24


                                       Page 387
      1           LAWYER'S NOTES
      2    PAGE LINE
      3    ____ ____ ____________________________
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                                                               97 (Pages 385 to 387)
